Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 1 of 212 Page ID
                                  #:1885




        EXHIBIT 1
Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 2 of 212 Page ID
                                  #:1886

  Portfolio   Account Activity   Ca sh    Ming Limited v




       06-Aug-2020                                         BALANCE : $ 19,736,940 . 00

                                 Proceeds from ACAT
                                             CUSIP # : N/A


       CREDIT : $ 10,627,500 . 00                                        DEBIT:   $ 0 . 00




       06-Aug-2020                                         BALANCE: $ 9,109,440 . 00

                                 Proceeds from ACAT
                                             CUSIP #:N/A


       CREDIT : $ 4,272 , 000 . 00                                       DEBIT:   $ 0.00




                                                           BALANCE : $ 4 , 837,440 . 00

                                 Proceeds from ACAT
                                             CUSIP # : N/A


       CREDIT :      S 4 , 837,440 . 00                                  DEBIT:   S 0 . 00
Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 3 of 212 Page ID
                                  #:1887




        EXHIBIT 2
Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 4 of 212 Page ID
                                  #:1888



                                 Royalty Pharma Pie (RPRX)
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                                 Royalty Pharma Pie (RPRX)
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                                     Novavax, Inc. (NVAX)
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                          United Alrllnes Holdings. Inc. (UAL)
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                                 Royalty Pharma Pie (RPRX)
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                        CI.PlllfRr IIIARH1 r ••c.E to S. . , '1'0 (St 161:,00li 00)
Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 5 of 212 Page ID
                                  #:1889




        EXHIBIT 3
       Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 6 of 212 Page ID
                                         #:1890



From:                                 Zach Hegde <zach@ming-global.com>
Sent:                                 Tuesday, July 21, 2020 8:27 PM
To:                                   Angela Fung; Donna Marie
Cc:                                   Peter Lynd
Subject:                              Re: Transaction Receipt


Hi Angela,

Can you please advise on the final account statement
We have completed all transactions and want to discuss this with peter

Thank you
Zach


From: Angela Fung <accounts@investmentsfirst.com>
Date: Tuesday, 21 July 2020 at 12:18 pm
To: Donna Marie <donna@merchandeffect.com>
Cc: Zach Hegde <zach@ming-global.com>, Peter Lynd <peter.lynd@investmentsfirst.com>
Subject: Transaction Receipt


Hi Donna,


The payments from Saturday, July 18th and yesterday, July 20th in regards to Transaction 2020-SH-
471248-INV have been received. The funds have been applied to your account and the Transaction
Receipt is attached for your reference.

Please be informed that once the payments that were transferred to us today have cleared you will be
paid in full for your last trade.

Kind regards,

Angela Fung
Accounts & Settlements Team

+852 3002 4430

accounts@investmentsfirst.com

28 Hennessy Rd, Wan Chai, Hong Kong

www.investmentsfirst.com




                   First     Eastern
                   Inves t m e n ts Lim ited

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         Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 7 of 212 Page ID
                                           #:1891
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                                  #:1892




        EXHIBIT 4
       Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 9 of 212 Page ID
                                         #:1893



From:                           Zach Hegde <zach@ming-global.com>
Sent:                           Friday, August 21, 2020 1:03 AM
To:                             Scott Bailey
Subject:                        Re: Fee Confirmation & Remittance Instructions


HI Scott-

Could we please have a quick chat

Zach


From: Scott Bailey <scott.bailey@investmentsfirst.com>
Date: Wednesday, 29 July 2020 at 4:00 pm
To: Donna Marie <donna@merchandeffect.com>
Cc: Zach Hegde <zach@ming-global.com>
Subject: Re: Fee Confirmation & Remittance Instructions


Hello Donna,

Lovely to meet you.

I have just got off the phone with Zach, he has informed me you will be making the 2 transfer today. If you
could kindly forward the receipts as soon as you have them, I can then track the payments.

In answer to your query, yes you are absolutely correct. It will be refunded within 10-14 days so I can confirm
that.

I hope you are well and staying healthy.

Yours,

Scott Bailey
Head of Private Accounts

+852 3002 4430

scott.bailey@investmentsfirst.com

28 Hennessy Rd, Wan Chai, Hong Kong

www.investmentsfirst.com




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        Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 10 of 212 Page ID
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                        lnves tme ts Limite
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intercepted or amended, please inform us immediately.




On 2020-07-29 13:39, Donna Marie wrote:

Hello Scott,

Nice to virtually meet you.

I'm Donna of Ming Global Hong Kong and I work with Zach.

I have been advised that the money will be refunded in 14 days - can you please confirm that?

Thanks,
Donna



                                          Donna Malicay
                                          General Manager
                                          M: +852 8197 3159



                                         ----
                                          www.merchandeffect.com




On Wed, Jul 29, 2020 at 1:10 PM Angela Fung <accounts@investmentsfirst.com> wrote:

 Hi Donna & Mr. Hegde,

 Please find attached the fee confirmation & remittance instructions on behalf of Mr. Bailey.

 You Payment Reference: 2020-SH-471253-INV is unique to you and your account.

 Please make the payment in two separate transfers. The first transfer for US $475,000.00 and the second
 transfer for US $323,000.00. Both transfers will be going to Bank of America only.

 When making the payments please only use the Payment Reference in any of the fields asking for
 description or reason for transfer so that we can match the payment to your account.

 Please send a copy of the transfer receipt once the payment has been made.

 Kind regards,

 Angela Fung
 Accounts & Settlements Team

                                                                              2
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                                        #:1895
+852 3002 4430

accounts@investmentsfirst.com

28 Hennessy Rd, Wan Chai, Hong Kong

www.investmentsfirst.com




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        EXHIBIT 5
                                                  Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 13 of 212 Page ID
                                                                                    #:1897




                             First     Ea st e t~n
                             Inv est m e n t s Li m i ted
                                                                                                                                                                        FEE CONFIRMATION
                                                                                                                                                 Transaction Date
   Ming Global Limited                                                                                              Date:
                                                                                                                    29 Jul 2020
                                                                                                                                                                 Settlement Date:
                                                                                                                                                                 31 Jul 2020
This is to confirm the following Fee/Penalty action:
  Transaction            Type                                      Description                                        Qty                          Notes                              Fee
   De-restriction      Individual                         Legend / Restriction Removal                                  1                     Refund - Pending                        $ 798,000.00


                                                                                                                   Gross Amount                                                     $ 798,000.00
   Notices For This Order:
   ■ Unless you have already instructed us differently, we will hold proceeds on account pending further instructions. ,___c
                                                                                                                           _o_m_m  _i_s_si_o_n_ __ _ _ __ _ _____________$_0_._0_              0
   ■ Exchange Process Fee: This fee offsets processing costs incurred by First Eastern Investments limited for the
   exchange of Securities Including those relating to assessments on broker-dealers by an exchange or other SRO for f"---  Ex_c_h_._P_r_o_ce     _e_e_ _ _ _ _ _ _ __ _ _ _ _ _ _ _ _ _$_0_._0_0_
                                                                                                                                            _s_s_F
   equity, option, or other covered security sell transactions.                                                            Total Amount                                         $ 798,000.00
   ■ First Eastern Investments Limited acted as your agent.
                                                                                                                   Amount Due From/(To) Client                                  $ 798,000.00
                                                                               Instructions To Fund Your Account
    Please note that the receiving account is that of our international stock transfer and escrow agent who are a trusted, independent, 3rd party transfer and escrow service, that provides
    protection for both Buyer and Seller.
    As a reminder, please take note of the following:
     • When remitting funds by way of Telegraphic Transfer, please secure a receipt from the issuing bank and furnish us with a copy via e-mail.
     • Should your bank require "Further Reference" data, please input the required information in this field so as to expedite the processing of your fund transfer. Placing any
       other information may cause delays in the process.
    Finally, we will at no time time during our relationship, ask you to wire/transfer funds directly to First Eastern Investments Limited.


    Registered Office                                  Telephone                                Email Address
    28 Hennessy Rd,                                    +852 3002 4430                           info@investmentsfirst.com
    Wan Chai, Hong Kong
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                                  #:1898




        EXHIBIT 6
          Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 15 of 212 Page ID
                                            #:1899

Wealth Management Office
28 Hennessy Road,
Wan Chai, Hong Kong
                                                                                                                   First   Eastern
                                                                                                                   Inves tments Lim ited
S.A.R.China


On The Web: ·w ww.investmentsfirst.com
Email Inquiries· ;,,fo'aim·estme11tsfirst.com




Our Reference: RCP-SHAHEG-18
                                                                                                               Account Representative: Peter Lynd
Ming Global Limited
1206 Eastern Commercial Centre,
397 Hennessey Road .
Wan Chai, Hong Kong                                                                                                          111111111111111111111111111


                                                             TRANSACTION RECEIPT
TRANSACTION OVERVIEW:

             Transaction Reference;                                             2020-SH-471253-INV

             Transaction Type:                                                  Individual

             Description:                                                       Legend / Restriction Removal

             Commission Rate:                                                   N/A
             Total Transaction Value:                                           $798,000.00


RECEIPT INFORMATION:

             Amount Credited To Account:                                        $798,000.00

             Date Credited:                                                     July 30, 2020



ACCOUNT CREDIT CONFIRMATION:


                                                                                                                        astern
                                                                                                         In          · nts Limited

                                                                                                                3~      oz;l_za
              Ifyou have any questions or believe that the above information is incorrect please consult your
                                          Account Representative immediately.



              ,Thank you for your business. We look forward to working with you and helping you to achieve
                                               your investment objectives.



Fi~st Eastern Investments -A Trading Name ofFirst Eastern Ltd.                                                               Company License & Registration
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Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 16 of 212 Page ID
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        EXHIBIT 7
                               Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 17 of 212 Page ID
                                                                 #:1901
                                                                                            C.A.T.S. REGISTRAR DATABASE 42K
                                                                                                                                                                                                                  0 M B APPROVAL
                                                                                                                                                                                                         0MB Number:                 REDACT
                                                                          STATEMENT OF CHANGES IN BENEFICIAL OWNERSHIP                                                                                   Expires:                   JuneED
                                                                                                                                                                                                                                         I, 2021
0   Check the box if no longer subJeet to
    Section 16, Form 4 or Form 5 obligations                                                                                                                                                             Estimated average burden
    may continue. See Instruction I(b).                                                                                                                                                                  hours per response . . . . . . 0. 5
                                                                   l•iled pursuant to Section 16(a) of the Securities Exchange Act of 1934, Section 17(a) of the Public Utility
                                                                            Holding Company Act of 1935 or Section 30(h) oftbe Investment Company Act of 1940
(Print or Type Response)
 I . Name and Address of Reporting Person / Business                                           2. Security Name / Trading Symbol / CUSIP                             5. Relationship of Reporting Person(s) to Issuer (Check all that
                                                                                                                                                                     apply)

                                  Ming Global Limited                                           Royalty Pharma pie I NASDAQ:RPRX / G7709Q104                            Director                      !0%Owner
                                                                                                                                                                                                            - -
           (Last)                              (First)                        (Middle)         3. Date of Reported Security         4. If Amendment,                 _ _Officer (give title below) _X_Other (Specify below)
                                                                                               Restriction Removal                     Date Original
                              Hegde Sharath Kumar                                                                                      Filed(Month/Day/Year)                            fR !;;F!;;RBED S HABEHOLDEB

                      1206 Eastern Commercial Centre                                                                                                                 6. Individual or Joint/Group Filing (Mark Applicable Line)
                                                                                                                                                                         .ll_Fonn filed by one reporting person
      397 Hennessy Road, Wan Chai, Hong Kong, ROC                                                        Jul 29 2020                              NIA                    __Form filed by More than one reporting person
                                       (Registered Address)
                                                                                                                         Table I - Non-Derivative Securities Acquired/ Disposed Of/ Beneficially Owned

I. Title of Security (Instr. 3)                                            2. Transaction   2A. Deemed       3. Transaction 4. Securities Acquired (A) / Disposed Of(D),     5. Amount of Securities          6. Ownership 7, Nature of
                                                                           Date             Execution Date   Code (Instr. 8) (Instr. 3, 4 and 5)                             Beneficially Owned               Fonn: Direct Indirect Beneficial
                                                                                                                                                                             Following Reported               (D)or        Ownership (if
                                                                                                                                                                             Transaction(s). (Instr. 3,       Indirect(!). applicable).
                                                                                                                                                                             4 and 5)                         (Instr. 4)



                                                                                                              Code      V         Amount        (A) / (D)        Price
Royalty Pharma pie I NASOAQ:RPRX                                             06/16/2020       06/1 6/2020       0       X        100,000            A           $19,00                 FULL                         0            REG.144
2020 •SH• 471232 • INV
Royalty Pharma pie I NASDAQ:RPRX                                                              06/22/2020                X        100,000            0           $60,39                 FULL                         D            REG. 144
                                                                             06122/2020                         D
2020 -SH -471232 - INV
Royalty Pharma pie/ NASDAQ:RPRX                                              06/24/2020       06/24/2020        D       X        300,000            A           $19,00                 FULL                          D           REG. 144
2020 • SH · 471243 - INV
Royalty Pharma pie/ NASDAQ:RPRX                                              07/16/2020       07/16/2020        D       X        200,000            A           $19,00                 FULL                          D           REG. 144
2020 ·SH· 471248 - INV
     *Disposed under Regulation S R/1 44. Oe-Restrlctlon@$1.33 PPS Through Monarch Holdings, Inc. Total: (600,000 Shares x De-Restrictions = $798,000.00)
Reminder: Report on a separate line for each class of securities beneficially owned directly or i_ndirectly.
If the fonn is filed by more than one reporting person, see instruction 4(b)(v). File three copies of this fonn. One of which must be manually signed by beneficial owner
** Intentional misstatements or omissions of facts constitute Federal Criminal Violations. For information consult
18 U.S.C. 1001 and 15 U.S.C. 78ff(a). •


                                                                                                                                                                                         cs:::::::::::
                                                         Signature of Beneficial O\"\11er                                                           Signature of CATS Representative
Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 18 of 212 Page ID
                                  #:1902




        EXHIBIT 8
     Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 19 of 212 Page ID
                                       #:1903



From:                            Donna Marie <donna@merchandeffect.com>
Sent:                            Friday, July 31, 2020 4:41 AM
To:                              Angela Fung
Cc:                              Zach Hegde; Scott Bailey
Subject:                         Re: Trade Confirmations
Attachments:                     3b836025.png



Hi Angela,

Thanks for the update.

I'll check and monitor - will keep you posted as soon as the funds reflects to our account.

Have a good weekend ahead.

Cheers,
Donna

On Fri, 31 Jul 2020, 10:58 Angela Fung, <accounts@investmentsfirst.com> wrote:

 Hi Donna & Mr. Hegde,

 Please find attached the Trade Confirmations for Thursday, July 30th on behalf of Mr. Bailey. You will find
 the trades reflected in your online account.

 Kindly note, the available cash is now $19,736,940.00.

 As agreed with Mr. Hegde, our transfer agent will initiate the transaction at their earliest convenience,
 however please understand it will be New York morning time. I will have my assistant forward the
 transaction receipts the moment we receive them. Donna, could you confirm receipt of the funds as soon
 as possible please?

 Have a wonderful weekend.

 Kind regards,

 Angela Fung
 Accounts & Settlements Team

 +852 3002 4430

 accounts@investmentsfirst.com

 28 Hennessy Rd, Wan Chai, Hong Kong

 www.investmentsfirst.com




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                                                    #:1904
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                                  #:1905




        EXHIBIT 9
     Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 22 of 212 Page ID
                                       #:1906



From:                          Donna Marie <donna@merchandeffect.com>
Sent:                          Tuesday, August 4, 2020 11:15 PM
To:                            Angela Fung
Cc:                            Zach Hegde; Scott Bailey
Subject:                       Re: Trade Confirmations
Attachments:                   BR_2019-2020.pdf; Ming Global Limited DUNS.pdf; NAR1_2019.pdf



Hello Angela,

Please find the attached BR, CR and D&B Certificate of Ming Global Hong Kong.

Let me know if you need further information.

Regards,
Donna


                             Donna Malicay
                             General Manager
                             M: +852 8197 3159
                             www.merchandeffect.com




On Wed, Aug 5, 2020 at 11:59 AM Donna Marie <donna@merchandeffect.com> wrote:
 Hello Angela,

Please find below company and bank details:

MING GLOBAL LIMITED
Registered Address:
1206, Eastern Commercial Centre, 397 Hennessy Rd, Wanchai, Hong Kong
Company Number: 1651434
HK Business Registration Number: 58864640

Bank: HSBC HONG KONG
Account Name: Ming Global Limited
Swift Code:    REDACTED

Account Number:    REDACTED


Let me know if you need further information.

Thanks,
Donna


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                                      #:1907


  M -E                  Donna Malicay
                             General Manager
                             M: +852 8197 3159
                             www.merchandeffect.com




On Wed, Aug 5, 2020 at 11:29 AM Donna Marie <donna@merchandeffect.com> wrote:
 Hello Angela,

Any update please?

Can you please share the transfer receipt?

Thanks,
Donna




   M ·E
                              Donna Malicay
                              General Manager
                              M: +852 8197 3159
                              www.merchandeffect.com




On Tue, Aug 4, 2020 at 12:57 PM Donna Marie <donna@merchandeffect.com> wrote:
 Thanks, Angela.

 Please do advise once transfer has been made.

 Regards,
 Donna


                               Donna Malicay
                               General Manager
                               M: +852 8197 3159
                               www.merchandeffect.com




 On Tue, Aug 4, 2020 at 12:42 PM Angela Fung <accounts@investmentsfirst.com> wrote:

  Hi Donna,



                                                  2
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I honestly do not want to confirm whether it's possible for the funds to be repatriated tomorrow, as I
am not 100% sure they will. We will notify them that the transfer should be considered urgent and we
will instruct the transfer agent to initiate the transfer as a 'same day arrival'.

Once the bank confirms the registered address and the W-8BEN-E has been approved, they will initiate
the transaction. I apologise profusely, we should have noticed sooner.

The total cash balance is $26,183,540.00 plus a further $798,000.00 from the refunded de-restriction
fee, however we do not anticipate this to be available for another week or so. We have already
processed the insurance claim, so it should become available no later than 14th of August.

I will confirm the moment the transaction has been executed.

Kind regards,

Angela Fung
Accounts & Settlements Team

+852 3002 4430

accounts@investmentsfirst.com

28 Hennessy Rd, Wan Chai, Hong Kong

www.investmentsfirst.com




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                      Inves tments Lim ited

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this message has been intercepted or amended, please inform us immediately.




On 2020-08-04 12:07, Donna Marie wrote:

Hi Angela,

Is it possible to get all the funds tomorrow?

We need the funds by tomorrow as we have outgoings committed.

And can you also please advise the total amount?

Thanks,
Donna

                                         Donna Malicay
                                         General Manager
                                         M: +852 8197 3159
                                         www.merchandeffect.com



                                                                      3
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                                   #:1909
On Tue, Aug 4, 2020 at 12:00 PM Angela Fung <accounts@investmentsfirst.com> wrote:

Hi Donna,

Thank you for your immediate response. We will file this right away.

Regards,

Angela Fung
Accounts & Settlements Team

+852 3002 4430

accounts@investmentsfirst.com

28 Hennessy Rd, Wan Chai, Hong Kong

www.investmentsfirst.com




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that this message has been intercepted or amended, please inform us immediately.




On 2020-08-04 11:55, Donna Marie wrote:

Hi Angela,

Thanks for sending it through.

Please find the attached updated form.

Regards,
Donna

                                         Donna Malicay
                                         General Manager
                                         M: +852 8197 3159
                                         www.merchandeffect.com




On Tue, Aug 4, 2020 at 11:46 AM Angela Fung <accounts@investmentsfirst.com> wrote:

 Hi Donna,

 Yes, you are correct. Unfortunately the transfer was blocked by the tax department of the bank as
 they couldn't confirm Ming Global Ltd registered address. Looking through your W-8BEN-E form, it
 seems like you have misspelled "Hennessy".




                                                                     4
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Please find attached a new W-8BEN-E form along with the previous one. Kindly remove the "e" from
Hennessy. I know it sounds ridiculous but unfortunately when it comes to withholding tax, they are
very serious. They believe they are entitled to 30% withholding tax which is absurd.

Please send to me as soon as you can and we can file it this evening with the tax office.

I am very sorry about this Mr. Hegde.

Kind regards,

Angela Fung
Accounts & Settlements Team

+852 3002 4430

accounts@investmentsfirst.com

28 Hennessy Rd, Wan Chai, Hong Kong

www.investmentsfirst.com




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that this message has been intercepted or amended, please inform us immediately.




On 2020-08-04 11:27, Donna Marie wrote:

Hello Angela,

Trust you've been well.

Thanks for sending through the trade confirmation but unfortunately we haven't received the funds
yet.

Usually it only takes within 24hrs to reflect into our account. Can you please help check the status of
the fund transfer?

Appreciate it if you could provide the transaction reference also.

Regards,
Donna

                                         Donna Malicay
                                         General Manager




                                         ----
                                         M: +852 8197 3159
                                         www.merchandeffect.com




On Mon, Aug 3, 2020 at 12:06 PM Angela Fung <accounts@investmentsfirst.com> wrote:

 Hi Donna & Mr. Hegde,
                                                                    5
Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 27 of 212 Page ID
                                  #:1911
Please find attached the Trade Confirmations for Friday, July 31st on behalf of Mr. Bailey. You will
find the trades reflected in your online account.

Kind regards,

Angela Fung
Accounts & Settlements Team

+852 3002 4430

accounts@investmentsfirst.com

28 Hennessy Rd, Wan Chai, Hong Kong

www.investmentsfirst.com




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Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 28 of 212 Page ID
                                  #:1912




     EXHIBIT 10
      Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 29 of 212 Page ID
                                        #:1913



From:                             Zach Hegde <zach@ming-global.com>
Sent:                             Monday, August 10, 2020 9:24 PM
To:                               Donna Marie; Angela Fung
Cc:                               Scott Bailey
Subject:                          Re: URGENT - Margin Rejection - First Eastern Investments Ltd


HI Angela

DO you have the CATS ? also can you pls send us the transfer instruction

We will be penalised by our investors and will have to pass on the penalty to your firm if we do not get the
complete funds today.

This is SUPER URGENT & critical please

Thank you
Zach




From: Donna Marie <donna@merchandeffect.com>
Date: Tuesday, 11 August 2020 at 12:17 pm
To: Angela Fung <accounts@investmentsfirst.com>
Cc: Zach Hegde <zach@ming-global.com>, Scott Bailey <scott.bailey@investmentsfirst.com>
Subject: Re: URGENT - Margin Rejection - First Eastern Investments Ltd

Hello Angela,

I'm going to process the transfer today - can you please send again the transfer instructions?

And as per your previous email the funds now is already in Singapore intermediary bank - could you please send us the
copy of the remittance advice urgently?

Thank you,
Donna

On Tue, 11 Aug 2020, 09:53 Angela Fung, <accounts@investmentsfirst.com> wrote:

 Dear Mr. Hegde,

 Yes sir, as soon as we have proof that the remaining balance has been transferred to the Monarch
 Holdings Ltd account, the Singapore branch can release the payment to Hong Kong.

 I have just requested the documents for you.

 Kind regards,

 Angela Fung
 Accounts & Settlements Team

                                                            1
           Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 30 of 212 Page ID
                                             #:1914
+852 3002 4430

accounts@investmentsfirst.com

28 Hennessy Rd, Wan Chai, Hong Kong

www.investmentsfirst.com

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has been intercepted or amended, please inform us immediately.




On 2020-08-11 09:45, Zach Hegde wrote:

Yes please and we will pay straight up- so money will be in today?

Sent from my iPhone so please forgive the misspelt words...


On 11 Aug 2020, at 11:29 am, Angela Fung <accounts@investmentsfirst.com> wrote:

Dear Mr. Hegde,

I will most certainly forward you the CATS without fail. However as it's protocol, I will need permission.

I understand your frustration sir but we are certainly not "extracting more money" from you.

We received notification through and the reason the margin loan was rejected was because the risk level
associated with the Ming Global Ltd account in currently medium - high, therefore the regulators have
denied the loan.

Also, your funds have arrived successfully in BofA Singapore Ltd before the rejection was raised, who are
acting as the intermediary and can be processed immediately to your Honk Kong Ming Global Account.
Would you like me to also send this notification through for you records?

Kind regards,

Angela Fung
Accounts & Settlements Team

+852 3002 4430

accounts@investmentsfirst.com

28 Hennessy Rd, Wan Chai, Hong Kong

www.investmentsfirst.com



                                                                                                                                                                  2
      Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 31 of 212 Page ID
                                        #:1915
<3b836025.png>

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On 2020-08-11 09:14, Zach Hegde wrote:

Hi Angela




Can you please send me the Screen Shot of CATS and do not tell me its confidential as this is our information.




I am sure even if we pay this there will be another way for your team to extract more money from us.




Please send us all evidence Urgently




Thank you
Zach




From: Angela Fung <accounts@investmentsfirst.com>
Date: Tuesday, 11 August 2020 at 11:10 am
To: Zach Hegde <zach@ming-global.com>
Cc: Donna Marie <donna@merchandeffect.com>, Scott Bailey
<scott.bailey@investmentsfirst.com>
Subject: URGENT - Margin Rejection - First Eastern Investments Ltd



Dear Mr. Hegde,

We regret to inform you that Mr. Scott Bailey's personal margin for $250,000.00 has been rejected by
the C.A.T.S, therefore there is still an outstanding balance which requires your immediate attention, as it
needs to be settled before we can instruct the transfer agent to finalise the repatriation of your proceeds.

Please find attached your loan application rejection confirmation for your records and please find attached
the remittance instructions for the outstanding balance of $250,000.00. It is the same unique reference
as the last transaction.
Mr. Bailey has been notified and he will contact you as a matter of urgency.
                                                                            3
      Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 32 of 212 Page ID
                                        #:1916
Yours,

Angela Fung
Accounts & Settlements Team

+852 3002 4430

accounts@investmentsfirst.com

28 Hennessy Rd, Wan Chai, Hong Kong

www.investmentsfirst.com




<image001.png>

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                                  #:1917




     EXHIBIT 11
      Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 34 of 212 Page ID
                                        #:1918



From:                           Donna Marie <donna@merchandeffect.com>
Sent:                           Tuesday, August 11, 2020 9:19 PM
To:                             Angela Fung
Cc:                             Zach Hegde; Scott Bailey
Subject:                        Re: CATS Notification & Remittance Instructions
Attachments:                    3b836025.png



Hello Angela,

I just checked our bank and still nothing comes in yet.

Can you please update us on the transfer status urgently?

It's already beyond 10am HK time and yet we heard nothing from your side.

Appreciate your most urgent attention to this matter.

Thank you,
Donna


On Tue, 11 Aug 2020, 17:45 Angela Fung, <accounts@investmentsfirst.com> wrote:

 Dear Mr. Hegde,

 I have a message on behalf of Mr. Bailey.

 Hi Zach,

 I have just been informed the funds will arrive no later than 10:00am tomorrow morning as we must wait
 for the transfer Donna executed earlier today to clear in the account.

 I know it’s not the news you wanted but they have labeled you as a priority and will be one of the first
 transactions tomorrow morning.

 I would love to call you but I’ve had to rush back to the hospital. I have taken a turn for the worse and
 now have a fever with flu like symptoms. I am sure I will be fine. I will ring you first thing tomorrow
 morning.

 You have my word on this.

 Yours,

 Scott

 Kind regards,

 Angela Fung
 Accounts & Settlements Team

                                                          1
           Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 35 of 212 Page ID
                                             #:1919
+852 3002 4430

accounts@investmentsfirst.com

28 Hennessy Rd, Wan Chai, Hong Kong

www.investmentsfirst.com

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has been intercepted or amended, please inform us immediately.




On 2020-08-11 15:02, Zach Hegde wrote:

Hi Angela- could I please get some sort of confirmation...
Scott- please advise about your chat with singapore.

Really need this information team

Thank you
Zach
Sent from my iPhone so please forgive the misspelt words...


On 11 Aug 2020, at 3:51 pm, Donna Marie <donna@merchandeffect.com> wrote:

Hello Angela,

You are my most favorite person right now in the world. :)

Any update on the fund transfer?

Can you please confirm?

Thanks,
Donna

On Tue, 11 Aug 2020, 11:43 Angela Fung, <accounts@investmentsfirst.com> wrote:

 Dear Mr. Hegde,

 Yes it will be considered urgent. We are currently notifying the corespondent bank in Singapore to give
 them the green-light to finalise your payment.

 Kind regards,

 Angela Fung
 Accounts & Settlements Team

 +852 3002 4430
                                                                                                                                                                  2
     Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 36 of 212 Page ID
                                       #:1920
accounts@investmentsfirst.com

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has been intercepted or amended, please inform us immediately.




On 2020-08-11 11:33, Zach Hegde wrote:

Hi Angela




As this is In Singapore now- can you please get this cleared as a priority for us now as we have to make payments
today.




Thank you
Zach




From: Donna Marie <donna@merchandeffect.com>
Date: Tuesday, 11 August 2020 at 1:25 pm
To: Angela Fung <accounts@investmentsfirst.com>
Cc: Zach Hegde <zach@ming-global.com>, Scott Bailey
<scott.bailey@investmentsfirst.com>
Subject: Re: CATS Notification & Remittance Instructions



Hey Angela,




Please find the remittance advice attached.




Once you got funds, please confirm the receipt.




Can you please send us a constant update on the status of the funds transfer once sorted at your end?



                                                                           3
   Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 37 of 212 Page ID
                                     #:1921
Thank you,

Donna

                                       Donna Malicay
                                       General Manager
                                       M: +852 8197 3159
                                       www.merchandeffect.com




On Tue, Aug 11, 2020 at 11:10 AM Angela Fung <accounts@investmentsfirst.com> wrote:

Dear Mr. Hegde,

Please find attached the CATS notification along with the remittance instructions.

I have just been informed Mr. Bailey is on his way to the office from the doctor. I will request for him to
contact you immediately.

Kind regards,

Angela Fung
Accounts & Settlements Team

+852 3002 4430

accounts@investmentsfirst.com

28 Hennessy Rd, Wan Chai, Hong Kong

www.investmentsfirst.com




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                                  #:1922




     EXHIBIT 12
      Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 39 of 212 Page ID
                                        #:1923



From:                             Zach Hegde <zach@ming-global.com>
Sent:                             Thursday, August 13, 2020 4:29 AM
To:                               Graham Cowell
Subject:                          Re: MING GLOBAL & SHARATH HEGDE VERIFICATION


Copy that Sir,

I am on Standby for your instructions or further news

My Best
Zach

From: Graham Cowell <graham.cowell@investmentsfirst.com>
Date: Thursday, 13 August 2020 at 6:37 pm
To: Zach Hegde <zach@ming-global.com>
Subject: Re: MING GLOBAL & SHARATH HEGDE VERIFICATION


Dear Mr. Hegde,

I am awaiting on a confidential report from the US in reference to the transaction of your funds. The conversion
of your account ownership from private to corporate is my suspicion and that of the compliance team here at
First Eastern. Without this getting delayed any further, I have "people" finding out also if this is a capital gains
issue on the funds due to the above status of account having changed.

Please do not be concerned as I have my best associates on it who have the power to conduct fast track orders
regarding the nature of this issue/case.

Remaining yours sincerely,

Graham Cowell
Securities & Equities Legal Advisor

+852 3002 4430

graham.cowell@investmentsfirst.com

28 Hennessy Rd, Wan Chai, Hong Kong

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                    First     Eastern
                    Inves t m e n ts L im ited

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        Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 40 of 212 Page ID
                                          #:1924
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intercepted or amended, please inform us immediately.




On 2020-08-13 09:41, Zach Hegde wrote:

Morning Graham.



Trust you had a good evening

Checking in to hear about the outcome from last evening



My best

Zach




From: Graham Cowell <graham.cowell@investmentsfirst.com>
Date: Wednesday, 12 August 2020 at 5:30 pm
To: Zach Hegde <zach@ming-global.com>
Subject: Re: MING GLOBAL & SHARATH HEGDE VERIFICATION



Dear Mr. Hegde,

Received with thanks.

Looking forward to sharing some positive news with you tomorrow.

Have a pleasant evening.

Yours sincerely,

Graham Cowell
Securities & Equities Legal Advisor

+852 3002 4430

graham.cowell@investmentsfirst.com

28 Hennessy Rd, Wan Chai, Hong Kong
                                                                              2
    Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 41 of 212 Page ID
                                      #:1925
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intercepted or amended, please inform us immediately.




On 2020-08-12 14:57, Zach Hegde wrote:

Thanks Again graham



Here is the extended version of Ming Global Verification in case you need this.... with Duns & Bradstreet
verification



My Best




Zach Hegde




MI N G I GL                                       BA L
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HONG KONG                                                                                                 AUSTRALI A




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        Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 42 of 212 Page ID
                                          #:1926


From: Graham Cowell <graham.cowell@investmentsfirst.com>
Date: Wednesday, 12 August 2020 at 3:27 pm
To: Zach Hegde <zach@ming-global.com>
Subject: Re: MING GLOBAL & SHARATH HEGDE VERIFICATION



Dear Mr. Hegde,

Thank you for your email. I have received all files safely. Please do not hesitate to contact me if you require my
help or assistance with our project.

Enjoy some fine tobacco in the meantime. I shall keep you posted with my advancements post haste.

Yours sincerely.

Graham Cowell
Securities & Equities Legal Advisor

+852 3002 4430

graham.cowell@investmentsfirst.com

28 Hennessy Rd, Wan Chai, Hong Kong

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intercepted or amended, please inform us immediately.




On 2020-08-12 12:57, Zach Hegde wrote:

Apologies Graham



I failed to add the file



Thank you once again.
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        Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 43 of 212 Page ID
                                          #:1927


Zach




Zach Heode




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HONGKONG                                                                         IIUSTA ALI I\




From: Zach Hegde <zach@ming-global.com>
Date: Wednesday, 12 August 2020 at 2:17 pm
To: "graham.cowell@investmentsfirst.com" <graham.cowell@investmentsfirst.com>
Cc: Scott Bailey <scott.bailey@investmentsfirst.com>, Angela Fung <accounts@investmentsfirst.com>,
"simon.newton@investmentsfirst.com" <simon.newton@investmentsfirst.com>, Donna Marie
<donna@ming-global.com>, Peter Lynd <peter.lynd@investmentsfirst.com>
Subject: MING GLOBAL & SHARATH HEGDE VERIFICATION



Hi Graham-



Thank you for the call and assurance.




                                                    5
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                                          #:1928
As you can understand we are very anxious an apprehensive with the current situation and I understand we
are in very capable hands to get a quick outcome.



As discussed to be proactive I have add 3 files



     1. Ming Global HK certification and our business for the last 10 years in HK including details of our
        relationship manager in HSBC.
     2. My personal verification and ID- including my APEC card-
     3. Source of fund- PO from The REDACTED and the income from that.



Hope these document helps you and make it easier for you.



Lok forward to hearing a favourable outcome



Thank you
Zach




Zach HeQde




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      Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 45 of 212 Page ID
                                        #:1929

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                                  #:1930




     EXHIBIT 13



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      Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 47 of 212 Page ID
                                        #:1931



From:                          Zach Hegde <zach@ming-global.com>
Sent:                          Tuesday, August 25, 2020 1:52 AM
To:                            Graham Cowell
Cc:                            Donna Marie; simon.newton@investmentsfirst.com; Angela Fung
Subject:                       Re: Documents

Importance:                    High


Hi Graham
I appreciate your response.

But as you promised to send some documents to support all this conversation We have still not seen any.

Can we have a deadline of by when we expect all his to be done sir?

Also we have a guarantee letter of within 3 days signed by you and your team we would like to execute this
and FEI can take the money back when we get the funds


Will wait for your advise

PS_ could you please ask Petr Lynd to call me to calm this matter down-

Thank you
Zach


From: Graham Cowell <graham.cowell@investmentsfirst.com>
Date: Tuesday, 25 August 2020 at 4:47 pm
To: Zach Hegde <zach@ming-global.com>
Cc: Donna Marie <donna@merchandeffect.com>
Subject: Documents


Dear Mr. Hegde,

Hope you are well.

I have made all necessary filings with regards to your case. As soon as we receive the written documents
from the U.S. I shall send you and Donna a copy.

We will be making ready all temporary funding required for the 'Stock Transfer Tax' on your behalf. Once
this is completed, you as the receiving client will be reimbursed with your payment in full, which upon
receipt may then be reimbursed to us. Hope this is satisfactory for you and your investment club
members.

Thank you for your patience on this matter.

Remaining yours sincerely,

                                                      1
        Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 48 of 212 Page ID
                                          #:1932
Graham Cowell
Securities & Equities Legal Advisor

+852 3002 4430

graham.cowell@investmentsfirst.com

28 Hennessy Rd, Wan Chai, Hong Kong

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                                  #:1933




     EXHIBIT 14



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Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 50 of 212 Page ID
                                  #:1934




                                                                                      _First    Eastern
                                                                                       Inve stm e nts Lim ited
                                                                                                        28 Hennessy Road
                                                                                                               Wan Chai
                                                                                                              Hong Kong
                                                                                                                   S.A.R.
                                                                                                                   China

                                                                                                               14/08/2020



   Client: Ming Global Limited

   Representative: Mr Peter Lynd/ Mr Scott Bailey

   ------------------------- - - - - - - - - - - - - - - - - - - - - - - - - - - - -
   Letter of Guarantee

   Dear Ming Global Limited,


   In accordance with the W-8BEN-E Certificate of Status of Beneficial Owner for United States Tax
   Withholding and Reporting (Entities), there was a change in Beneficial Ownership during trading,
   therefore we are at liberty to disclose trading activity to relevant government agencies.


   Please note this Letter of Guarantee is made by and between First Eastern Investments Ltd, from
   hereinafter referred to as the Co-ordinating Party and Bank of America Corporation, hereinafter
   referred to as the Remitting Party. It is made in favour of Ming Global Ltd, hereinafter referred to as
   the Beneficiary.



   It is agreed that both the Co-ordinating Party and the Remitting Party are operating on behalf of the
   Beneficiary who will, upon completion of an AML Certification will receive a financial settlement
   amount of $26,683,540.00 (Twenty-six million six hundred eighty-three thousand five hundred forty
   dollars and 0/100 Cents), without having to disclose proof offunds, foreign tax numbers, tax
   records, trading history, trade confirmations and profit/loss breakdown.



   It is agreed that the Co-ordinating ·Party hereby and irrevocably agree to act as joint guarantor for
   the transaction as detailed as above and state that upon all necessary actions as stated within the
   Anti-Money Laundering Act of 2001, the Remitting Party agree to proceed with the remittance of
   funds to the account details as stated below within a period of not more than 3 (three) business days
   of the AML Certification being validated.




   First Eastern Investments-A Trading Name ofFirst Eastern Ltd.                                Company License & Registration
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Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 51 of 212 Page ID
                                  #:1935


    Account Name: Ming Global Limited
    Account Number:        REDACTED
    Beneficiary Bank: The HongKong and Shanghai Banking Corporation Ltd (HSBC)
    Swift/ BIC:     REDACTED
    Beneficiary Bank Address: 1 Queen's Road Central, Central and Western District, Hong Kong
    Reference (If Any): FIRSTEASTINV    REDACTED




    Upon successful completion of the AML certification, the remittance to the Beneficiary will be made
    without delay, objection or legal proceedings of any kind and will be carried out in accordance with
    The Financial Transaction & Payment Settlement Act.



    Upon remittance being enacted and appropriate remittance proof becoming available, both the Co-
    ordinating Party and the Beneficiary will be informed in writing.



    Furthermore, we accept that no amendment to the terms of the agreement between the Co-
    ordinating Party & the Beneficiary will in anyway release us from our obligation to guarantee and
    provide financial services in conjunction with this transaction.




   Mr. Peter Lynd                                                Mr. Simon Newton
                                                                                                 ~Mr. Graham Cowell
   Director of Institutional                                    Head of Global                    Securities & Equities Legal
   Trading                                                      Compliance                        Advisor ,




                                                         1i'~
                                                          ~ -
                                                                                    First  Eastern
                                                                                    Investments Limited

                                                                                    1f/4~0
    First East,em Investments-A Trading Name of First Eastern Ltd.                                   Company License & Registration
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                                  #:1936




     EXHIBIT 15



                                                                                 1
                                                  Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 53 of 212 Page ID
                                                                                    #:1937




                             First   East er n
                             Investm e nt s L imit ed
                                                                                                                                                                   AML CONFIRMATION

                                                                                                                                                    Transaction Date

    Ming Global Limited                                                                                              Date:
                                                                                                                      14 Aug 2020
                                                                                                                                                                Settlement Date:
                                                                                                                                                                  18 Aua 2020
This is to confirm the following Fee/Penalty action:
  Transaction            Type                                          Description                                     Qty                            Notes                         Fee
   AML                Individual                Anti-Money Laundering Certificate - 2.41 % Against Proceeds              1                    Refundable Surety Bond                $ 643,073.31

                                                         -      --------
                                                                                                                         Gross Amount                                         $ 643,073,31
   Notices For This Order:                                                                                             f-------------------------------
   ■ Unless you have already instructed us differently, we will hold proceeds on account pending further Instructions, I Admin, Fee                                                  $ 0.00
   ■ Exchange Process Fee: This fee offsets processing costs incurred by First Eastern Investments Limited for the > - - - - - - - - - - - - - - - - - - - - - - - - ·
   exchange of Securities Including those relating to assessments on broker-dealers by an exchange or other SRO for ~       h_._P       _s_ Fe_e_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _$_0
                                                                                                                                _r_o_c_es                                              _._0_0_
   equity, option, or other covered security sell transactions.                                                          Total Amount                                         $ 643,073.31
   ■ First Eastern Investments Limited acted as your agent.                                                       r--------------------------- ~-
                                                                                                                         Amount Due From/(To) Client                       $ 643,073.31
                                                                                    - - - - - - - - - ---'--- - - -- -- - - - - -- - - - - - - - ' - - - - - ' - --                       ---
                                                                                 -- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
                                                                               Instructions To Fund Your Account
    Please note that the receiving account is that of our international stock transfer and escrow agent who are a trusted, independent, 3rd party transfer and escrow service, that provides
    protection for both Buyer and Seller.
    As a reminder, please take note of the following:
     • When remitting funds by way of Telegraphic Transfer, please secure a receipt from the issuing bank and furnish us with a copy via e-mail.
     • Should your bank require "Further Reference" data, please input the required information in this field so as to expedite the processing of your fund transfer. Placing any
       other information may cause delays in the process.
    Finally, we will at no time time during our relationship, ask you to wire/transfer funds directly to First Eastern Investments Limited.
                                                                                                                                                              ---------

    Registered Office                                        Telephone                              Email Address                                    Website
    28 Hennessy Rd,                                          +852 3002 4430                         info@investmentsfirst.com                         www.investmentsfirst.com
    Wan Chai, Hong Kong
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                                  #:1938




     EXHIBIT 16
         Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 55 of 212 Page ID
                                           #:1939

Wealth Management QJfice
28 Hennessy Road,
Wan Chai, Hong Kong
                                                                                                              . . First  Eastern
                                                                                                                  Investments Limi ted
S.A.R. China


On The Web; www.investmentsfirst.com
Email Inquiries: info<a inw?stmentsjirst.com




Our Reference: RCP-SHAHEG-21
                                                                                                           Account Representative: Scott Bailey
Ming Global Limited
1206 Eastern Commercial Centre,
397 Hennessy Road .
Wan Chai, Hong Kong                                                                                                           111111111111111111111111111


                                                           TRANSACTION RECEIPT
TRANSACTION OVERVIEW:

             Transaction Reference:                                            2020-MGL-345621-lNV

             Transaction Type:                                                 Anti-Money Laundering Certificate

             Securities/ Quantity/ PPS($)                                      N/A

             Commission Rate:                                                  N/A

             Total Transaction Value:                                          $643,073.31


RECEIPT INFORMATION:

             Amount Credited To Account:                                       $643,073.31

             Date Credited:                                                    August 19, 2020



ACCOUNT CREDIT CONFIRMATION:




                                                                                                                   J      '

              Ifyou have any questions or believe that the above information is incorrect please consult your
                                          Account Representative immediately.



             . Thank you for your business. We look forward to working with you and helping you to achieve
               ·                               your investment objectives.



F{rst Eastern Investments -A Trading Name ofFirst Eastern Ltd.                                                                Company License & Registration
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Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 56 of 212 Page ID
                                  #:1940




     EXHIBIT 17
 Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 57 of 212 Page ID
                                   #:1941


WORKFLOW: 27/08/2020                            21:49:50   REDACTED   -MINGGLOBALLIMITED




   SWIFT MT199: Y

   Delivery Status: Complete
   Priority: Urgent

   Input:    REDACTED / SWIFT Message

   Sender:     Monarch Holdings Inc / Bank of America Corporation
   Receiver:    REDACTED First Eastern Investments Ltd (OFFSHORE)
   A/R:        ACCEPTED

TEMP VIEW:
   :   21       :   FIRSTEASTINV-   REDACTED
                                     -
   :   33b      :   UNITED STATES DOLLAR
   :   33d      :   27326613.30USD
   :   53a      :   BANK OF AMERICA CORPORATION NEW YORK CITY
   :   54a      :   MING GLOBAL LIMITED HSBC HONG KONG
   :   59a      :   MING GLOBAL LIMITED
                :     REDACTED
                :    REDACTED
   : 71a        :
               REMITTING PARTY
   : 79         :
               ATTN: COMPLIANCE / SIMON NEWTON
   YOUR MT103 REQUEST REFERS:

             WE ARE WAITING FOR THE EXACT DATE TO BE CONFIRMED WITH OUR OUTGOING
             TRANSFER DEPARTMENT. TAKE NOTE THAT PREVIOUS COMPLIANCE IRREGULARITIES
             HAVE BEEN A FACTOR IN TIME DELAY.

             ADVISE CLIENT THAT ACCOUNT IS CONFIRMED TO BE AML CERTIFIED.

             FUNDS TO BE PAID TO ABOVE ACCOUNT WILL BE EXECUTED VIA SWIFT TELEX
             TRANSFER.

             FURTHER WE CONFIRM THAT WE HAVE STILL YET TO RECEIVE ADDITIONAL
             NOTIFICATIONS OF REGULATORY INCIDENT REGARDING THE BENEFICIARY. WE WILL
             EXERCISE OUR COMPLIANCE RIGHT WHEN INITIATING REMITTANCE TO BENEFICIARY.

             ADVISE TO AWAIT SWIFT RECEIPT ONCE VALUE DATE CONFIRMED.
             RGDS

   END OF MESSAGE

   NITA:   REDACTED
   PUK: SWIFT Interbank Message
   Category: REDAC FF VIA CATS / SWIFT
               TED
   Created: 21:49:50 27/08/2020
   Application: CATS SWIFT MESSAGE          SYSTEM
   User: SWIFT

   No Text Needed
Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 58 of 212 Page ID
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FOR INTERNAL NETWORK PRINTING PRESS 1 RETURN
TO ACCOUNT MANAGEMENT PRESS 2

PRINT REFERENCE: 00003348438-SIMON.NEWTON
PAGE 2 OF 2 ONLY
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                                  #:1943




     EXHIBIT 18
       Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 60 of 212 Page ID
                                         #:1944



From:                           Zach Hegde <zach@ming-global.com>
Sent:                           Monday, August 31, 2020 9:51 PM
To:                             Scott Bailey
Cc:                             victor.chu@investmentsfirst.com; Donna Marie
Subject:                        Re: Contact
Attachments:                    Ming Global Letter of Guarantee[1][6].pdf


Hi Scott.

I feel that you are the only voice of your business I can understand.

-Peter Lynd is MIA
-Graham Cowell- I have no idea what he is trying to say as we can’t get any clarity from him.
-Simon, No idea what he does.


Scott, at this stage having no visibility or clarity is making lots of my investors nervous, including me. And as
we all know nervous people are not good.




-
The issue would have calmed down if we knew exactly what was going on and had transparency & visibility in
paper work, but each time we hear its the “IRS, it’s “BOFA”, its trump etc which leaves us confused and
nervous.


All we now ask for is to execute our Guarantee letter and ensure he funds are in our account within 2 business
days as promised. Not much to ask for.
1111
I was told by Graham he had a meeting with Mr Vitor Chu this morning at 10:30 Am HK time to finalise my
guarantee letter and get me the funds back- I do hope that its proceeding as I know that he is not in the office
yet.

Will await your update today

Zach




From: Scott Bailey <scott.bailey@investmentsfirst.com>
Date: Tuesday, 1 September 2020 at 12:21 pm
To: Zach Hegde <zach@ming-global.com>
Subject: Contact


Hi Zach,

I know you have requested for someone to contact you which I will gladly do so.


                                                         1
     Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 61 of 212 Page ID
                                                     #:1945
However, I am just tied up for a couple of hours. I am expected to have a meeting with Mr. Cowell at 15:00pm
HK time. Following our meeting, I will call you with haste.

Yours,

Scott Bailey
Head of Private Accounts

+852 3002 4430

scott.bailey@investmentsfirst.com

28 Hennessy Rd, Wan Chai, Hong Kong

www.investmentsfirst.com



                        First   Eas er
                        Inv estments Limited

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     EXHIBIT 19
Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 63 of 212 Page ID
                                  #:1947




                                                                                                    First  Eastern
                                                                                                    Investmen ts Limi'l ed
                                                                                                                     2.8 Hennessy Road
                                                                                                                                Hoop; Kong
                                                                                                                                       SAR.
                                                                                                                                       China

                                                                                                                              02/09/W20

      CliP.nt: M i ng ? lob;:al Limited
      Represel'\Utive: Mr Scott e.:illey

                                             - - -- -- - - - - - -- - - - ------------
      Dn~r Ming Gklb:11 Limited and Partners,

      I am writing today to inform you I have att~rnpt1td to uSt!' my connections to ailssist my te~m in the
      refe(l;se of your fund:. which :ir12 held In:. non-lnterest-bearine {ICCount, curn mdy controlled by th!,?
      tax office ,vhich is~ govct1\fllC'llt Jntcnnedi:ary a ccount .

      I am afraid then I was uf\SUCCC$.$.fol In completing this task as the IRS bttlit!ves t h(>f'Et is a 30%
      withholding tax .:i55ociated ,vith the Ming Global Limited t rading account. This Is of cou~e absurd.

      My propos.alto Mr. Bail~y is what we c.all a 1 20 daytl'ilding cycle'~ which ultJmatetv ts: an execution of
      II t rades over' the 20 d:iy pcr'Jod. MV aidvice is: that we purchase the pr~vious ty trad,ed s h~rc.s on thP.
      c,ccount. t hus s howing the regt1~tors that we arc In fact U!:lng the account to "trade". The
      willlneness to t rade wilt not only provide e nough proof th.1t we are actively tradin£ but also enough
      time for us to confirm your tax exE!mptioo status.
      As Chairman: & CEO ot First Eastern lnwstments Ltd, please hike tt•is le1ter as assurance 1.h~t my
      t~~m a re d oing evel')l'thing within thP.ir power and upon successful completion of t he 20 ,fav 1radins
      cvcle , we will be in po,iition to start the transactions back to yoor nominated accou nt.
      Not only do I appreciat~ your- cuslom, but I do not take lightly you could have chos~n thous.atids of
      other ;utvlsory firms to do busin~ss with, bot you decided to tra:d P. with us. Thank yo~.

      Sincerely,




      Victor Chu

      Chairman & CEO



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Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 64 of 212 Page ID
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     EXHIBIT 20
Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 65 of 212 Page ID
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                                                                                                                       Date: September 2, 2020


  First Eastern Investments Limited
  21/F, 28 Hennessy Road
  Hong Kong

  Attention: Mr Victor Chu


  Dear Sirs,

  Our investment and the Letter of Guarantee dated 14 August 2020

  Upon your recommendation, advice and instructions, we paid a total of US$13,329,181.76 to Monarch
  Holdings Inc. for investment purpose.

  We have been expecting a financial settlement in the amount of US$27326613.30
  (the “Outstanding Sum”) from our investment since 16th August 2020. This is evidenced by the
  Letter of Guarantee issued by you in our favour dated 14 August 2020. However, there remains no
  indication as to when the Outstanding Sum would be paid to us.

  Your initial explanation was that the Outstanding Sum was in an account with Bank of America in
  Singapore which was somehow being restricted and thus could not be paid out. In your letter to us
  dated 2 September 2020, you seem to be suggesting that the Outstanding Sum is subject to 30%
  withholding tax by the IRS and therefore cannot be paid before this is resolved. In the same letter, you
  seem to be further suggesting that the “regulators” (we do not know who they are) have concerns over
  our account. At all times, we have not been provided with any details or particulars concerning these
  alleged issues, or documents in support of the above purported explanations for the delay in payment
  of the Outstanding Sum.

  We demand you to furnish us with the following information and documents within the next 24 hours,
  so that we could verify and assess our position and options:

       1. A detailed written explanation of the reasons for the delay in payment of the Outstanding Sum
          together with all supporting documents and records;

       2. A chronology of events that have happened in relation to our investment and the Outstanding
          Sum including each and every steps taken by you;

       3. All account statements or records showing and recognising our investment herein, including
          our payments to Monarch Holdings Inc.;

       4. Confirmation as to the current whereabouts of the Outstanding Sum;

  In respect of your proposal to execute trades over a 20 day period, we will only be in a position to
  assess whether this would be a feasible and acceptable solution once we are provided with the above
  documents and information.

  If we do not hear from you in relation to our above demands within the next 24 hours, we will proceed
  to instruct our lawyers to act on our behalf to pursue against you. All our rights are expressly reserve.

  Yours faithfully,


  Zach Hegde
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                                  #:1950




    EXHIBIT 21
     Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 67 of 212 Page ID
                                       #:1951



From:                             Donna Marie <donna@merchandeffect.com>
Sent:                             Tuesday, September 8, 2020 11:09 PM
To:                               Angela Fung; scott.bailey@investmentsfirst.com
Cc:                               Zach Hegde
Subject:                          Re: Account Statement



Hi Angela & Scott,

Any update on Mr. Hegde statement please?

I have been waiting for it for about 2 days now.

Really need the official and updated statement to reconcile our accounts.

Thank you,
Donna

On Tue, 8 Sep 2020, 17:52 Donna Marie, <donna@merchandeffect.com> wrote:
 Hi Angela,

 Any update on Mr. Sharath Kumar Hegde account statement?

 Can you please send it over?

 Thanks,
 Donna


                                  Donna Malicay

   M ·E                           General Manager
                                  M: +852 8197 3159
                                  www.merchandeffect.com




 On Mon, Sep 7, 2020 at 2:22 PM Donna Marie <donna@merchandeffect.com> wrote:
  Hi Angela,

  Thanks for the clarification.

  We'll look forward to your update soon.

  Regards,
  Donna


                                                           1
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                                      #:1952


  M -E
  MEACH & EFFECT
                        Donna Malicay



  creative merchandise solutions
                                       General Manager
                                       M: +852 8197 3159
                                       www.merchandeffect.com

                                       000<1

On Mon, Sep 7, 2020 at 1:16 PM Angela Fung <accounts@investmentsfirst.com> wrote:

Hi Donna.

Yes it was uneventful but nice thank you.

I have been informed the de-restriction refund has been halted until we satisfy the bank regulators
which is why we will be executing several trades over the next 2 weeks or so.

Yes correct, the AML funds are held in a bond and will be returned no later than the 25th September
but let me get more clarify on this and follow up for you.

Regards,

Angela Fung
Accounts & Settlements Team

+852 3002 4430

accounts@investmentsfirst.com

28 Hennessy Rd, Wan Chai, Hong Kong

www.investmentsfirst.com




                      First   Eas    ern
                      lnves tme ts Limited

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message has been intercepted or amended, please inform us immediately.




On 2020-09-07 12:50, Donna Marie wrote:

Hi Angela,

Trust you had a great weekend.

Thanks for sending through the statement but I would like to clarify with regards to the de restriction
fee we paid as per Scott's email confirmation last 29th July the amount should be refunded within 14
days. May I know when this can be done?


                                                                       2
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                                    #:1953
Another thing is the AML certification fee - as per Graham this amount was held in bond in an
escrow account and will be fully refunded to us also. Can you please confirm and advise when will it be
refunded?

Thank you,
Donna


                                       Donna Malicay
                                       General Manager
                                       M: +852 8197 3159



                                       ----
                                       www.merchandeffect.com




On Mon, Sep 7, 2020 at 11:18 AM Angela Fung <accounts@investmentsfirst.com> wrote:

Dear Mr. Hegde & Donna,

Please find attached the Ming Global Limited account statement from 06/08/2020 - 07/09/2020.

I hope this satisfies your investors. Once again we apologise profusely about the delay.

Please note, we still have not got confirmation from our compliance department to release the Sharath
Kumar Hegde account statement. We are hoping it will be today, I will forward it the moment we get
approval.

Regards,

Angela Fung
Accounts & Settlements Team

+852 3002 4430

accounts@investmentsfirst.com

28 Hennessy Rd, Wan Chai, Hong Kong

www.investmentsfirst.com




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    EXHIBIT 22
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                                          #:1955



From:                                       Scott Bailey <scott.bailey@investmentsfirst.com>
Sent:                                       Monday, September 14, 2020 11:27 PM
To:                                         Zach Hegde
Subject:                                    First Eastern Investments - Update


Dear Zach,

I apologise for terminating our call, I had an emergency call from my wife. I am awfully sorry but I do
have some disappointing news, it seems that my wife's immediate family have been diagnosed positive for
Covid-19 and we have both been in contact with them yesterday evening. Myself and my family will need
to proceed with a test immediately.

Hopefully this will simply be a unnecessary worry and the results will come back negative but for now, I
will need to self-isolate at home as I do not want to risk contaminating any of my colleagues.

I want to confirm that I will be initiating a further 4 trades tonight and a further 3 trades tomorrow, which
will be a total of 15 trades throughout the trading cycle. This will be sufficient enough for us to proceed
with the repatriation back to your Ming Global Ltd account. As agreed, once the first $15,000,000.00 has
successfully cleared, we will discuss the location of remaining balance.

I will be in contact tomorrow to confirm the final few trades so we are all on the same wave-length. Thank
you for understanding.

Yours,

Scott Bailey
Head of Private Accounts

+852 3002 4430

scott.bailey@investmentsfirst.com

28 Hennessy Rd, Wan Chai, Hong Kong

www.investmentsfirst.com



                        First   Eas er
                        Inv estments Limit d

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    EXHIBIT 23
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               I                                        l                                      I                                                                                l
                                                       First Eastern Investments Limited
                                                              Statement of Account
                                                             As Of 31st August 2020



  Date Paid        Transaction Reference Number               Reference Number                     Bank Account                                      Amount Paid
    03/06/2020 HK103060BI641587                             2020SH471225INV                           REDACTED                                l ($              19,967.50)
    16/06/2020 HK116060BI726233                             2020SH471232INV                           REDACTED                                 ($             200,195.55)
    17/06/2020 HK117060BI737540                             2020SH471235INV                           REDACTED                                 ($             475,000.00)
                                                                                                                                      7
    18/06/2020 HK118060BI744211                             2020SH471235INV                           REDACTED                                 ($             475,000.00)
    19/06/2020 HK119060BI757615                             2020SH471235INV                           REDACTED                                 ($             475,000.00)
    19/06/2020 HK119060BI753851                             2020SH471235INV                           REDACTED                                 ($             475,000.00)
    02/07/2020 HK102070BI845347                             2020SH471243INV                           REDACTED                                 ($             475,000.00)
    02/07/2020 HK102070BI845313                             2020SH471243INV                           REDACTED                                 ($             475,000.00)
    06/07/2020 HK106070BI1418186                            2020SH471243INV                           REDACTED                                 ($             475,000.00)
    09/07/2020 HK109070BI444328                             2020SH471243INV                           REDACTED                                 ($             475,000.00)
                                                                                                                                      7
    10/07/2020 HK110070BI452840                             2020SH471243INV                           REDACTED                                 ($             475,000.00)
    13/07/2020 HK113070BI465871                             2020SH471243INV                           REDACTED                                 ($             475,000.00)
    13/07/2020 HK113070BI465963                             2020SH471243INV                           REDACTED                                 ($             475,000.00)
                                                                                                                                          I
    14/07/2020 HK114070BI474028                             2020SH471243INV                           REDACTED                                 ($             475,000.00)
    14/07/2020 HK114070BI474066                             2020SH471243INV                           REDACTED                                 ($             475,000.00)
    15/07/2020 HK115070BI486873                             2020SH471243INV                           REDACTED                                 ($             475,000.00)
    15/07/2020 HK115070BI486914                             2020SH471243INV                           REDACTED                                 ($             475,000.00)
                                                                                                                                      7
    16/07/2020 HK116070BI493292                             2020SH471243INV                           REDACTED                                 ($             475,000.00)
    17/07/2020 HK117070BI505487                             2020SH471248INV                           REDACTED                                 ($             475,000.00)
    18/07/2020 HK117070BI505574                             2020SH471248INV                           REDACTED                                 ($             475,000.00)
    18/07/2020 N71795270547                                 2020SH471248INV                           REDACTED                                 ($             475,000.00)
    18/07/2020 N71795273201                                 2020SH471248INV                           REDACTED                                 ($             475,000.00)
    20/07/2020 N71895919702                                 2020SH471248INV                           REDACTED                                 ($             475,000.00)
    20/07/2020 N71895921380                                 2020SH471248INV                           REDACTED                                 ($             475,000.00)
    21/07/2020 N71895927737                                 2020SH471243INV                           REDACTED                                 ($             242,945.30)
    21/07/2020 N71895925528                                 2020SH471248INV                           REDACTED                                 ($             475,000.00)
    29/07/2020 HK129070BI587347                             2020SH471253INV                           REDACTED                                 ($             475,000.00)
                                                                                                                                          I
    29/07/2020 HK129070BI587408                             2020SH471253INV                           REDACTED                                 ($             323,000.00)
    05/08/2020 HK105080BI642267                             2020MGL345589INV                          REDACTED                                 ($             250,000.00)
    11/08/2020 HK111080BI677255                             2020MGL345589INV                          REDACTED                                 ($             250,000.00)
    17/08/2020 HK117080BI721348                             2020MGL345589INV                          REDACTED                                 ($             643,073.41)
                                                             TOTAL AMOUNT PAID                                                                 ($       13,329,181.76)




Prepared By:                                                                                    Noted By:


Jacky Lou Palarca                                                                               Donna Malicay
Accounts Department                                                                             General Manager
Ming Global Limited                                                                             Ming Global Limited
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Make Payments / autoPay                                                                      ID 11)07 AM
                                                                                        03/06/2020,
                                                 #:1958




       HSBC m
       7 A              H
           HM       NDIH     A     H    HO                                                                   F B    CD N HMA             A   H
                                                                                                           HO
       8
                                                                                                           25           ,3



               S NI
       , H AD D S            H FI      NDIH                                                                , H AD D S        IOHN HO             1,
         83        .                                                                                         REDACTED

           S       HN O      H S                                                                           , H AD D S H
           .                                                                                               798       2 296.381 38

       , H AD D S            H H                                                                           , H AD D S             MM
               , 85 8                                                                                         73       6
                                                                                                            63 9    3 49
       , H AD D S            H          MM
               83 966            7 667388               963 78
                7388             963 7388           9

       , H AD D S H                I     8     1/        MM
        REDACTED



       /I
          . BUJNHR
         REDACTED                      ,OMDH MM 1HN B N       :8. 8 PDHBM



                IOHN
           S       HN       IOHN

       :8.

       5NC A M H C B M        S    FS /I    N DFM F M A NI NC , H M -I                               D F      DAA M NDIH P DF F IH NC 08,-
       0IHB IHB -I      D F , H DHB     MDN F M BI NI   HM NDIH 0DMNI S OH                                  IOHNM IH I AN NC      S HN
       . N NI C    NC N HM NDIH N DFM



       8 NNF                 HN I NDIH
         FLFH BPIJD S BNRGF



               S        HN         N
         OEBV           FENFREBV              4TN
            HM NDIH KO MN MO DNN DNCDH OMDH MM CIO M                        DFF   I   MM   IH NC M          S 5NC       DM   DN    DFF
           I MM IH NC H RN I DHB S

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Make Payments / autoPay                                                                    ID 11)07 AM
                                                                                      03/06/2020,
                                               #:1959
         I    MM   IH NC H RN    I DHB   S



             CI     SM FI        F IP M      M C B M                                   .     O N C B MAI
          F PBV LODBL CBNK DIB HFR SIF CFNFGJDJB V PBVR OUF RFBR CBNK DIB HFR           BMF BR EFCJS BDDOTNS



       3 MM B M
       3 MM B NI      H AD D S
       0 97 7381 169, 6            A7 8 09           2
            38




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Make Payments / autoPay                                                                     ID 9)12 AM
                                                                                        16/06/2020,
                                                 #:1960




       HSBC m
       7 A              H
           HM       NDIH     A     H    HO                                                               F B    CD N HMA                 A   H
                                                                                                       HO
       9
                                                                                                       36                4



               S NI
       , H AD D S            H FI      NDIH                                                            , H AD D S            IOHN HO             1,
         94 0               , 0                                                                         REDACTED

           S       HN O      H S                                                                       , H AD D S H
                                                                                                       8 9, .3 3 7 492 49.

       , H AD D S            H H                                                                       , H AD D S                 MM
                   ,96 9 ,                                                                                84    ,7
                                                                                                       ,74   @405 .,
       , H AD D S            H          MM                                                               ,

               94. 770 8,7784990,                   74 89
                84990, 74 84990                     ,

       , H AD D S H                I     8    1/     MM
         REDACTED




       /I
                   CVKOIS
           REDACTED                    ,OMDH MM 1HN B N   :8. 8 PDHBM



                IOHN
           S       HN       IOHN

       :8.                   '
       5NC A M H C B M        S    FS /I    N DFM F M A NI NC , H M -I                           D F      DAA M NDIH P DF F IH NC 08,-
       0IHB IHB -I      D F , H DHB     MDN F M BI NI   HM NDIH 0DMNI S OH                              IOHNM IH I AN NC      S HN
       . N NI C    NC N HM NDIH N DFM



       8 NNF                 HN I NDIH
         GMGIRC JKE TRCOSHGR



               S        HN         N
         PFCW           UGSFCW         5UO
            HM NDIH KO MN MO DNN DNCDH OMDH MM CIO M                    DFF   I   MM   IH NC M          S 5NC       DM       DN    DFF
           I MM IH NC H RN I DHB S

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Make Payments / autoPay                                                                     ID 9)12 AM
                                                                                        16/06/2020,
                                                 #:1961
           I    MM    IH NC H RN      I DHB   S



               CI      SM FI          F IP M      M C B M                              .      O N C B MAI
       AG CW MPECM DCOL EJCRIGS TJG DGOGHKEKCRW CWS PVGRSGCS DCOL EJCRIGS               CNG CS FGDKT CEEPUOT



       3 MM B M
       3 MM B NI           H AD D S
       1       8 8492 27         ,7 ,B809 1            3
                  49@



                 PD
       . A 9/          A     A    2 / 9/             /0 B 0    1/    / 2           / 2 0A        /            5   9
          A /B             A 2    0    1/          1 /5               9/       0 2 0 2    9     /11 A    A    1 2
       /0 B ,         A      , 5 / 2 11 A              1 2    1 /5         0 2 0 2   9 A           /B 5 /11 A   . A
       1/     A        / 9/D 9A9     A 9/

           FPOOC      NGREJCOFGHHGET EPN




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Make Payments / autoPay                                                                   ID 11)52 AM
                                                                                     17/06/2020,
                                              #:1962




       HSBC m
           CDCOCKAC
        O KP A      K OCDCOCKAC KR          CO                                          CIC O MF A O KPDCO OCDCOCKAC
                                                                                       KR CO
       9
                                                                                       36             4



       8 V
       .CKCD A OV      KH I A       K                                                  .CKCD A OV AA RK KR         CO 3.-
         94 0        , 0                                                                    REDACTED

       8 V CK AROOCKAV                                                                 .CKCD A OV K       C
                                                                                       8 9, .3 3 7 492 49.

       .CKCD A OV      KH K     C                                                      .CKCD A OV BBOCPP
               ,96 9 ,                                                                    84    ,7
                                                                                       ,74   @405 .,
       .CKCD A OV      KH BBOCPP                                                         ,

              94. 770 8,7784990,                    74 89
               84990, 74 84990                      ,

       .CKCD A OV      KH A BC :         31      BBOCPP
            REDACTED



       1O
                CVKOIS
         REDACTED               .RP KCPP 3K C O CB        :0 : S K P



       -        RK
       8 V CK          RK

         :0     '
       7 FCO DCCP KB AF O CP    V MMIV 1 O BC IP MIC PC OCDCO , FC . KH P /  COA I O DD PCA K S I IC K FC 2:./
       2 K 4 K /        COA I . KH K TC P C 8IC PC        O KP A K 2 P OV RKBCO -AA RK P K O D CO FC 8 V CK
       0 C     AFCAH FC O KP A K BC IP



       :C IC CK               M         K
         GMGIRC JKE TRCOSHGR



       8 V CK B C
         PFCW AGFOGSFCW                 5UO
        O KP A K OCNRCP PR    CB T F K RP KCPP F ROP T II C MO ACPPCB K FC P        C B V 7 FCOT PC       T II C
       MO ACPPCB K FC KCU T OH K B V

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Make Payments / autoPay                                                                   ID 11)52 AM
                                                                                     17/06/2020,
                                              #:1963
       MO ACPPCB K FC KCU T OH K B V



           F M VP I A I                SCOPC P AF O CP                                    0CBRA AF O CP DO
       AG CW MPECM DCOL EJCRIGS TJG DGOGHKEKCRW CWS PVGRSGCS DCOL EJCRIGS                  CNG CS FGDKT CEEPUOT



       5CPP        CP
       5CPP    C      CKCD A OV
       1    8 8492 27              ,7 ,B809 1          3
              49@



       C -BS AC
       . A /          A        A     /7    /         /0 B 0   4717/   /              /    0A 7     /         74 7 5
          A /B            4A      4717/0           1 /5 4                  /7 7 0    07    4      /11 A     A     1747
       /0 B ,4     A 7   , 5/     11 A           7     1      1 /5        7 0   07   4       A       /B7 5 /11 A     . A
       1/     A     / /D7 A  44 A     /7

           FPOOC   NGREJCOFGHHGET EPN


           CEEPUOTS       KOVGSTNGOTSHKRST EPN
            :2        ' 3




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Make Payments / autoPay                                                                    ID 9*08 AM
                                                                                       18/06/2020,
                                                #:1964




       HSBC m
             A         H
       8 HM        NDIH         A       H    HO                                                  8 F B        D N HMA         A   H
                                                                                                 HO
                                                                                                 47               .5



       5 S NI
       , H AD D S               HE FI       NDIH                                                 , H AD D S            IOHN HO        1, 3
       @ 5 10                       1                                                                REDACTED

       5 S        HN O          H S                                                              , H AD D S H
       @ 0                                                                                       9       = 4 4 805 3 5

       , H AD D S               HE H                                                             , H AD D S              MM
       .      7        2    91=5                                                                    95 = 8
                                                                                                  85  A516
       , H AD D S               HE           MM                                                  @

          .=  0B D 1B D =7                                D            @     1B
       D =7 1B D =7

       , H AD D S               HE I          7    1/8        MM
             REDACTED



       /I
       1@= EXM KU
           REDACTED                         ,OMDH MM 1HN B N       .       7 PDHBM



       /K S R
       -     DN        IOHN                                                                      5 S     HN       IOHN

       .          ('( ) , (                                                                       7- (        )
       .R         HB        N

       1@=                  @ 0                                                      TD   '' '

           RD J    R S C RDC R. , 7S ' '                 . ,. ( 58

       9R DP EDD C B PFD K        J 4 P CDR HJ JD D PDEDP R .R D 0 I 1 KKDPBH J PHEE DBRH                                 T HJ AJD    R D
       5 01 5 F 8 F 1 KKDPBH J 0 IH F UDA HRD :JD D F R        P   BRH 5H R P S CDP /BB S R                                    P ERDP R D
       : KD R 2 RD R B DBI R D RP   BRH CDR HJ



       7 NNF                    HN I NDIH
           IOIKTESLMG VTE UJIT



       5 S                 HN           N
https://www.online-banking.business.hsbc.com.hk/portalserver/gbbportal/en-us/payments/local-payment#/acknowledgement                         Page 1 of 2
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Make Payments / autoPay                                                               ID 9*08 AM
                                                                                  18/06/2020,
                                           #:1965
       5 S HN N
         RHEY    LWTUHEY     6W
       8 HM NDIH O MN MO DNN  DN DH OMDH MM IO M           DFF    I   MM   IH N   M     S 4N         DM   DN   DFF
        I MM IH N H RN I EDHB S



             I       SM FI       F IP M     M        B M                               -       O N             B MAI
       BI SEY ORGEO FE N GLETKIU VLI FI IJMGMETY SEYU RXITUIEU FE N GLETKIU             EPI EU HIFMV EGGRW V



       2 MM B M
       2 MM B NI      H AD D S
       2= 9 95 3 38 . 8            D91    2 =        4
             5 A



                PD
         S K PDOSD R S R D C       DK HJ R R D A TD AD DEHBH P C P R DP PDJ RDC AS H D   PR DP                       RHE H F R DK
         S TD D R ES C R R D AD DEHBH P / B PFD E 582 DP DK HJ UHJJ AD CDAHRDC EP K R D BB S R                       S DBHEHDC
        A TD 6E 0S H D 6 RDFP RDC /BB S R H DJDBRDC R D B PFD UHJJ AD CDAHRDC EP K SP 582 TH F                       BB S R     S
       B PDOSD R K HKSK E E SP DK HJ

          HR     E,PITGLE HIJJIGV GRP
            70         13

          EGGRW VU,M XIUVPI VUJMTUV GRP
            70         13




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Make Payments / autoPay                                                                    ID 3*02 PM
                                                                                       19/06/2020,
                                                #:1966




       HSBC m
           DEDPDLBD
        P L       BRHML PDEDPDLBD LS ADP                                                D DFP NGHB RP L EDP PDEDPDLBD
                                                                                       LS ADP
                                                                                       47            .5



       8 W RM
       ,DLDEHBH PW A LI MB RHML                                                        ,DLDEHBH PW BBMSLR LS ADP 3,
       @ 5 10              1                                                               REDACTED

       8 W DLR BSPPDLBW                                                                ,DLDEHBH PW L      D
       @ 0                                                                             9        = 4 4 805 3 5

       ,DLDEHBH PW A LI L       D                                                      ,DLDEHBH PW CCPD
       .      7     2   91=5                                                              95 = 8
                                                                                        85  A516
       ,DLDEHBH PW A LI CCPD                                                           @

          .=  0B D 1B D =7                      D          @   1B
       D =7 1B D =7

       ,DLDEHBH PW A LI BMCD          30    CCPD
            REDACTED



       0PM
       1@= EXM KU
           REDACTED            ,S HLD      3LRDFP RDC /        THLF



       .J RK
       .DAHR        MSLR                                                               8 W DLR       MSLR

       /      (')               )                                                          .(    )
       /VBG LFD P RD

       1@=              @ 0                                             SC 2 : ''' (

       : C I P R B CB          , 6RK ' '    )       ) 47

         FCO DCCP KB AF OECP J      I   O BC IP IC PC OCDCO           FC / KH P 0 JJCOA I O DD PCA K S I IC K FC
       4 /0 4 KE 7 KE 0 JJCOA I / KH KE TC P C 9IC PC E                O KP A K 4 P O RKBCO .AA RK P K O D CO FC
       9 JCK 1 C        AFCAH FC O KP A K BC IP



           DRR D DLR MNRHML
           IOIKTESLMG VTE UJIT



       8 W DLR C RD
https://www.online-banking.business.hsbc.com.hk/portalserver/gbbportal/en-us/payments/local-payment#/acknowledgement    Page 1 of 2
         Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 83 of 212 Page
Make Payments / autoPay                                                               ID 3*02 PM
                                                                                  19/06/2020,
                                           #:1967
       8 W DLR C RD
           RHEY 2TMHEY          6W
        P L BRHML PDOSD R SA HRRDC UHRGHL AS HLD        GMSP UH AD NPMBD DC ML RGD   D C W 7RGDPUH D HR UH AD
       NPMBD DC ML RGD LDVR UMPIHLF C W



            GM N W MB                    MTDP D      BG PFD                            .DCSBR BG PFD EPM
       BI SEY ORGEO FE N GLETKIU VLI FI IJMGMETY SEYU RXITUIEU FE N GLETKIU             EPI EU HIFMV EGGRW V



       5D           FD
       5D        FD RM ADLDEHBH PW
       2= 9 95 3 38 . 8   D91                       9   = 4
       4 805 3 2 =      4                     5 A



       D         CTHBD
         R J OC RCP RP       PCKB K CJ I   FC     SC CKCD A O KB O FCO OCI CB RP KCPP O KCOP K D KE FCJ
         R F SC PCK DRKBP     FC CKCD A O . AF OEC D 471 CO CJ I T II C BC CB DO J FC AA RK     R P CA D CB
          SC 5D /RP KCPP 5K CEO CB .AA RK P PCICA CB FC AF OEC T II C BC CB DO J RO 471 P S KEP AA RK      R
       A K OC RCP J U JRJ D D RO CJ IP

            EGGRW VU,M XIUVPI VUJMTUV GRP
       8     5/          7 57        -2 274.3 1 07        2       3

       /     H    CCPD    EMP PDRSPL D    H

       HR        E,PITGLE HIJJIGV GRP
       8     5/          7 57        -2 274.3 1 07        2       3




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Make Payments / autoPay                                                                     ID 10)12 AM
                                                                                       19/06/2020,
                                                #:1968




       HSBC m
           DEDPDLBD
        P L       BRHML PDEDPDLBD LS ADP                                                D DFP NGHB RP L EDP PDEDPDLBD
                                                                                       LS ADP
                                                                                       47            .5



       8 W RM
       ,DLDEHBH PW A LI MB RHML                                                        ,DLDEHBH PW BBMSLR LS ADP 3,
       @ 5 10                  1                                                           REDACTED

       8 W DLR BSPPDLBW                                                                ,DLDEHBH PW L      D
       @ 0                                                                             9        = 4 4 805 3 5

       ,DLDEHBH PW A LI L            D                                                 ,DLDEHBH PW CCPD
       @          .      7                                                                95 = 8
                                                                                        85  A516
       ,DLDEHBH PW A LI CCPD                                                           @

              5 881 9 8895                     1      85 9
            @ 95  1  85 95                     1

       ,DLDEHBH PW A LI BMCD              30       CCPD
        REDACTED



       0PM
       1@= DWLPJT
           REDACTED                  ,S HLD    3LRDFP RDC /    THLF



       /K S R
       .DAHR            MSLR                                                           8 W DLR       MSLR

       /          ('           ( )                                                         .(    )
       /VBG LFD P RD

       1@=                   @ 0                                       TD    ''' ,

           RD J       R S C RDC R.   7S ' '        . '. , 58

       9R DP EDD C B PFD K        J 4 P CDR HJ JD D PDEDP R .R D 0 I 1 KKDPBH J PHEE DBRH                     T HJ AJD    R D
       5 01 5 F 8 F 1 KKDPBH J 0 IH F UDA HRD :JD D F R        P   BRH 5H R P S CDP /BB S R                        P ERDP R D
       : KD R 2 RD R B DBI R D RP   BRH CDR HJ



           DRR D DLR MNRHML
           HNHJSDRKLF USDPTIHS



       8 W DLR C RD
https://www.online-banking.business.hsbc.com.hk/portalserver/gbbportal/en-us/payments/local-payment#/acknowledgement            Page 1 of 2
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Make Payments / autoPay                                                                ID 10)12 AM
                                                                                  19/06/2020,
                                           #:1969
       8 W DLR C RD
           GD    2SLGD      6VP
        P L BRHML PDOSD R SA HRRDC UHRGHL AS HLD   GMSP UH AD NPMBD DC ML RGD       D C W 7RGDPUH D HR UH AD
       NPMBD DC ML RGD LDVR UMPIHLF C W



            GM N W MB               MTDP D      BG PFD                                 .DCSBR BG PFD EPM
       BH RD N FDN EDPM FKDSJHT UKH EHPHILFLDS RD T WHSTHDT EDPM FKDSJHT                DOH DT GHELU DFF VPU



       5D          FD
       5D       FD RM ADLDEHBH PW
       2= 9 95 3 38 . 8   C91                  9    = 4
       4 805 3 2 =      4                5 A



       D     CTHBD
         S K PDOSD R S R D C       DK HJ R R D A TD AD DEHBH P C P R DP PDJ RDC AS H D   PR DP             RHE H F R DK
         S TD D R ES C R R D AD DEHBH P / B PFD E 582 DP DK HJ UHJJ AD CDAHRDC EP K R D BB S R             S DBHEHDC
        A TD 6E 0S H D 6 RDFP RDC /BB S R H DJDBRDC R D B PFD UHJJ AD CDAHRDC EP K SP 582 TH F             BB S R     S
       B PDOSD R K HKSK E E SP DK HJ

           DFF VPUT,LPWHTUOHPUTILSTU F O
       8    5/       7 57       -2 274.3 1 07         2        3

           G PPD,OHSFKDPGHIIHFU F O
       8    5/       7 57       -2 274.3 1 07         2        3




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Make Payments / autoPay                                                                    ID 2'19 PM
                                                                                       02/07/2020,
                                                #:1970




       HSBC m
           DEDPDLBD
        P L       BRHML PDEDPDLBD LS ADP                                                D DFP NGHB RP L EDP PDEDPDLBD
                                                                                       LS ADP
                                                                                       47         .5



       8 W RM
       ,DLDEHBH PW A LI MB RHML                                                        ,DLDEHBH PW BBMSLR LS ADP 3,
       @ 5 10              1                                                             REDACTED

       8 W DLR BSPPDLBW                                                                ,DLDEHBH PW L   D
       @ 0                                                                             9      = 4 4 805 3 5

       ,DLDEHBH PW A LI L        D                                                     ,DLDEHBH PW CCPD
       .      7     2   91=5                                                              95 = 8
                                                                                        85  A516
       ,DLDEHBH PW A LI CCPD                                                           @

          .=  0B D 1B D =7                      D         @   1B
       D =7 1B D =7

       ,DLDEHBH PW A LI BMCD          30    CCPD
            REDACTED



       0PM
       1@= EXM KU
                                ,S HLD     3LRDFP RDC /       THLF



       /K S R
       .DAHR        MSLR                                                               8 W DLR     MSLR

       /          )'(           ,                                                          . ),

       /VBG LFD P RD

       1@=              @ 0                                            TD 3   '' )'

           RD J   R S C RDC R. ' 7SJ ' '   ).   .   5

       9R DP EDD C B PFD K        J 4 P CDR HJ  JD D PDEDP R .R D 0 I 1 KKDPBH J PHEE DBRH                 T HJ AJD    R D
       5 01 5 F     F 1 KKDPBH J 0 IH F UDA HRD :JD D F R       P   BRH 5H R P S CDP /BB S R                    P ERDP R D
       : KD R 2 RD R B DBI R D RP   BRH CDR HJ



           DRR D DLR MNRHML
           IOIKTESLMG VTE UJIT



       8 W DLR C RD
https://www.online-banking.business.hsbc.com.hk/portalserver/gbbportal/en-us/payments/local-payment#/acknowledgement         Page 1 of 2
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Make Payments / autoPay                                                               ID 2'19 PM
                                                                                  02/07/2020,
                                           #:1971
       8 W DLR C RD
         RHEY     LWTUHEY       6WO
        P L BRHML PDOSD R SA HRRDC UHRGHL AS HLD       GMSP UH AD NPMBD DC ML RGD       D C W 7RGDPUH D HR UH AD
       NPMBD DC ML RGD LDVR UMPIHLF C W



            GM N W MB                 MTDP D        BG PFD                                .DCSBR BG PFD EPM
       BI SEY ORGEO FE N GLETKIU VLI FI IJMGMETY SEYU RXITUIEU FE N GLETKIU                EPI EU HIFMV EGGRW V



       5D          FD
       5D       FD RM ADLDEHBH PW
       2= 9 95 3 38 . 8               D91       9 =      =
       4 4 805 3 2 = 5 A                 4       5 A



       D     CTHBD
         S K PDOSD R S R D C       DK HJ R R D A TD AD DEHBH P C P R DP PDJ RDC AS H D   PR DP               RHE H F R DK
         S TD D R ES C R R D AD DEHBH P / B PFD E 5 2 DP DK HJ UHJJ AD CDAHRDC EP K R D BB S R               S DBHEHDC
        A TD 6E 0S H D 6 RDFP RDC /BB S R H DJDBRDC R D B PFD UHJJ AD CDAHRDC EP K SP 5 2 TH F               BB S R     S
       B PDOSD R K HKSK E E SP DK HJ

           EGGRW VU,M XIUVPI VUJMTUV GRP
       0 75 53 1 147, 4 8             5/     7 57      -2 274.3 1 07 3              2       3

           HR    E,PITGLE HIJJIGV GRP
       0 75 53 1 147, 4 8             5/     7 57      -2 274.3 1 07 3              2       3




https://www.online-banking.business.hsbc.com.hk/portalserver/gbbportal/en-us/payments/local-payment#/acknowledgement        Page 2 of 2
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Make Payments / autoPay                                                                    ID
                                                                                       02/07/2020, 2'17 PM
                                                #:1972




       HSBC m
           DEDPDLBD
        P L    BRHML PDEDPDLBD LS ADP                                                   D DFP NGHB RP L EDP PDEDPDLBD
                                                                                       LS ADP
                                                                                       47         .5



       8 W RM
       ,DLDEHBH PW A LI MB RHML                                                        ,DLDEHBH PW BBMSLR LS ADP 3,
       @ 5 10             1                                                                REDACTED

       8 W DLR BSPPDLBW                                                                ,DLDEHBH PW L   D
       @ 0                                                                             9      = 4 4 805 3 5

       ,DLDEHBH PW A LI L      D                                                       ,DLDEHBH PW CCPD
       @       .    7                                                                     95 = 8
                                                                                        85  A516
       ,DLDEHBH PW A LI CCPD                                                           @

              5 881 9 8895                1      85 9
            @ 95  1  85 95                1

       ,DLDEHBH PW A LI BMCD         30       CCPD
           REDACTED



       0PM
       1@= DWLPJT
           REDACTED           ,S HLD      3LRDFP RDC /    THLF



       .J RK
       .DAHR       MSLR                                                                8 W DLR     MSLR

       /      )'( ',                                                                       . ),

       /VBG LFD P RD

       1@=              @ 0                                            SC 2 : '' ()

       : C I P R B CB         ' 6RI ' '   ) ,'       47

         FCO DCCP KB AF OECP J      I 3 O BC IP IC PC OCDCO         FC / KH P 0 JJCOA I O DD PCA K S I IC K FC
       4 /0 4 KE 7 KE 0 JJCOA I / KH KE TC P C IC PC E               O KP A K 4 P O RKBCO .AA RK P K O D CO FC
           JCK 1 C      AFCAH FC O KP A K BC IP



           DRR D DLR MNRHML
           HNHJSDRKLF USDPTIHS



       8 W DLR C RD
https://www.online-banking.business.hsbc.com.hk/portalserver/gbbportal/en-us/payments/local-payment#/acknowledgement    Page 1 of 2
         Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 89 of 212 Page
Make Payments / autoPay                                                               ID
                                                                                  02/07/2020, 2'17 PM
                                           #:1973
       8 W DLR C RD
           GD     KVSTGD        6VN
        P L BRHML PDOSD R SA HRRDC UHRGHL AS HLD       GMSP UH AD NPMBD DC ML RGD       D C W 7RGDPUH D HR UH AD
       NPMBD DC ML RGD LDVR UMPIHLF C W



            GM N W MB                 MTDP D        BG PFD                                .DCSBR BG PFD EPM
       BH RD N FDN EDPM FKDSJHT UKH EHPHILFLDS RD T WHSTHDT EDPM FKDSJHT                   DOH DT GHELU DFF VPU



       5D          FD
       5D       FD RM ADLDEHBH PW
       2= 9 95 3 38 . 8               C91       9 =      =
       4 4 805 3 2 = 5 A                 4       5 A



       D     CTHBD
         R J OC RCP RP       PCKB K CJ I   FC     SC CKCD A O KB O FCO OCI CB RP KCPP O KCOP K D KE FCJ
         R F SC PCK DRKBP     FC CKCD A O . AF OEC D 471 CO CJ I T II C BC CB DO J FC AA RK     R P CA D CB
          SC 5D /RP KCPP 5K CEO CB .AA RK P PCICA CB FC AF OEC T II C BC CB DO J RO 471 P S KEP AA RK      R
       A K OC RCP J U JRJ D D RO CJ IP

           DFF VPUT,LPWHTUOHPUTILSTU F O
       0 75 53 1 147, 4 8             5/     7 57      -2 274.3 1 07 3              2       3

           G PPD,OHSFKDPGHIIHFU F O
       0 75 53 1 147, 4 8             5/     7 57      -2 274.3 1 07 3              2       3




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              Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 90 of 212 Page
Make Payments / autoPay                                                                    ID 2(42 PM
                                                                                       06/07/2020,
                                                #:1974




       HSBC m
           DEDPDLBD
        P L    BRHML PDEDPDLBD LS ADP                                                   D DFP NGHB RP L EDP PDEDPDLBD
                                                                                       LS ADP
                                                                                       47         .5



       8 W RM
       ,DLDEHBH PW A LI MB RHML                                                        ,DLDEHBH PW BBMSLR LS ADP 3,
       @ 5 10              1                                                             REDACTED

       8 W DLR BSPPDLBW                                                                ,DLDEHBH PW L   D
       @ 0                                                                             9      = 4 4 805 3 5

       ,DLDEHBH PW A LI L       D                                                      ,DLDEHBH PW CCPD
       @       .     7                                                                    95 = 8
                                                                                        85  A516
       ,DLDEHBH PW A LI CCPD                                                           @

              5 881 9 8895                1      85 9
            @ 95  1  85 95                1

       ,DLDEHBH PW A LI BMCD         30       CCPD
            REDACTED



       0PM
       1@= DWLPJT
           REDACTED             ,S HLD    3LRDFP RDC /    THLF



       0           T S
       .DAHR        MSLR                                                               8 W DLR     MSLR

       /      )'' ,                                                                        . ),

       /VBG LFD P RD

       1@=               @ 0                                          AUE 4   ' .(

         ASE KARS TODASED AS/   8TK ' '   )/) /)     69

       :SHE FEER A D CHA ER A AOOK 5 DESAIKR OKEARE EFE S /SHE 1A J R 2   E CIAK A IFF RECSI AUAIKABKE   SHE
       6 12 6     9     2   E CIAK 1A JI  EBRISE KEARE  S    A RACSI 6IRS    T DE 0CC T SR          AFSE SHE
        A E S 3ASE S CHECJ SHE S A RACSI DESAIKR



           DRR D DLR MNRHML
           HNHJSDRKLF USDPTIHS



       8 W DLR C RD
https://www.online-banking.business.hsbc.com.hk/portalserver/gbbportal/en-us/payments/local-payment#/acknowledgement    Page 1 of 2
         Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 91 of 212 Page
Make Payments / autoPay                                                               ID 2(42 PM
                                                                                  06/07/2020,
                                           #:1975
       8 W DLR C RD
           GD    9 PGD         6VN
        P L BRHML PDOSD R SA HRRDC UHRGHL AS HLD       GMSP UH AD NPMBD DC ML RGD   D C W 7RGDPUH D HR UH AD
       NPMBD DC ML RGD LDVR UMPIHLF C W



            GM N W MB                MTDP D      BG PFD                                 .DCSBR BG PFD EPM
       BH RD N FDN EDPM FKDSJHT UKH EHPHILFLDS RD T WHSTHDT EDPM FKDSJHT                DOH DT GHELU DFF VPU



       5D          FD
       5D       FD RM ADLDEHBH PW
       2= 9 95 3 38 . 8    C91                9         = 4
       4 805 3 2 = 5 A =12     4                   5
        A



       D     CTHBD
         T A EPTERS TR S RE D A E AIK S SHE AB UE BE EFICIA A D         SHE EKASED BTRI ERR OA S E R SIF I SHE
         T HAUE RE S FT DR S SHE BE EFICIA 0 CHA E F 693 OE E AIK IKK BE DEBISED F      SHE ACC T S T ROECIFIED
       AB UE 7F 1TRI ERR 7 SE ASED 0CC T S IR REKECSED SHE CHA E IKK BE DEBISED F     T 693 RAUI R ACC T S     T
       CA EPTERS A A I T        F F T E AIKR

           DFF VPUT,LPWHTUOHPUTILSTU F O
       0 75 53 1 147, 4 8            5/   7 57         -2 274.3 1 07 3      /0      2       3

           G PPD,OHSFKDPGHIIHFU F O
       0 75 53 1 147, 4 8            5/   7 57         -2 274.3 1 07 3      /0      2       3




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              Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 92 of 212 Page
Make Payments / autoPay                                                                    ID 10)47 AM
                                                                                      09/07/2020,
                                                #:1976




       HSBC m
           DEDPDLBD
        P L       BRHML PDEDPDLBD LS ADP                                                D DFP NGHB RP L EDP PDEDPDLBD
                                                                                       LS ADP
                                                                                       47            .5



       8 W RM
       ,DLDEHBH PW A LI MB RHML                                                        ,DLDEHBH PW BBMSLR LS ADP 3,
       @ 5 10              1                                                                REDACTED

       8 W DLR BSPPDLBW                                                                ,DLDEHBH PW L      D
       @ 0                                                                             9        = 4 4 805 3 5

       ,DLDEHBH PW A LI L       D                                                      ,DLDEHBH PW CCPD
       .      7     2   91=5                                                              95 = 8
                                                                                        85  A516
       ,DLDEHBH PW A LI CCPD                                                           @

          .=  0B D 1B D =7                    D           @   1B
       D =7 1B D =7

       ,DLDEHBH PW A LI BMCD         30     CCPD
       REDACTED




       0PM
       1@= EXM KU
        REDACTED               ,S HLD      3LRDFP RDC /       THLF



       .J RK
       .DAHR        MSLR                                                               8 W DLR       MSLR

       /      ('               ,'                                                          .(    )
       /VBG LFD P RD

       1@=              @ 0                                            SC 2 : '   (

       : C I P R B CB          , RI ' '      () )   47

       8 FCO DCCP KB AF OECP J      I   O BC IP IC PC OCDCO          FC / KH P 0 JJCOA I O DD PCA K S I IC K FC
       4 /0 4 KE 7 KE 0 JJCOA I / KH KE TC P C 9IC PC E               O KP A K 4 P O RKBCO .AA RK P K O D CO FC
       9 JCK 1 C        AFCAH FC O KP A K BC IP



           DRR D DLR MNRHML
           IOIKTESLMG VTE UJIT



       8 W DLR C RD
https://www.online-banking.business.hsbc.com.hk/portalserver/gbbportal/en-us/payments/local-payment#/acknowledgement    Page 1 of 2
         Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 93 of 212 Page
Make Payments / autoPay                                                               ID 10)47 AM
                                                                                 09/07/2020,
                                           #:1977
       8 W DLR C RD
         RHEY     LWTUHEY       6WO
        P L BRHML PDOSD R SA HRRDC UHRGHL AS HLD       GMSP UH AD NPMBD DC ML RGD   D C W 7RGDPUH D HR UH AD
       NPMBD DC ML RGD LDVR UMPIHLF C W



            GM N W MB                 MTDP D      BG PFD                                .DCSBR BG PFD EPM
       BI SEY ORGEO FE N GLETKIU VLI FI IJMGMETY SEYU RXITUIEU FE N GLETKIU             EPI EU HIFMV EGGRW V



       5D          FD
       5D       FD RM ADLDEHBH PW
       2= 9 95 3 38 . 8    D91                 9        = 4
       4 805 3 2 = 5 A =12     4                   5
        A



       D     CTHBD
         R J OC RCP RP       PCKB K CJ I   FC     SC CKCD A O KB O FCO OCI CB RP KCPP O KCOP K D KE FCJ
         R F SC PCK DRKBP     FC CKCD A O . AF OEC D 471 CO CJ I T II C BC CB DO J FC AA RK     R P CA D CB
          SC 5D /RP KCPP 5K CEO CB .AA RK P PCICA CB FC AF OEC T II C BC CB DO J RO 471 P S KEP AA RK      R
       A K OC RCP J U JRJ D D RO CJ IP

           EGGRW VU,M XIUVPI VUJMTUV GRP
       0 75 53 1 147, 4 8             5/   7 57        -2 274.3 1 07 3      /0      2       3

           HR    E,PITGLE HIJJIGV GRP
       0 75 53 1 147, 4 8             5/   7 57        -2 274.3 1 07 3      /0      2       3




https://www.online-banking.business.hsbc.com.hk/portalserver/gbbportal/en-us/payments/local-payment#/acknowledgement   Page 2 of 2
              Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 94 of 212 Page
Make Payments / autoPay                                                                    ID 9)06 AM
                                                                                       10/07/2020,
                                                #:1978




       HSBC m
           DEDPDLBD
        P L       BRHML PDEDPDLBD LS ADP                                                 D DFP NGHB RP L EDP PDEDPDLBD
                                                                                        LS ADP
                                                                                        47         .5



       8 W RM
       ,DLDEHBH PW A LI MB RHML                                                         ,DLDEHBH PW BBMSLR LS ADP 3,
       @ 5 10                  1                                                        REDACTED

       8 W DLR BSPPDLBW                                                                 ,DLDEHBH PW L   D
       @ 0                                                                              9        = 4 4 805 3 5

       ,DLDEHBH PW A LI L            D                                                  ,DLDEHBH PW CCPD
       @          .      7                                                                 95 = 8
                                                                                         85  A516
       ,DLDEHBH PW A LI CCPD                                                            @

              5 881 9 8895                     1          85 9
            @ 95  1  85 95                     1

       ,DLDEHBH PW A LI BMCD              30       CCPD
        REDACTED




       0PM
       1@= DWLPJT

           REDACTED                  ,S HLD    3LRDFP RDC /      THLF



       /K S R
       .DAHR            MSLR                                                            8 W DLR     MSLR

       /          )'( ((             ,                                                      .)

       /VBG LFD P RD

       1@=                   @ 0                                        TD 3   ''   )

           RD J       R S C RDC R.   7SJ ' '       . ).    58

       9R DP EDD C B PFD K        J 4 P CDR HJ JD D PDEDP R .R D 0 I 1 KKDPBH J PHEE DBRH                   T HJ AJD    R D
       5 01 5 F 8 F 1 KKDPBH J 0 IH F UDA HRD :JD D F R        P   BRH 5H R P S CDP /BB S R                      P ERDP R D
       : KD R 2 RD R B DBI R D RP   BRH CDR HJ



           DRR D DLR MNRHML
           HNHJSDRKLF USDPTIHS



       8 W DLR C RD
https://www.online-banking.business.hsbc.com.hk/portalserver/gbbportal/en-us/payments/local-payment#/acknowledgement          Page 1 of 2
         Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 95 of 212 Page
Make Payments / autoPay                                                               ID 9)06 AM
                                                                                  10/07/2020,
                                           #:1979
       8 W DLR C RD
           GD    2SLGD      6VN
        P L BRHML PDOSD R SA HRRDC UHRGHL AS HLD     GMSP UH AD NPMBD DC ML RGD     D C W 7RGDPUH D HR UH AD
       NPMBD DC ML RGD LDVR UMPIHLF C W



            GM N W MB               MTDP D       BG PFD                                .DCSBR BG PFD EPM
       BH RD N FDN EDPM FKDSJHT UKH EHPHILFLDS RD T WHSTHDT EDPM FKDSJHT                  DOH DT GHELU DFF VPU



       5D          FD
       5D       FD RM ADLDEHBH PW
       2= 9 95 3 38 . 8    C91                   9    = 4
       4 805 3 2 = 5 A =12                   4




       D     CTHBD
         S K PDOSD R S R D C      DK HJ R R D A TD AD DEHBH P C P R DP PDJ RDC AS H D    PR DP             RHE H F R DK
         S TD D R ES C R R D AD DEHBH P / B PFD E 582 DP DK HJ UHJJ AD CDAHRDC EP K R D BB S R             S DBHEHDC
        A TD E 0S H D   RDFP RDC /BB S R H DJDBRDC R D B PFD UHJJ AD CDAHRDC EP K SP 582 TH F              BB S R     S
       B PDOSD R K HKSK E E SP DK HJ

           DFF VPUT,LPWHTUOHPUTILSTU F O
       0 75 53 1 147, 4 8           5/   7 57        -2 274.3 1 07 3      /0   7      2

           G PPD,OHSFKDPGHIIHFU F O
       0 75 53 1 147, 4 8           5/   7 57        -2 274.3 1 07 3      /0   7      2




https://www.online-banking.business.hsbc.com.hk/portalserver/gbbportal/en-us/payments/local-payment#/acknowledgement      Page 2 of 2
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Make Payments / autoPay                                                                     ID 11)14 AM
                                                                                       13/07/2020,
                                                #:1980




       HSBC m
           DEDPDLBD
        P L       BRHML PDEDPDLBD LS ADP                                                D DFP NGHB RP L EDP PDEDPDLBD
                                                                                       LS ADP
                                                                                       47         .5



       8 W RM
       ,DLDEHBH PW A LI MB RHML                                                        ,DLDEHBH PW BBMSLR LS ADP 3,
       @ 5 10              1                                                            REDACTED

       8 W DLR BSPPDLBW                                                                ,DLDEHBH PW L   D
       @ 0                                                                             9        = 4 4 805 3 5

       ,DLDEHBH PW A LI L       D                                                      ,DLDEHBH PW CCPD
       .      7     2   91=5                                                              95 = 8
                                                                                        85  A516
       ,DLDEHBH PW A LI CCPD                                                           @

          .=  0B D 1B D =7                    D           @   1B
       D =7 1B D =7

       ,DLDEHBH PW A LI BMCD         30     CCPD
         REDACTED




       0PM
       1@= EXM KU
        REDACTED               ,S HLD      3LRDFP RDC /       THLF



       .J RK
       .DAHR        MSLR                                                               8 W DLR     MSLR

       /      )' )(, (                                                                     .)

       /VBG LFD P RD

       1@=              @ 0                                            SC 2 : ' ,

       : C I P R B CB          ( RI ' '       (    47

       8 FCO DCCP KB AF OECP J      I 3 O BC IP IC PC OCDCO          FC / KH P 0 JJCOA I O DD PCA K S I IC K FC
       4 /0 4 KE 7 KE 0 JJCOA I / KH KE TC P C IC PC E                O KP A K 4 P O RKBCO .AA RK P K O D CO FC
           JCK 1 C      AFCAH FC O KP A K BC IP



           DRR D DLR MNRHML
           IOIKTESLMG VTE UJIT



       8 W DLR C RD
https://www.online-banking.business.hsbc.com.hk/portalserver/gbbportal/en-us/payments/local-payment#/acknowledgement    Page 1 of 2
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Make Payments / autoPay                                                                ID 11)14 AM
                                                                                  13/07/2020,
                                           #:1981
       8 W DLR C RD
         RHEY 9R HEY           6WO
        P L BRHML PDOSD R SA HRRDC UHRGHL AS HLD     GMSP UH AD NPMBD DC ML RGD        D C W 7RGDPUH D HR UH AD
       NPMBD DC ML RGD LDVR UMPIHLF C W



            GM N W MB                MTDP D        BG PFD                                .DCSBR BG PFD EPM
       BI SEY ORGEO FE N GLETKIU VLI FI IJMGMETY SEYU RXITUIEU FE N GLETKIU               EPI EU HIFMV EGGRW V



       5D          FD
       5D       FD RM ADLDEHBH PW
       2= 9 95 3 38 . 8              D91         9    = 4
       4 805 3 2 =     4                   5 A



       D     CTHBD
         R J OC RCP RP       PCKB K CJ I   FC     SC CKCD A O KB O FCO OCI CB RP KCPP O KCOP K D KE FCJ
         R F SC PCK DRKBP     FC CKCD A O . AF OEC D 471 CO CJ I T II C BC CB DO J FC AA RK     R P CA D CB
          SC 5D /RP KCPP 5K CEO CB .AA RK P PCICA CB FC AF OEC T II C BC CB DO J RO 471 P S KEP AA RK      R
       A K OC RCP J U JRJ D D RO CJ IP

           HR    E,PITGLE HIJJIGV GRP
       0 75 53 1 147, 4 8            5/     7 57     -2 274.3 1 07        2        3

           EGGRW VU,M XIUVPI VUJMTUV GRP
       0 75 53 1 147, 4 8            5/     7 57     -2 274.3 1 07        2        3




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              Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 98 of 212 Page
Make Payments / autoPay                                                                     ID 11)18 AM
                                                                                       13/07/2020,
                                                #:1982




       HSBC m
           DEDPDLBD
        P L       BRHML PDEDPDLBD LS ADP                                                  D DFP NGHB RP L EDP PDEDPDLBD
                                                                                         LS ADP
                                                                                         47         .5



       8 W RM
       ,DLDEHBH PW A LI MB RHML                                                          ,DLDEHBH PW BBMSLR LS ADP 3,
       @ 5 10                  1                                                          REDACTED

       8 W DLR BSPPDLBW                                                                  ,DLDEHBH PW L   D
       @ 0                                                                               9      = 4 4 805 3 5

       ,DLDEHBH PW A LI L              D                                                 ,DLDEHBH PW CCPD
       @          .      7                                                                  95 = 8
                                                                                          85  A516
       ,DLDEHBH PW A LI CCPD                                                             @

              5 881 9 8895                      1           85 9
            @ 95  1  85 95                      1

       ,DLDEHBH PW A LI BMCD               30       CCPD
        REDACTED



       0PM
       1@= DWLPJT
           REDACTED                 ,S HLD      3LRDFP RDC /       THLF



       /K S R
       .DAHR            MSLR                                                             8 W DLR     MSLR

       /          )' )             '                                                         . ),

       /VBG LFD P RD

       1@=                   @ 0                                          TD 3   '   )

           RD J       R S C RDC R. ( 7SJ ' '        .   .    58

        R DP EDD C B PFD K        J 4 P CDR HJ JD D PDEDP R .R D 0 I 1 KKDPBH J PHEE DBRH                    T HJ AJD    R D
       5 01 5 F 8 F 1 KKDPBH J 0 IH F UDA HRD :JD D F R        P   BRH 5H R P S CDP /BB S R                       P ERDP R D
       : KD R 2 RD R B DBI R D RP   BRH CDR HJ



           DRR D DLR MNRHML
           HNHJSDRKLF USDPTIHS



       8 W DLR C RD
https://www.online-banking.business.hsbc.com.hk/portalserver/gbbportal/en-us/payments/local-payment#/acknowledgement           Page 1 of 2
         Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 99 of 212 Page
Make Payments / autoPay                                                                ID 11)18 AM
                                                                                  13/07/2020,
                                           #:1983
       8 W DLR C RD
           GD    9 PGD         6VN
        P L BRHML PDOSD R SA HRRDC UHRGHL AS HLD     GMSP UH AD NPMBD DC ML RGD        D C W 7RGDPUH D HR UH AD
       NPMBD DC ML RGD LDVR UMPIHLF C W



            GM N W MB                MTDP D        BG PFD                                .DCSBR BG PFD EPM
       BH RD N FDN EDPM FKDSJHT UKH EHPHILFLDS RD T WHSTHDT EDPM FKDSJHT                  DOH DT GHELU DFF VPU



       5D          FD
       5D       FD RM ADLDEHBH PW
       2= 9 95 3 38 . 8              C91         9    = 4
       4 805 3 2 =     4                   5 A



       D     CTHBD
         S K PDOSD R S R D C       DK HJ R R D A TD AD DEHBH P C P R DP PDJ RDC AS H D   PR DP              RHE H F R DK
         S TD D R ES C R R D AD DEHBH P / B PFD E 582 DP DK HJ UHJJ AD CDAHRDC EP K R D BB S R              S DBHEHDC
        A TD 6E 0S H D 6 RDFP RDC /BB S R H DJDBRDC R D B PFD UHJJ AD CDAHRDC EP K SP 582 TH F              BB S R     S
       B PDOSD R K HKSK E E SP DK HJ

           G PPD,OHSFKDPGHIIHFU F O
       0 75 53 1 147, 4 8            5/     7 57     -2 274.3 1 07        2        3

           DFF VPUT,LPWHTUOHPUTILSTU F O
       0 75 53 1 147, 4 8            5/     7 57     -2 274.3 1 07        2        3




https://www.online-banking.business.hsbc.com.hk/portalserver/gbbportal/en-us/payments/local-payment#/acknowledgement       Page 2 of 2
            Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 100 of 212 Page
Make Payments / autoPay                                                                    ID 9*19 AM
                                                                                      14/07/2020,
                                               #:1984




       HSBC m
           DEDPDLBD
        P L       BRHML PDEDPDLBD LS ADP                                                D DFP NGHB RP L EDP PDEDPDLBD
                                                                                       LS ADP
                                                                                       47         .5



       8 W RM
       ,DLDEHBH PW A LI MB RHML                                                        ,DLDEHBH PW BBMSLR LS ADP 3,
       @ 5 10              1                                                               REDACTED

       8 W DLR BSPPDLBW                                                                ,DLDEHBH PW L   D
       @ 0                                                                             9      = 4 4 805 3 5

       ,DLDEHBH PW A LI L       D                                                      ,DLDEHBH PW CCPD
       .      7     2   91=5                                                              95 = 8
                                                                                        85  A516
       ,DLDEHBH PW A LI CCPD                                                           @

          .=  0B D 1B D =7                    D           @   1B
       D =7 1B D =7

       ,DLDEHBH PW A LI BMCD         30     CCPD
            REDACTED



       0PM
       1@= EXM KU
         REDACTED              ,S HLD      3LRDFP RDC /       THLF



       0          T S
       .DAHR        MSLR                                                               8 W DLR     MSLR

       /      )' ,             )'                                                          . ),

       /VBG LFD P RD

       1@=              @ 0                                           AUE 4   ' ,(

         ASE KARS TODASED AS/ ) 8TK ' '    ./ ./ ( 69

       :SHE FEER A D CHA ER A AOOK 5 DESAIKR OKEARE EFE S /SHE 1A J R 2   E CIAK A IFF RECSI AUAIKABKE   SHE
       6 12 6     9     2   E CIAK 1A JI  EBRISE KEARE  S    A RACSI 6IRS    T DE 0CC T SR          AFSE SHE
        A E S 3ASE S CHECJ SHE S A RACSI DESAIKR



           DRR D DLR MNRHML
           IOIKTESLMG VTE UJIT



       8 W DLR C RD
https://www.online-banking.business.hsbc.com.hk/portalserver/gbbportal/en-us/payments/local-payment#/acknowledgement    Page 1 of 2
         Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 101 of 212 Page
Make Payments / autoPay                                                                 ID 9*19 AM
                                                                                   14/07/2020,
                                            #:1985
       8 W DLR C RD
         RHEY     WIUHEY       6WO
        P L BRHML PDOSD R SA HRRDC UHRGHL AS HLD    GMSP UH AD NPMBD DC ML RGD       D C W 7RGDPUH D HR UH AD
       NPMBD DC ML RGD LDVR UMPIHLF C W



            GM N W MB                MTDP D       BG PFD                               .DCSBR BG PFD EPM
       BI SEY ORGEO FE N GLETKIU VLI FI IJMGMETY SEYU RXITUIEU FE N GLETKIU             EPI EU HIFMV EGGRW V



       5D          FD
       5D       FD RM ADLDEHBH PW
       2= 9 95 3 38 . 8              D91      9      = 4
       4 805 3 2 = =12                4       5 A



       D     CTHBD
         T A EPTERS TR S RE D A E AIK S SHE AB UE BE EFICIA A D         SHE EKASED BTRI ERR OA S E R SIF I SHE
         T HAUE RE S FT DR S SHE BE EFICIA 0 CHA E F 693 OE E AIK IKK BE DEBISED F      SHE ACC T S T ROECIFIED
       AB UE 7F 1TRI ERR 7 SE ASED 0CC T S IR REKECSED SHE CHA E IKK BE DEBISED F     T 693 RAUI R ACC T S     T
       CA EPTERS A A I T        F F T E AIKR

           EGGRW VU,M XIUVPI VUJMTUV GRP
       0 75 53 1 147, 4 8            5/    7 57     -2 274.3 1 07      /0        2      3

           HR    E,PITGLE HIJJIGV GRP
       0 75 53 1 147, 4 8            5/    7 57     -2 274.3 1 07      /0        2      3




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            Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 102 of 212 Page
Make Payments / autoPay                                                                    ID 9*24 AM
                                                                                      14/07/2020,
                                               #:1986




       HSBC m
           DEDPDLBD
        P L    BRHML PDEDPDLBD LS ADP                                                   D DFP NGHB RP L EDP PDEDPDLBD
                                                                                       LS ADP
                                                                                       47            .5



       8 W RM
       ,DLDEHBH PW A LI MB RHML                                                        ,DLDEHBH PW BBMSLR LS ADP 3,
       @ 5 10             1                                                             REDACTED

       8 W DLR BSPPDLBW                                                                ,DLDEHBH PW L      D
       @ 0                                                                             9        = 4 4 805 3 5

       ,DLDEHBH PW A LI L      D                                                       ,DLDEHBH PW CCPD
       @       .    7                                                                     95 = 8
                                                                                        85  A516
       ,DLDEHBH PW A LI CCPD                                                           @

              5 881 9 8895               1      85 9
            @ 95  1  85 95               1

       ,DLDEHBH PW A LI BMCD        30       CCPD
           REDACTED



       0PM
       1@= DWLPJT
           REDACTED           ,S HLD     3LRDFP RDC /    THLF



       .J RK
       .DAHR       MSLR                                                                8 W DLR       MSLR

       /      ('          '                                                                .(    )
       /VBG LFD P RD

       1@=              @ 0                                            SC 2 : '   (

       : C I P R B CB         ( RI ' '   , '' )     47

       8 FCO DCCP KB AF OECP J      I   O BC IP IC PC OCDCO         FC / KH P 0 JJCOA I O DD PCA K S I IC K FC
       4 /0 4 KE 7 KE 0 JJCOA I / KH KE TC P C 9IC PC E              O KP A K 4 P O RKBCO .AA RK P K O D CO FC
       9 JCK 1 C        AFCAH FC O KP A K BC IP



           DRR D DLR MNRHML
           HNHJSDRKLF USDPTIHS



       8 W DLR C RD
https://www.online-banking.business.hsbc.com.hk/portalserver/gbbportal/en-us/payments/local-payment#/acknowledgement    Page 1 of 2
         Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 103 of 212 Page
Make Payments / autoPay                                                                 ID 9*24 AM
                                                                                   14/07/2020,
                                            #:1987
       8 W DLR C RD
           GD     VHTGD        6VN
        P L BRHML PDOSD R SA HRRDC UHRGHL AS HLD    GMSP UH AD NPMBD DC ML RGD       D C W 7RGDPUH D HR UH AD
       NPMBD DC ML RGD LDVR UMPIHLF C W



            GM N W MB                MTDP D       BG PFD                               .DCSBR BG PFD EPM
       BH RD N FDN EDPM FKDSJHT UKH EHPHILFLDS RD T WHSTHDT EDPM FKDSJHT                DOH DT GHELU DFF VPU



       5D          FD
       5D       FD RM ADLDEHBH PW
       2= 9 95 3 38 . 8              C91      9      = 4
       4 805 3 2 = =12                4       5 A



       D     CTHBD
         R J OC RCP RP       PCKB K CJ I   FC     SC CKCD A O KB O FCO OCI CB RP KCPP O KCOP K D KE FCJ
         R F SC PCK DRKBP     FC CKCD A O . AF OEC D 471 CO CJ I T II C BC CB DO J FC AA RK     R P CA D CB
          SC 5D /RP KCPP 5K CEO CB .AA RK P PCICA CB FC AF OEC T II C BC CB DO J RO 471 P S KEP AA RK      R
       A K OC RCP J U JRJ D D RO CJ IP

           DFF VPUT,LPWHTUOHPUTILSTU F O
       0 75 53 1 147, 4 8            5/    7 57     -2 274.3 1 07      /0        2      3

           G PPD,OHSFKDPGHIIHFU F O
       0 75 53 1 147, 4 8            5/    7 57     -2 274.3 1 07      /0        2      3




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            Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 104 of 212 Page
Make Payments / autoPay                                                                    ID 1)09 PM
                                                                                      15/07/2020,
                                               #:1988




       HSBC m
           DEDPDLBD
        P L       BRHML PDEDPDLBD LS ADP                                                D DFP NGHB RP L EDP PDEDPDLBD
                                                                                       LS ADP
                                                                                       47         .5



       8 W RM
       ,DLDEHBH PW A LI MB RHML                                                        ,DLDEHBH PW BBMSLR LS ADP 3,
       @ 5 10              1                                                            REDACTED

       8 W DLR BSPPDLBW                                                                ,DLDEHBH PW L   D
       @ 0                                                                             9        = 4 4 805 3 5

       ,DLDEHBH PW A LI L        D                                                     ,DLDEHBH PW CCPD
       .      7     2   91=5                                                              95 = 8
                                                                                        85  A516
       ,DLDEHBH PW A LI CCPD                                                           @

          .=  0B D 1B D =7                      D         @   1B
       D =7 1B D =7

       ,DLDEHBH PW A LI BMCD          30    CCPD
         REDACTED




       0PM
       1@= EXM KU
        REDACTED                 ,S HLD    3LRDFP RDC /       THLF



       /K S R
       .DAHR        MSLR                                                               8 W DLR     MSLR

       /          ) , '                                                                    .)

       /VBG LFD P RD

       1@=              @ 0                                            TD 3   '   ),

           RD J   R S C RDC R.   7SJ ' '   (.   .() 58

       9R DP EDD C B PFD K        J 4 P CDR HJ JD D PDEDP R .R D 0 I 1 KKDPBH J PHEE DBRH                  T HJ AJD    R D
       5 01 5 F 8 F 1 KKDPBH J 0 IH F UDA HRD :JD D F R        P   BRH 5H R P S CDP /BB S R                     P ERDP R D
       : KD R 2 RD R B DBI R D RP   BRH CDR HJ



           DRR D DLR MNRHML
           IOIKTESLMG VTE UJIT



       8 W DLR C RD
https://www.online-banking.business.hsbc.com.hk/portalserver/gbbportal/en-us/payments/local-payment#/acknowledgement         Page 1 of 2
         Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 105 of 212 Page
Make Payments / autoPay                                                                 ID 1)09 PM
                                                                                   15/07/2020,
                                            #:1989
       8 W DLR C RD
         RHEY BIH IUHEY             6WO
        P L BRHML PDOSD R SA HRRDC UHRGHL AS HLD   GMSP UH AD NPMBD DC ML RGD       D C W 7RGDPUH D HR UH AD
       NPMBD DC ML RGD LDVR UMPIHLF C W



            GM N W MB                MTDP D      BG PFD                                 .DCSBR BG PFD EPM
       BI SEY ORGEO FE N GLETKIU VLI FI IJMGMETY SEYU RXITUIEU FE N GLETKIU             EPI EU HIFMV EGGRW V



       5D          FD
       5D       FD RM ADLDEHBH PW
       2= 9 95 3 38 . 8    D91                9     = 4
       4 805 3 2 = 5 A =12     4



       D     CTHBD
         S K PDOSD R S R D C      DK HJ R R D A TD AD DEHBH P C P R DP PDJ RDC AS H D    PR DP             RHE H F R DK
         S TD D R ES C R R D AD DEHBH P / B PFD E 582 DP DK HJ UHJJ AD CDAHRDC EP K R D BB S R             S DBHEHDC
        A TD E 0S H D   RDFP RDC /BB S R H DJDBRDC R D B PFD UHJJ AD CDAHRDC EP K SP 582 TH F              BB S R     S
       B PDOSD R K HKSK E E SP DK HJ

           EGGRW VU,M XIUVPI VUJMTUV GRP
       0 75 53 1 147, 4 8            5/   7 57     -2 274.3 1 07 3         /0       2

           HR    E,PITGLE HIJJIGV GRP
       0 75 53 1 147, 4 8            5/   7 57     -2 274.3 1 07 3         /0       2




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Make Payments / autoPay                                                                   ID 1)13 PM
                                                                                      15/07/2020,
                                               #:1990




       HSBC m
           GHGSGOEG
        SCOTCEU PO SGHGSGOEG OVNDGS                                                     GMGISC   E USCOTHGS SGHGSGOEG
                                                                                       OVNDGS
                                                                                       47         .5



           C UP
       /GOGH E CS DCOL MPECU PO                                                        /GOGH E CS CEEPVOU OVNDGS        /.
       @ 5 10            1                                                               REDACTED

         C NGOU EVSSGOE                                                                /GOGH E CS OCNG
       @ 0                                                                             9      = 4 4 805 3 5

       /GOGH E CS DCOL OCNG                                                            /GOGH E CS CFFSGTT
       @     .     7                                                                      95 = 8
                                                                                        85  A516
       /GOGH E CS DCOL CFFSGTT                                                         @

              5 881 9 8895                1    85 9
            @ 95  1  85 95                1

       /GOGH E CS DCOL EPFG        A 3 CFFSGTT
          REDACTED



       3SPN
       1@= DWLPJT
        REDACTED                /VT OGTT OUGISCUGF 2?   CW OIT



       0         T S
       1GD U CNPVOU                                                                     C NGOU CNPVOU

       2?    )         .(( .                                                           ? 1 ),

       2YE COIG SCUG

       1@=             @ 0                                            AUE 4   '   )

         ASE KARS TODASED AS/   8TK ' '   (/ '/ . 69

       :SHE FEER A D CHA ER A AOOK 5 DESAIKR OKEARE EFE S /SHE 1A J R 2   E CIAK A IFF RECSI AUAIKABKE   SHE
       6 12 6     9     2   E CIAK 1A JI  EBRISE KEARE  S    A RACSI 6IRS    T DE 0CC T SR          AFSE SHE
        A E S 3ASE S CHECJ SHE S A RACSI DESAIKR



           GUUMGNGOU P U PO
         HNHJSDRKLF USDPTIHS



           C NGOU FCUG
https://www.online-banking.business.hsbc.com.hk/portalserver/gbbportal/en-us/payments/local-payment#/acknowledgement         Page 1 of 2
            Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 107 of 212 Page
Make Payments / autoPay                                                                   ID 1)13 PM
                                                                                      15/07/2020,
                                               #:1991
           C NGOU FCUG
           GD   BHGPHTGD       6VN
        SCOTCEU PO SGRVGTU TVDN UUGF U O DVT OGTT PVST      MM DG SPEGTTGF PO U G TCNG FC    U GS   TG U   MM DG
        SPEGTTGF PO U G OGYU PSL OI FC



       A P C T MPECM PWGSTGCT E CSIGT                                                    1GFVEU E CSIGT HSPN
       BH RD N FDN EDPM FKDSJHT UKH EHPHILFLDS RD T WHSTHDT EDPM FKDSJHT                 DOH DT GHELU DFF VPU



           SFGS OI CSU
        T U T C NGOU DG OI NCFG PO DG CMH PH C U SF CSU    PSFGS OI CSU -




       8GTTCIGT
       8GTTCIG UP DGOGH E CS
       2= 9 95 3 38 . 8    C91                9      = 4
       4 805 3 2 = 5 A =12     4



       G .FW EG
         T A EPTERS TR S RE D A E AIK S SHE AB UE BE EFICIA A D         SHE EKASED BTRI ERR OA S E R SIF I SHE
         T HAUE RE S FT DR S SHE BE EFICIA 0 CHA E F 693 OE E AIK IKK BE DEBISED F      SHE ACC T S T ROECIFIED
       AB UE 7F 1TRI ERR 7 SE ASED 0CC T S IR REKECSED SHE CHA E IKK BE DEBISED F     T 693 RAUI R ACC T S     T
       CA EPTERS A A I T        F F T E AIKR

           DFF VPUT,LPWHTUOHPUTILSTU F O
       3    88    4 47 /.7 .B82           8       . 05 5 71   4 3           23      5)      )(

           G PPD,OHSFKDPGHIIHFU F O
       3    88    4 47 /.7 .B82           8       . 05 5 71   4 3           23      5)      )(




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            Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 108 of 212 Page
Make Payments / autoPay                                                                    ID 9*10 AM
                                                                                      16/07/2020,
                                               #:1992




       HSBC m
           DEDPDLBD
        P L       BRHML PDEDPDLBD LS ADP                                                D DFP NGHB RP L EDP PDEDPDLBD
                                                                                       LS ADP
                                                                                       47         .5



       8 W RM
       ,DLDEHBH PW A LI MB RHML                                                        ,DLDEHBH PW BBMSLR LS ADP 3,
       @ 5 10              1                                                            REDACTED

       8 W DLR BSPPDLBW                                                                ,DLDEHBH PW L   D
       @ 0                                                                             9      = 4 4 805 3 5

       ,DLDEHBH PW A LI L       D                                                      ,DLDEHBH PW CCPD
       .      7     2   91=5                                                              95 = 8
                                                                                        85  A516
       ,DLDEHBH PW A LI CCPD                                                           @

          .=  0B D 1B D =7                    D           @   1B
       D =7 1B D =7

       ,DLDEHBH PW A LI BMCD         30     CCPD
          REDACTED



       0PM
       1@= EXM KU
           REDACTED             ,S HLD     3LRDFP RDC /       THLF



       0          T S
       .DAHR        MSLR                                                               8 W DLR     MSLR

       /      )         (() (                                                              . ),

       /VBG LFD P RD

       1@=              @ 0                                           AUE 4   ' ) ,

         ASE KARS TODASED AS/   8TK ' '    ./ ./ , 69

       :SHE FEER A D CHA ER A AOOK 5 DESAIKR OKEARE EFE S /SHE 1A J R 2   E CIAK A IFF RECSI AUAIKABKE   SHE
       6 12 6     9     2   E CIAK 1A JI  EBRISE KEARE  S    A RACSI 6IRS    T DE 0CC T SR          AFSE SHE
        A E S 3ASE S CHECJ SHE S A RACSI DESAIKR



           DRR D DLR MNRHML
           IOIKTESLMG VTE UJIT



       8 W DLR C RD
https://www.online-banking.business.hsbc.com.hk/portalserver/gbbportal/en-us/payments/local-payment#/acknowledgement    Page 1 of 2
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Make Payments / autoPay                                                                 ID 9*10 AM
                                                                                   16/07/2020,
                                            #:1993
       8 W DLR C RD
         RHEY     LWTUHEY       6WO
        P L BRHML PDOSD R SA HRRDC UHRGHL AS HLD     GMSP UH AD NPMBD DC ML RGD     D C W 7RGDPUH D HR UH AD
       NPMBD DC ML RGD LDVR UMPIHLF C W



            GM N W MB                 MTDP D      BG PFD                                .DCSBR BG PFD EPM
       BI SEY ORGEO FE N GLETKIU VLI FI IJMGMETY SEYU RXITUIEU FE N GLETKIU             EPI EU HIFMV EGGRW V



       5D          FD
       5D       FD RM ADLDEHBH PW
       2= 9 95 3 38 . 8   D91                    9    = 4
       4 805 3 2 =      4                  5 A



       D     CTHBD
         T A EPTERS TR S RE D A E AIK S SHE AB UE BE EFICIA A D         SHE EKASED BTRI ERR OA S E R SIF I SHE
         T HAUE RE S FT DR S SHE BE EFICIA 0 CHA E F 693 OE E AIK IKK BE DEBISED F      SHE ACC T S T ROECIFIED
       AB UE 7F 1TRI ERR 7 SE ASED 0CC T S IR REKECSED SHE CHA E IKK BE DEBISED F     T 693 RAUI R ACC T S     T
       CA EPTERS A A I T        F F T E AIKR

           EGGRW VU,M XIUVPI VUJMTUV GRP
       0 75 53 1 147, 4 8             5/   7 57      -2 274.3 1 07         2        3

           HR    E,PITGLE HIJJIGV GRP
       0 75 53 1 147, 4 8             5/   7 57      -2 274.3 1 07         2        3




https://www.online-banking.business.hsbc.com.hk/portalserver/gbbportal/en-us/payments/local-payment#/acknowledgement   Page 2 of 2
            Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 110 of 212 Page
Make Payments / autoPay                                                                    ID 12(39 PM
                                                                                     17/07/2020,
                                               #:1994




       HSBC m
           DEDPDLBD
        P L       BRHML PDEDPDLBD LS ADP                                                D DFP NGHB RP L EDP PDEDPDLBD
                                                                                       LS ADP
                                                                                       47         .5



       8 W RM
       ,DLDEHBH PW A LI MB RHML                                                        ,DLDEHBH PW BBMSLR LS ADP 3,
                                                                                       REDACTED
       @ 5 10              1

       8 W DLR BSPPDLBW                                                                ,DLDEHBH PW L   D
       @ 0                                                                             9      = 4 4 805 3 5

       ,DLDEHBH PW A LI L       D                                                      ,DLDEHBH PW CCPD
       .      7     2   91=5                                                              95 = 8
                                                                                        85  A516
       ,DLDEHBH PW A LI CCPD                                                           @

          .=  0B D 1B D =7                    D           @   1B
       D =7 1B D =7

       ,DLDEHBH PW A LI BMCD         30     CCPD
           REDACTED



       0PM
       1@= EXM KU
        REDACTED               ,S HLD      3LRDFP RDC /       THLF



       0          T S
       .DAHR        MSLR                                                               8 W DLR     MSLR

       /      ) . '(                                                                       . ),

       /VBG LFD P RD

       1@=              @ 0                                           AUE 4   '

         ASE KARS TODASED AS/ , 8TK ' '    '/( / . 69

       :SHE FEER A D CHA ER A AOOK 5 DESAIKR OKEARE EFE S /SHE 1A J R 2   E CIAK A IFF RECSI AUAIKABKE   SHE
       6 12 6     9     2   E CIAK 1A JI  EBRISE KEARE  S    A RACSI 6IRS    T DE 0CC T SR          AFSE SHE
        A E S 3ASE S CHECJ SHE S A RACSI DESAIKR



           DRR D DLR MNRHML
           IOIKTESLMG VTE UJIT



       8 W DLR C RD
https://www.online-banking.business.hsbc.com.hk/portalserver/gbbportal/en-us/payments/local-payment#/acknowledgement    Page 1 of 2
         Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 111 of 212 Page
Make Payments / autoPay                                                                 ID 12(39 PM
                                                                                  17/07/2020,
                                            #:1995
       8 W DLR C RD
         RHEY 2TMHEY        6WO
        P L BRHML PDOSD R SA HRRDC UHRGHL AS HLD   GMSP UH AD NPMBD DC ML RGD       D C W 7RGDPUH D HR UH AD
       NPMBD DC ML RGD LDVR UMPIHLF C W



            GM N W MB               MTDP D       BG PFD                                .DCSBR BG PFD EPM
       BI SEY ORGEO FE N GLETKIU VLI FI IJMGMETY SEYU RXITUIEU FE N GLETKIU             EPI EU HIFMV EGGRW V



       5D          FD
       5D       FD RM ADLDEHBH PW
       2= 9 95 3 38 . 8             D91      9      = 4
       4 805 3 2 = 5 A               4



       D     CTHBD
         T A EPTERS TR S RE D A E AIK S SHE AB UE BE EFICIA A D         SHE EKASED BTRI ERR OA S E R SIF I SHE
         T HAUE RE S FT DR S SHE BE EFICIA 0 CHA E F 693 OE E AIK IKK BE DEBISED F      SHE ACC T S T ROECIFIED
       AB UE 7F 1TRI ERR 7 SE ASED 0CC T S IR REKECSED SHE CHA E IKK BE DEBISED F     T 693 RAUI R ACC T S     T
       CA EPTERS A A I T        F F T E AIKR

           EGGRW VU,M XIUVPI VUJMTUV GRP
       0 75 53 1 147, 4 8           5/    7 57     -2 274.3 1 07 3             2

           HR    E,PITGLE HIJJIGV GRP
       0 75 53 1 147, 4 8           5/    7 57     -2 274.3 1 07 3             2




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            Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 112 of 212 Page
Make Payments / autoPay                                                                    ID 12(47 PM
                                                                                     17/07/2020,
                                               #:1996




       HSBC m
           DEDPDLBD
        P L    BRHML PDEDPDLBD LS ADP                                                   D DFP NGHB RP L EDP PDEDPDLBD
                                                                                       LS ADP
                                                                                       47         .5



       8 W RM
       ,DLDEHBH PW A LI MB RHML                                                        ,DLDEHBH PW BBMSLR LS ADP 3,
       @ 5 10              1                                                            REDACTED

       8 W DLR BSPPDLBW                                                                ,DLDEHBH PW L   D
       @ 0                                                                             9      = 4 4 805 3 5

       ,DLDEHBH PW A LI L      D                                                       ,DLDEHBH PW CCPD
       @       .     7                                                                    95 = 8
                                                                                        85  A516
       ,DLDEHBH PW A LI CCPD                                                           @

              5 881 9 8895                1       85 9
            @ 95  1  85 95                1

       ,DLDEHBH PW A LI BMCD         30       CCPD
           REDACTED



       0PM
       1@= DWLPJT
        REDACTED               ,S HLD     3LRDFP RDC /    THLF



       0           T S
       .DAHR        MSLR                                                               8 W DLR     MSLR

       /      ) . '(                                                                       . ),

       /VBG LFD P RD

       1@=               @ 0                                          AUE 4   '

         ASE KARS TODASED AS/ , 8TK ' '   '/),/      69

       :SHE FEER A D CHA ER A AOOK 5 DESAIKR OKEARE EFE S /SHE 1A J R 2   E CIAK A IFF RECSI AUAIKABKE   SHE
       6 12 6     9     2   E CIAK 1A JI  EBRISE KEARE  S    A RACSI 6IRS    T DE 0CC T SR          AFSE SHE
        A E S 3ASE S CHECJ SHE S A RACSI DESAIKR



           DRR D DLR MNRHML
           HNHJSDRKLF USDPTIHS



       8 W DLR C RD
https://www.online-banking.business.hsbc.com.hk/portalserver/gbbportal/en-us/payments/local-payment#/acknowledgement    Page 1 of 2
         Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 113 of 212 Page
Make Payments / autoPay                                                                 ID 12(47 PM
                                                                                  17/07/2020,
                                            #:1997
       8 W DLR C RD
           GD    2SLGD      6VN
        P L BRHML PDOSD R SA HRRDC UHRGHL AS HLD   GMSP UH AD NPMBD DC ML RGD       D C W 7RGDPUH D HR UH AD
       NPMBD DC ML RGD LDVR UMPIHLF C W



            GM N W MB               MTDP D       BG PFD                                .DCSBR BG PFD EPM
       BH RD N FDN EDPM FKDSJHT UKH EHPHILFLDS RD T WHSTHDT EDPM FKDSJHT                DOH DT GHELU DFF VPU



       5D          FD
       5D       FD RM ADLDEHBH PW
       2= 9 95 3 38 . 8             C91      9      = 4
       4 805 3 2 = 5 A               4



       D     CTHBD
         T A EPTERS TR S RE D A E AIK S SHE AB UE BE EFICIA A D         SHE EKASED BTRI ERR OA S E R SIF I SHE
         T HAUE RE S FT DR S SHE BE EFICIA 0 CHA E F 693 OE E AIK IKK BE DEBISED F      SHE ACC T S T ROECIFIED
       AB UE 7F 1TRI ERR 7 SE ASED 0CC T S IR REKECSED SHE CHA E IKK BE DEBISED F     T 693 RAUI R ACC T S     T
       CA EPTERS A A I T        F F T E AIKR

           G PPD,OHSFKDPGHIIHFU F O
       0 75 53 1 147, 4 8           5/    7 57     -2 274.3 1 07 3             2

           DFF VPUT,LPWHTUOHPUTILSTU F O
       0 75 53 1 147, 4 8           5/    7 57     -2 274.3 1 07 3             2




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            Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 114 of 212 Page
Make Payments / autoPay                                                                    ID 12(58 PM
                                                                                     17/07/2020,
                                               #:1998




       HSBC m
           DEDPDLBD
        P L      BRHML PDEDPDLBD LS ADP
       9



       8 W RM
       ,DLDEHBH PW A LI MB RHML                                                        ,DLDEHBH PW BBMSLR LS ADP 3,
           94 0       , 0                                                               REDACTED

       8 W DLR BSPPDLBW                                                                ,DLDEHBH PW L   D
                                                                                       8 9, .3 3 7 492 49.

       ,DLDEHBH PW A LI L       D                                                      ,DLDEHBH PW CCPD
           ,96     1 ,80 4., 9 ,                                                          84    ,7
                                                                                       ,74   @405 .,
       ,DLDEHBH PW A LI CCPD                                                             ,

                 , A,C90A C               6 9C           90A
       C      690A C 6

       ,DLDEHBH PW A LI BMCD         30    CCPD
            REDACTED



       0PM
       0         DWLPJT
           REDACTED             ,S HLD    3LRDFP RDC /   THLF



           ACIBH
       .DAHR       MSLR                                                                8 W DLR     MSLR
                  EH GHUHSOLPHG DU UKH
       !       ULOH I F PWHSTL P
                                                                                          .   '
       /VBG LFD P RD

       ! ULOHEH GHUHSOLPHG
                I F PWHSTL P
                            DU UKH


       1H :F :: B      F : A   DD     CF :H  D : : F: :F HC H :          B     CAA:F    4 F       : H CB     7 : CB H :
       .     .CB 0CB    CAA:F      B B K:7 H: : : C HC 4F B               H CB . HCF IB :F         CIBH CB CF H:F H :
           A:BH , H: HC : H : HF B   H CB :H



           DRR D DLR MNRHML
         HNHJSDRKLF USDPTIHS



       8 W DLR C RD
           DUVSGDX        5VN
https://www.online-banking.business.hsbc.com.hk/portalserver/gbbportal/en-us/payments/local-payment#/acknowledgement      Page 1 of 2
            Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 115 of 212 Page
Make Payments / autoPay                                                                    ID 12(58 PM
                                                                                     17/07/2020,
                                               #:1999
         DUVSGDX      5VN
        P L BRHML PDOSD R SA HRRDC UHRGHL AS HLD   GMSP UH AD NPMBD DC ML RGD       D C W 7RGDPUH D HR UH AD
       NPMBD DC ML RGD LDVR UMPIHLF C W



            GM N W MB             MTDP D        BG PFD                                  .DCSBR BG PFD EPM
       AH RDX N FDN EDPM FKDSJHT UKH EHPHILFLDSX RDXT WHSTHDT EDPM FKDSJHT              DOH DT GHELU DFF VPU



       5D          FD
       5D     FD RM ADLDEHBH PW
       1 8 8492 27 ,7 ,C809                    8 9, .3
       3 7 492 1  49@ 01    3



       D     CTHBD
       5CI A F: I: H I HC :B B :A HC H : 7C : 7:B:    F B CF CH :F F: H: 7I B: D FHB:F BCH B H :A
        CI    : :BH IB HC H : 7:B:   F    F : C .0, D:F :A K 7: :7 H: FCA H :      CIBH CI D: :
        7C : /   I B: /BH: F H:    CIBH : : H: H :   F : K 7: :7 H: FCA CIF .0,     B     CIBH 5CI
         B F: I: H A AIA C CIF :A

           DFF VPUT     LPWHTUOHPUTILSTU F O
       0 75 53 1 147, 4 8         5/     7 57      -2 274.3 1 07 3         /0       2

           G PPD   OHSFKDPGHIIHFU F O
       0 75 53 1 147, 4 8         5/     7 57      -2 274.3 1 07 3         /0       2




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Make Payments / autoPay                                                                    ID 1(02 PM
                                                                                      17/07/2020,
                                               #:2000




       HSBC m
           DEDPDLBD
        P L     BRHML PDEDPDLBD LS ADP
       9



       8 W RM
       ,DLDEHBH PW A LI MB RHML                                                        ,DLDEHBH PW BBMSLR LS ADP 3,
                                                                                        REDACTED
           94 0      , 0

       8 W DLR BSPPDLBW                                                                ,DLDEHBH PW L   D
                                                                                       8 9, .3 3 7 492 49.

       ,DLDEHBH PW A LI L      D                                                       ,DLDEHBH PW CCPD
                ,96 9 ,                                                                   84    ,7
                                                                                       ,74   @405 .,
       ,DLDEHBH PW A LI CCPD                                                             ,

              94. 770 8,7784990,              74 89
               84990, 74 84990                ,

       ,DLDEHBH PW A LI BMCD        30    CCPD
         REDACTED




       0PM
       0      CVKOIS
           REDACTED            ,S HLD    3LRDFP RDC /   THLF



           ACIBH
       .DAHR      MSLR                                                                 8 W DLR     MSLR
                 P DG FGTGRNKOGF CT TJG
       !       TKNG PH EPOVGRSKPO
                                                                                          .   '
       /VBG LFD P RD
           P DG FGTGRNKOGF CT TJG
       ! TKNG  PH EPOVGRSKPO
       1H :F :: B      F : A   DD     CF :H  D : : F: :F HC H :          B     CAA:F    4 F       : H CB     7 : CB H :
       .     .CB 0CB    CAA:F      B B K:7 H: : : C HC 4F B               H CB . HCF IB :F         CIBH CB CF H:F H :
           A:BH , H: HC : H : HF B   H CB :H



           DRR D DLR MNRHML
         GMGIRC JKE TRCOSHGR



       8 W DLR C RD
           CTURFCW       5UM
https://www.online-banking.business.hsbc.com.hk/portalserver/gbbportal/en-us/payments/local-payment#/acknowledgement      Page 1 of 2
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Make Payments / autoPay                                                                    ID 1(02 PM
                                                                                      17/07/2020,
                                               #:2001
         CTURFCW      5UM
        P L BRHML PDOSD R SA HRRDC UHRGHL AS HLD   GMSP UH AD NPMBD DC ML RGD       D C W 7RGDPUH D HR UH AD
       NPMBD DC ML RGD LDVR UMPIHLF C W



            GM N W MB             MTDP D        BG PFD                                 .DCSBR BG PFD EPM
       AG CW MPECM DCOL EJCRIGS TJG DGOGHKEKCRW CWS PVGRSGCS DCOL EJCRIGS                 CNG CS FGDKT CEEPUOT



       5D          FD
       5D     FD RM ADLDEHBH PW
       1 8 8492 27           ,7 ,B809          8 9, .3
       3 7 492  1           49@ 01        3




       D     CTHBD
       5CI A F: I: H I HC :B B :A HC H : 7C : 7:B:    F B CF CH :F F: H: 7I B: D FHB:F BCH B H :A
        CI    : :BH IB HC H : 7:B:   F    F : C .0, D:F :A K 7: :7 H: FCA H :      CIBH CI D: :
        7C : /   I B: /BH: F H:    CIBH : : H: H :   F : K 7: :7 H: FCA CIF .0,     B     CIBH 5CI
         B F: I: H A AIA C CIF :A

           CEEPUOTS     KOVGSTNGOTSHKRST EPN
       0 75 53 1 147, 4 8         5/     7 57      -2 274.3 1      07 3      /0       2

           FPOOC   NGREJCOFGHHGET EPN
       0 75 53 1 147, 4 8         5/     7 57      -2 274.3 1      07 3      /0       2




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Make Payments / autoPay                                                                    ID 10)14 AM
                                                                                     18/07/2020,
                                               #:2002




       HSBC m
           DEDPDLBD
        P L      BRHML PDEDPDLBD LS ADP
       9



       8 W RM
       ,DLDEHBH PW A LI MB RHML                                                        ,DLDEHBH PW BBMSLR LS ADP 3,
           94 0       , 0                                                               REDACTED

       8 W DLR BSPPDLBW                                                                ,DLDEHBH PW L   D
                                                                                       8 9, .3 3 7 492 49.

       ,DLDEHBH PW A LI L      D                                                       ,DLDEHBH PW CCPD
           ,96     1 ,80 4., 9 ,                                                          84    ,7
                                                                                       ,74   @405 .,
       ,DLDEHBH PW A LI CCPD                                                             ,

                 , A,C90A C              6 9C            90A
       C      690A C 6

       ,DLDEHBH PW A LI BMCD        30     CCPD
         REDACTED




       0PM
       0       DWLPJT
           REDACTED
                              ,S HLD      3LRDFP RDC /   THLF



           ACIBH
       .DAHR       MSLR                                                                8 W DLR     MSLR
                  EH GHUHSOLPHG DU UKH
       !       ULOH I F PWHSTL P
                                                                                          .   '
       /VBG LFD P RD

       ! ULOHEH GHUHSOLPHG
                I F PWHSTL P
                            DU UKH


       1H :F :: B      F : A   DD     CF :H  D : : F: :F HC H :          B     CAA:F    4 F       : H CB     7 : CB H :
       .     .CB 0CB    CAA:F      B B K:7 H: : : C HC 4F B               H CB . HCF IB :F         CIBH CB CF H:F H :
           A:BH , H: HC : H : HF B   H CB :H



           DRR D DLR MNRHML
         HNHJSDRKLF USDPTIHS



       8 W DLR C RD
       8 PGDX          5VN
https://www.online-banking.business.hsbc.com.hk/portalserver/gbbportal/en-us/payments/local-payment#/acknowledgement      Page 1 of 2
            Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 119 of 212 Page
Make Payments / autoPay                                                                    ID 10)14 AM
                                                                                     18/07/2020,
                                               #:2003
       8 PGDX         5VN
        P L BRHML PDOSD R SA HRRDC UHRGHL AS HLD   GMSP UH AD NPMBD DC ML RGD       D C W 7RGDPUH D HR UH AD
       NPMBD DC ML RGD LDVR UMPIHLF C W



            GM N W MB             MTDP D        BG PFD                                  .DCSBR BG PFD EPM
       AH RDX N FDN EDPM FKDSJHT UKH EHPHILFLDSX RDXT WHSTHDT EDPM FKDSJHT              DOH DT GHELU DFF VPU



       5D          FD
       5D     FD RM ADLDEHBH PW
       1 8 8492 27 ,7 ,C809                    8 9, .3
       3 7 492 1  49@ 01    3



       D     CTHBD
       5CI A F: I: H I HC :B B :A HC H : 7C : 7:B:    F B CF CH :F F: H: 7I B: D FHB:F BCH B H :A
        CI    : :BH IB HC H : 7:B:   F    F : C .0, D:F :A K 7: :7 H: FCA H :      CIBH CI D: :
        7C : /   I B: /BH: F H:    CIBH : : H: H :   F : K 7: :7 H: FCA CIF .0,     B     CIBH 5CI
         B F: I: H A AIA C CIF :A

           G PPD   OHSFKDPGHIIHFU F O
       0 75 53 1 147, 4 8         5/     7 57      -2 274.3 1 07 3         /0       2

           DFF VPUT     LPWHTUOHPUTILSTU F O
       0 75 53 1 147, 4 8         5/     7 57      -2 274.3 1 07 3         /0       2




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Make Payments / autoPay                                                                    ID 10)17 AM
                                                                                     18/07/2020,
                                               #:2004




       HSBC m
           DEDPDLBD
        P L     BRHML PDEDPDLBD LS ADP
       9



       8 W RM
       ,DLDEHBH PW A LI MB RHML                                                        ,DLDEHBH PW BBMSLR LS ADP 3,
           94 0      , 0                                                               REDACTED

       8 W DLR BSPPDLBW                                                                ,DLDEHBH PW L   D
                                                                                       8 9, .3 3 7 492 49.

       ,DLDEHBH PW A LI L     D                                                        ,DLDEHBH PW CCPD
                ,96 9 ,                                                                   84    ,7
                                                                                       ,74   @405 .,
       ,DLDEHBH PW A LI CCPD                                                             ,

              94. 770 8,7784990,              74 89
               84990, 74 84990                ,

       ,DLDEHBH PW A LI BMCD       30     CCPD
           REDACTED



       0PM
       0        CVKOIS
           REDACTED          ,S HLD      3LRDFP RDC /   THLF



           ACIBH
       .DAHR      MSLR                                                                 8 W DLR     MSLR
                 P DG FGTGRNKOGF CT TJG
       !       TKNG PH EPOVGRSKPO
                                                                                          .   '
       /VBG LFD P RD
           P DG FGTGRNKOGF CT TJG
       ! TKNG  PH EPOVGRSKPO
       1H :F :: B      F : A   DD     CF :H  D : : F: :F HC H :          B     CAA:F    4 F       : H CB     7 : CB H :
       .     .CB 0CB    CAA:F      B B K:7 H: : : C HC 4F B               H CB . HCF IB :F         CIBH CB CF H:F H :
           A:BH , H: HC : H : HF B   H CB :H



           DRR D DLR MNRHML
         GMGIRC JKE TRCOSHGR



       8 W DLR C RD
       8POFCW         5UM
https://www.online-banking.business.hsbc.com.hk/portalserver/gbbportal/en-us/payments/local-payment#/acknowledgement      Page 1 of 2
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Make Payments / autoPay                                                                    ID 10)17 AM
                                                                                     18/07/2020,
                                               #:2005
       8POFCW         5UM
        P L BRHML PDOSD R SA HRRDC UHRGHL AS HLD   GMSP UH AD NPMBD DC ML RGD       D C W 7RGDPUH D HR UH AD
       NPMBD DC ML RGD LDVR UMPIHLF C W



            GM N W MB             MTDP D        BG PFD                                 .DCSBR BG PFD EPM
       AG CW MPECM DCOL EJCRIGS TJG DGOGHKEKCRW CWS PVGRSGCS DCOL EJCRIGS                 CNG CS FGDKT CEEPUOT



       5D          FD
       5D     FD RM ADLDEHBH PW
       1 8 8492 27           ,7 ,B809          8 9, .3
       3 7 492  1           49@ 01        3




       D     CTHBD
       5CI A F: I: H I HC :B B :A HC H : 7C : 7:B:    F B CF CH :F F: H: 7I B: D FHB:F BCH B H :A
        CI    : :BH IB HC H : 7:B:   F    F : C .0, D:F :A K 7: :7 H: FCA H :      CIBH CI D: :
        7C : /   I B: /BH: F H:    CIBH : : H: H :   F : K 7: :7 H: FCA CIF .0,     B     CIBH 5CI
         B F: I: H A AIA C CIF :A

           FPOOC   NGREJCOFGHHGET EPN
       0 75 53 1 147, 4 8         5/     7 57      -2 274.3 1      07 3      /0       2

           CEEPUOTS     KOVGSTNGOTSHKRST EPN
       0 75 53 1 147, 4 8         5/     7 57      -2 274.3 1      07 3      /0       2




https://www.online-banking.business.hsbc.com.hk/portalserver/gbbportal/en-us/payments/local-payment#/acknowledgement   Page 2 of 2
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Make Payments / autoPay                                                                    ID 10)27 AM
                                                                                     18/07/2020,
                                               #:2006




       HSBC m
           DEDPDLBD
        P L      BRHML PDEDPDLBD LS ADP
       9



       8 W RM
       ,DLDEHBH PW A LI MB RHML                                                          ,DLDEHBH PW BBMSLR LS ADP 3,
           94 0       , 0                                                                 REDACTED

       8 W DLR BSPPDLBW                                                                  ,DLDEHBH PW L     D
                                                                                         8 9, .3 3 7 492 49.

       ,DLDEHBH PW A LI L      D                                                         ,DLDEHBH PW CCPD
           ,96     1 ,80 4., 9 ,                                                            84    ,7
                                                                                         ,74   @405 .,
       ,DLDEHBH PW A LI CCPD                                                               ,

                 , A,C90A C              6 9C              90A
       C      690A C 6

       ,DLDEHBH PW A LI BMCD        30     CCPD
        REDACTED



       0PM
       0         DWLPJT
        REDACTED              ,S HLD      3LRDFP RDC /      THLF



           C KD
       .DAHR       MSLR                                                                  8 W DLR        MSLR
                  EH GHUHSOLPHG DU UKH
       !       ULOH I F PWHSTL P
                                                                                               .    '     '
       /VBG LFD P RD

       ! ULOHEH GHUHSOLPHG
                I F PWHSTL P
                            DU UKH


       3 H   I D : H I C O FFBO / H                       BI FB I H   H      , DA I CC H: B         H I : D     B 9B   D
       05, 0 D 2 D   CC H: B , DA D                      9I 4B I          H DI : D 0 I HO KD       H :: KD I   D H     H
       4 OC D .    : :A    H DI : D                         BI



           DRR D DLR MNRHML
         HNHJSDRKLF USDPTIHS



       8 W DLR C RD
         VHTGDX        5VN
https://www.online-banking.business.hsbc.com.hk/portalserver/gbbportal/en-us/payments/local-payment#/acknowledgement       Page 1 of 2
            Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 123 of 212 Page
Make Payments / autoPay                                                                    ID 10)27 AM
                                                                                     18/07/2020,
                                               #:2007
         VHTGDX       5VN
        P L BRHML PDOSD R SA HRRDC UHRGHL AS HLD   GMSP UH AD NPMBD DC ML RGD       D C W 7RGDPUH D HR UH AD
       NPMBD DC ML RGD LDVR UMPIHLF C W



            GM N W MB             MTDP D        BG PFD                                 .DCSBR BG PFD EPM
       AH RDX N FDN EDPM FKDSJHT UKH EHPHILFLDSX RDXT WHSTHDT EDPM FKDSJHT                DOH DT GHELU DFF VPU



       5D          FD
       5D     FD RM ADLDEHBH PW
       1 8 8492 27           ,7 ,C809          8 9, .3
       3 7 492  1           49@ 01        3




       D     CTHBD
          K C O H K I KI    I D D C B         9         9 D : HO D H      HH B     9KI D II F H D HI D OD              C
       O K      I D KD I       9 D : HO   : H            02. F H C B BB 9      9    H C      :: KD O K IF :
        9     1 ,KI D II 1D H      :: KD I I B :           : H    BB 9  9       H C O KH 02. I D I :: KD               K
       : D H K I C CKC           KH C BI

           DFF VPUT     LPWHTUOHPUTILSTU F O
       0 75 53 1 147, 4 8         5/     7 57      -2 274.3 1      07 3      /0       2

           G PPD   OHSFKDPGHIIHFU F O
       0 75 53 1 147, 4 8         5/     7 57      -2 274.3 1      07 3      /0       2




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Make Payments / autoPay                                                                    ID 10)24 AM
                                                                                     18/07/2020,
                                               #:2008




       HSBC m
           DEDPDLBD
        P L     BRHML PDEDPDLBD LS ADP
       9



       8 W RM
       ,DLDEHBH PW A LI MB RHML                                                        ,DLDEHBH PW BBMSLR LS ADP 3,
           94 0      , 0                                                                REDACTED

       8 W DLR BSPPDLBW                                                                ,DLDEHBH PW L   D
                                                                                       8 9, .3 3 7 492 49.

       ,DLDEHBH PW A LI L     D                                                        ,DLDEHBH PW CCPD
                ,96 9 ,                                                                   84    ,7
                                                                                       ,74   @405 .,
       ,DLDEHBH PW A LI CCPD                                                             ,

              94. 770 8,7784990,              74 89
               84990, 74 84990                ,

       ,DLDEHBH PW A LI BMCD       30     CCPD
        REDACTED




       0PM
       0      CVKOIS
           REDACTED          ,S HLD      3LRDFP RDC /   THLF



           ACIBH
       .DAHR      MSLR                                                                 8 W DLR     MSLR
                 P DG FGTGRNKOGF CT TJG
       !       TKNG PH EPOVGRSKPO
                                                                                          .   '
       /VBG LFD P RD
           P DG FGTGRNKOGF CT TJG
       ! TKNG  PH EPOVGRSKPO
       1H :F :: B      F : A   DD     CF :H  D : : F: :F HC H :          B     CAA:F    4 F       : H CB     7 : CB H :
       .     .CB 0CB    CAA:F      B B K:7 H: : : C HC 4F B               H CB . HCF IB :F         CIBH CB CF H:F H :
           A:BH , H: HC : H : HF B   H CB :H



           DRR D DLR MNRHML
         GMGIRC JKE TRCOSHGR



       8 W DLR C RD
         UGSFCW       5UM
https://www.online-banking.business.hsbc.com.hk/portalserver/gbbportal/en-us/payments/local-payment#/acknowledgement      Page 1 of 2
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Make Payments / autoPay                                                                    ID 10)24 AM
                                                                                     18/07/2020,
                                               #:2009
         UGSFCW       5UM
        P L BRHML PDOSD R SA HRRDC UHRGHL AS HLD   GMSP UH AD NPMBD DC ML RGD       D C W 7RGDPUH D HR UH AD
       NPMBD DC ML RGD LDVR UMPIHLF C W



            GM N W MB             MTDP D        BG PFD                                  .DCSBR BG PFD EPM
       AG CW MPECM DCOL EJCRIGS TJG DGOGHKEKCRW CWS PVGRSGCS DCOL EJCRIGS               CNG CS FGDKT CEEPUOT



       5D          FD
       5D     FD RM ADLDEHBH PW
       1 8 8492 27 ,7 ,B809                    8 9, .3
       3 7 492 1   01 49@   3



       D     CTHBD
       5CI A F: I: H I HC :B B :A HC H : 7C : 7:B:    F B CF CH :F F: H: 7I B: D FHB:F BCH B H :A
        CI    : :BH IB HC H : 7:B:   F    F : C .0, D:F :A K 7: :7 H: FCA H :      CIBH CI D: :
        7C : /   I B: /BH: F H:    CIBH : : H: H :   F : K 7: :7 H: FCA CIF .0,     B     CIBH 5CI
         B F: I: H A AIA C CIF :A

           FPOOC   NGREJCOFGHHGET EPN
       0 75 53 1 147, 4 8         5/     7 57      -2 274.3 1 07       /0 3         2

           CEEPUOTS     KOVGSTNGOTSHKRST EPN
       0 75 53 1 147, 4 8         5/     7 57      -2 274.3 1 07       /0 3         2




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Make Payments / autoPay                                                                    ID 2(02 PM
                                                                                      29/07/2020,
                                               #:2010




       HSBC m
           DEDPDLBD
        P L       BRHML PDEDPDLBD LS ADP                                                D DFP NGHB RP L EDP PDEDPDLBD
                                                                                       LS ADP
                                                                                       47         .5



       8 W RM
       ,DLDEHBH PW A LI MB RHML                                                        ,DLDEHBH PW BBMSLR LS ADP 3,
                                                                                        REDACTED
       @ 5 10                1

       8 W DLR BSPPDLBW                                                                ,DLDEHBH PW L   D
       @ 0                                                                             9      = 4 4 805 3 5

       ,DLDEHBH PW A LI L        D                                                     ,DLDEHBH PW CCPD
       .      7       2   91=5                                                            95 = 8
                                                                                        85  A516
       ,DLDEHBH PW A LI CCPD                                                           @

          .=  0B D 1B D =7                      D         @   1B
       D =7 1B D =7

       ,DLDEHBH PW A LI BMCD          30    CCPD
            REDACTED



       0PM
       1@= EXM KU
        REDACTED
                                 ,S HLD    3LRDFP RDC /       THLF



       /K S R
       .DAHR          MSLR                                                             8 W DLR     MSLR

       /          )       ,,)                                                              . ),

       /VBG LFD P RD

       1@=                @ 0                                          TD 3   ' (

           RD J   R S C RDC R. ' 7SJ ' '   ).   .() 5

       9R DP EDD C B PFD K        J 4 P CDR HJ  JD D PDEDP R .R D 0 I 1 KKDPBH J PHEE DBRH                 T HJ AJD    R D
       5 01 5 F     F 1 KKDPBH J 0 IH F UDA HRD :JD D F R       P   BRH 5H R P S CDP /BB S R                    P ERDP R D
       : KD R 2 RD R B DBI R D RP   BRH CDR HJ



           DRR D DLR MNRHML
           IOIKTESLMG VTE UJIT



       8 W DLR C RD
https://www.online-banking.business.hsbc.com.hk/portalserver/gbbportal/en-us/payments/local-payment#/acknowledgement         Page 1 of 2
         Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 127 of 212 Page
Make Payments / autoPay                                                                 ID 2(02 PM
                                                                                   29/07/2020,
                                            #:2011
       8 W DLR C RD
         RHEY BIH IUHEY             6WO
        P L BRHML PDOSD R SA HRRDC UHRGHL AS HLD      GMSP UH AD NPMBD DC ML RGD        D C W 7RGDPUH D HR UH AD
       NPMBD DC ML RGD LDVR UMPIHLF C W



            GM N W MB                MTDP D         BG PFD                                .DCSBR BG PFD EPM
       BI SEY ORGEO FE N GLETKIU VLI FI IJMGMETY SEYU RXITUIEU FE N GLETKIU                EPI EU HIFMV EGGRW V



       5D          FD
       5D       FD RM ADLDEHBH PW
       2= 9 95 3 38 . 8               D91       9      = 4
       4 805 3  =      5               =12      4
          5 A



       D     CTHBD
         S K PDOSD R S R D C       DK HJ R R D A TD AD DEHBH P C P R DP PDJ RDC AS H D   PR DP               RHE H F R DK
         S TD D R ES C R R D AD DEHBH P / B PFD E 5 2 DP DK HJ UHJJ AD CDAHRDC EP K R D BB S R               S DBHEHDC
        A TD 6E 0S H D 6 RDFP RDC /BB S R H DJDBRDC R D B PFD UHJJ AD CDAHRDC EP K SP 5 2 TH F               BB S R     S
       B PDOSD R K HKSK E E SP DK HJ

           EGGRW VU,M XIUVPI VUJMTUV GRP
       0 75 53 1 147, 4 8            5/      7 57     -2 274.3 1          37       /0       2        3

           HR    E,PITGLE HIJJIGV GRP
       0 75 53 1 147, 4 8            5/      7 57     -2 274.3 1          37       /0       2        3




https://www.online-banking.business.hsbc.com.hk/portalserver/gbbportal/en-us/payments/local-payment#/acknowledgement        Page 2 of 2
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Make Payments / autoPay                                                                   ID 2(06 PM
                                                                                     29/07/2020,
                                               #:2012




       HSBC m
           DEDPDLBD
        P L       BRHML PDEDPDLBD LS ADP                                                D DFP NGHB RP L EDP PDEDPDLBD
                                                                                       LS ADP
                                                                                       47          .5



       8 W RM
       ,DLDEHBH PW A LI MB RHML                                                        ,DLDEHBH PW BBMSLR LS ADP 3,
       @ 5 10              1                                                               REDACTED

       8 W DLR BSPPDLBW                                                                ,DLDEHBH PW L    D
       @ 0                                                                             9      = 4 4 805 3 5

       ,DLDEHBH PW A LI L       D                                                      ,DLDEHBH PW CCPD
       .      7     2   91=5                                                              95 = 8
                                                                                        85  A516
       ,DLDEHBH PW A LI CCPD                                                           @

          .=  0B D 1B D =7                      D         @   1B
       D =7 1B D =7

       ,DLDEHBH PW A LI BMCD          30    CCPD
           REDACTED



       0PM
       1@= EXM KU
           REDACTED            ,S HLD      3LRDFP RDC /       THLF



       0          T S
       .DAHR        MSLR                                                               8 W DLR     MSLR

       /      ',           . ((                                                            . ('(

       /VBG LFD P RD

       1@=              @ 0                                           AUE 4   (

         ASE KARS TODASED AS/ '. 8TK ' '   )/   / ' 69

       :SHE FEER A D CHA ER A AOOK 5 DESAIKR OKEARE EFE S /SHE 1A J R 2   E CIAK A IFF RECSI AUAIKABKE   SHE
       6 12 6     9     2   E CIAK 1A JI  EBRISE KEARE  S    A RACSI 6IRS    T DE 0CC T SR          AFSE SHE
        A E S 3ASE S CHECJ SHE S A RACSI DESAIKR



           DRR D DLR MNRHML
           IOIKTESLMG VTE UJIT



       8 W DLR C RD
https://www.online-banking.business.hsbc.com.hk/portalserver/gbbportal/en-us/payments/local-payment#/acknowledgement    Page 1 of 2
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Make Payments / autoPay                                                                ID 2(06 PM
                                                                                  29/07/2020,
                                            #:2013
       8 W DLR C RD
         RHEY BIH IUHEY             6WO
        P L BRHML PDOSD R SA HRRDC UHRGHL AS HLD      GMSP UH AD NPMBD DC ML RGD        D C W 7RGDPUH D HR UH AD
       NPMBD DC ML RGD LDVR UMPIHLF C W



            GM N W MB                MTDP D      BG PFD                                   .DCSBR BG PFD EPM
       BI SEY ORGEO FE N GLETKIU VLI FI IJMGMETY SEYU RXITUIEU FE N GLETKIU                EPI EU HIFMV EGGRW V



       5D          FD
       5D       FD RM ADLDEHBH PW
       2= 9 95 3 38 . 8   D91                 9        = 4
       4 805 3  =       5  =12                    4
          5 A



       D     CTHBD
         T A EPTERS TR S RE D A E AIK S SHE AB UE BE EFICIA A D         SHE EKASED BTRI ERR OA S E R SIF I SHE
         T HAUE RE S FT DR S SHE BE EFICIA 0 CHA E F 693 OE E AIK IKK BE DEBISED F      SHE ACC T S T ROECIFIED
       AB UE 7F 1TRI ERR 7 SE ASED 0CC T S IR REKECSED SHE CHA E IKK BE DEBISED F     T 693 RAUI R ACC T S     T
       CA EPTERS A A I T        F F T E AIKR

           EGGRW VU,M XIUVPI VUJMTUV GRP
       0 75 53 1 147, 4 8            5/   7 57        -2 274.3 1         - 37      /0         2       3

           HR    E,PITGLE HIJJIGV GRP
       0 75 53 1 147, 4 8            5/   7 57        -2 274.3 1         - 37      /0         2       3




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Make Payments / autoPay                                                                   ID 4)44 PM
                                                                                     05/08/2020,
                                               #:2014




       HSBC m
           EFE EMCE
           AMRACSINM EFE EMCE MTLBE                                                      E EG AOHIC S AMRFE EFE EMCE
                                                                                        MTLBE
                                                                                        47          .5



       9A SN
       -EMEFICIA       BAM    NCASINM                                                   -EMEFICIA ACCNTMS MTLBE        4-,7
       @ 5 10             1                                                               REDACTED

       9A LEMS CT EMC                                                                   -EMEFICIA   MALE
       @ 0                                                                              9        = 4 4 805 3 5

       -EMEFICIA       BAM MALE                                                         -EMEFICIA   ADD ERR
       .      7    2   91=5                                                                95 = 8
                                                                                         85  A516
       -EMEFICIA       BAM ADD ERR                                                      @

          .=  0B D 1B D =7                    D           @    1B
       D =7 1B D =7

       -EMEFICIA BAM CNDE               41 ADD ERR
        REDACTED




       1 NL
       1@= EXM KU
           REDACTED               -TRIMERR 4MSEG ASED 0       AUIMGR



       /          RK
       /EBIS ALNTMS                                                                     9A LEMS ALNTMS

       0      ' ' )               ,                                                         /'

       0WCHAMGE ASE

       1@=             @ 0                                                SC 3 :   (,

       : C I P R B CB         .   /RE ' '    .)(.    5

       8 FCO DCCP KB AF OECP        I 4 O BC IP IC PC OCDCO            . FC 0 KH P 1   COA I O DD PCA K S I IC K FC
       5 01 5 KE     KE 1    COA I 0 KH KE TC P C 9IC PC E                O KP A K 5 P O RKBCO /AA RK P K O D CO FC
       9     CK 2 C     AFCAH FC O KP A K BC IP



           ESS ELEMS NOSINM
           IOIKTESLMG VTE UJIT



       9A LEMS DASE
https://www.online-banking.business.hsbc.com.hk/portalserver/gbbportal/en-us/payments/local-payment#/acknowledgement          Page 1 of 2
         Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 131 of 212 Page
Make Payments / autoPay                                                                ID 4)44 PM
                                                                                  05/08/2020,
                                            #:2015
       9A LEMS DASE
         RHEY BIH IUHEY         WK
         AMRACSINM EPTERS RTBLISSED VISHIM BTRIMERR HNT R VI BE O NCERRED NM SHE RALE DA     8SHE VIRE IS VI BE
       O NCERRED NM SHE MEWS VN IMG DA



           HN OA R NCA           NUE REAR CHA GER                                      /EDTCS CHA GER F NL
       BI SEY ORGEO FE N GLETKIU VLI FI IJMGMETY SEYU RXITUIEU FE N GLETKIU                EPI EU HIFMV EGGRW V



          ERRAGER
         ERRAGE SN BEMEFICIA
       2= 9 95 3 38 . 8  D91                  9     = 4
       4 805 3 2 =     938                  5 A



       E ,DUICE
         R      OC RCP RP    PCKB K C    I   FC   SC CKCD A O KB O FCO OCI CB RP KCPP O KCOP K D KE FC
         R F SC PCK DRKBP     FC CKCD A O / AF OEC D 5 2 CO C      I T II C BC CB DO     FC AA RK   R P CA D CB
          SC 6D 0RP KCPP 6K CEO CB /AA RK P PCICA CB FC AF OEC T II C BC CB DO       RO 5 2 P S KEP AA RK      R
       A K OC RCP      U R      D D RO C  IP

          EGGRW VU,M XIUVPI VUJMTUV GRP
       1 8      472 258-,5 9,      07   8    87, .3 385/472 18              25        47

          HR   E,PITGLE HIJJIGV GRP
       1 8      472 258-,5 9,      07   8    87, .3 385/472 18              25        47




https://www.online-banking.business.hsbc.com.hk/portalserver/gbbportal/en-us/payments/local-payment#/acknowledgement   Page 2 of 2
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Make Payments / autoPay                                                                    ID 11(23 AM
                                                                                     11/08/2020,
                                               #:2016




       HSBC m
           EFE EMCE
           AMRACSINM EFE EMCE MTLBE                                                         E EG AOHIC S AMRFE EFE EMCE
                                                                                           MTLBE
                                                                                           47          .5



       9A SN
       -EMEFICIA       BAM    NCASINM                                                      -EMEFICIA   ACCNTMS MTLBE      4-,7
       @ 5 10             1                                                                    REDACTED

       9A LEMS CT EMC                                                                      -EMEFICIA   MALE
       @ 0                                                                                 9      = 4 4 805 3 5

       -EMEFICIA       BAM MALE                                                            -EMEFICIA   ADD ERR
       .      7    2   91=5                                                                   95 = 8
                                                                                            85  A516
       -EMEFICIA       BAM ADD ERR                                                         @

          .=  0B D 1B D =7                       D           @    1B
       D =7 1B D =7

       -EMEFICIA       BAM CNDE            41 ADD ERR
             REDACTED



       1 NL
       1@= EXM KU
        REDACTED
                                  -TRIMERR 4MSEG ASED 0          AUIMGR



       /          RK
       /EBIS ALNTMS                                                                        9A LEMS ALNTMS

       0      ' (,                '                                                            / ')

       0WCHAMGE ASE

       1@=             @ 0                                                   SC 3 :

       : C I P R B CB         .       /RE ' '   .' .(   57

       8 FCO DCCP KB AF OECP        I    O BC IP IC PC OCDCO              . FC 0 KH P 1   COA I O DD PCA K S I IC K FC
       5 01 5 KE 7 KE 1      COA I 0 KH KE TC P C 9IC PC E                   O KP A K 5 P O RKBCO /AA RK P K O D CO FC
       9     CK 2 C     AFCAH FC O KP A K BC IP



           ESS ELEMS NOSINM
           IOIKTESLMG VTE UJIT



       9A LEMS DASE
https://www.online-banking.business.hsbc.com.hk/portalserver/gbbportal/en-us/payments/local-payment#/acknowledgement             Page 1 of 2
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Make Payments / autoPay                                                                 ID 11(23 AM
                                                                                  11/08/2020,
                                            #:2017
       9A LEMS DASE
         RHEY   WIUHEY         WK
         AMRACSINM EPTERS RTBLISSED VISHIM BTRIMERR HNT R VI BE O NCERRED NM SHE RALE DA   8SHE VIRE IS VI BE
       O NCERRED NM SHE MEWS VN IMG DA



           HN OA R NCA              NUE REAR CHA GER                                   /EDTCS CHA GER F NL
       BI SEY ORGEO FE N GLETKIU VLI FI IJMGMETY SEYU RXITUIEU FE N GLETKIU             EPI EU HIFMV EGGRW V



          ERRAGER
         ERRAGE SN BEMEFICIA
       2= 9 95 3 38 . 8             D91     9       = 4
       4 805 3 2 = =                 5  =12
         938      5 A



       E ,DUICE
         R      OC RCP RP    PCKB K C    I   FC   SC CKCD A O KB O FCO OCI CB RP KCPP O KCOP K D KE FC
         R F SC PCK DRKBP     FC CKCD A O / AF OEC D 572 CO C      I T II C BC CB DO     FC AA RK   R P CA D CB
          SC 6D 0RP KCPP 6K CEO CB /AA RK P PCICA CB FC AF OEC T II C BC CB DO       RO 572 P S KEP AA RK      R
       A K OC RCP      U R      D D RO C  IP

          EGGRW VU,M XIUVPI VUJMTUV GRP
       1 8      472 258-,5 9,        07   8   87, .3 385/472 18        ,7 ,. 487 01 78            25        47

          HR    E,PITGLE HIJJIGV GRP
       1 8      472 258-,5 9,        07   8   87, .3 385/472 18        ,7 ,. 487 01 78            25        47




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Make Payments / autoPay                                                                    ID 7)38 PM
                                                                                      17/08/2020,
                                               #:2018




       HSBC m
           FGFRFNDF
        RBNSBDT ON RFGFRFNDF NUMCFR                                                     FLFHRBPI D TRBNSGFR RFGFRFNDF
                                                                                       NUMCFR
                                                                                       58            6



       :BY TO
       .FNFG D BRY CBN LODBT ON                                                        .FNFG D BRY BDDOUNT NUMCFR 5.-8
       A 6@21 @.@2                                                                       REDACTED

       :BYMFNT DURRFNDY                                                                .FNFG D BRY NBMF
       A 1                                                                             :    . 05 5 916 4 6 0

       .FNFG D BRY CBN NBMF                                                            .FNFG D BRY BEERFSS
           . 8    3 .:2 60.       .                                                       :6 @ .9
                                                                                       .96   B627 0.
       .FNFG D BRY CBN BEERFSS                                                         A .

               .1C.E 2C E             8   E        A    2C
       E    8 2C E 8

       .FNFG D BRY CBN DOEF       52 BEERFSS
         REDACTED



       2ROM
       2A        FYNRLV
           REDACTED        .US NFSS 5NTFHRBTFE 1       BV NHS



           BD CI
       0FC T BMOUNT                                                                    :BYMFNT BMOUNT
             @S GJ IJWJU NRJI FW WMJ
       !                                                                                   0'
             WN J SK HSRYJUVNSR

       1 DIBNHF RBTF

       ! @S GJ IJWJU NRJI FW WMJ
         WN J SK HSRYJUVNSR
        I     H 7C: 7  H B7 7 A .D : I7 AH A 7H                    ID I 7C H ,DBB       7A 7    H    I DC 7K7 A7 A DC I
       /4 , /DC 1DC ,DBB    7A 7C C        H I 3A 7H            D ID 7CH7 I DC / HID    C:          D CIH DC D 7 I I
       37 B CI 7I ID      I I 7CH7 I DC : I7 AH



           FTTLFMFNT OPT ON
       @JPJLUFTMNH WUFRVKJU



       :BYMFNT EBTF

https://www.online-banking.business.hsbc.com.hk/portalserver/gbbportal/en-us/payments/local-payment#/acknowledgement      Page 1 of 2
           Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 135 of 212 Page
Make Payments / autoPay                                                                   ID 7)38 PM
                                                                                     17/08/2020,
                                              #:2019

       @SIF    :SRIF       .XL
        RBNSBDT ON RF UFST SUCM TTFE W TI N CUS NFSS IOURS W LL CF PRODFSSFE ON TIF SBMF EBY   TIFRW SF T W LL CF
       PRODFSSFE ON TIF NF T WOR NH EBY



           IO PBYS LODBL OVFRSFBS DIBRHFS                                                0FEUDT DIBRHFS GROM
       CJ TF PSHFP GFRO HMFULJV WMJ GJRJKNHNFU TF V SYJUVJFV GFRO HMFULJV                 F J FV IJGNW FHHSXRW



       7FSSBHFS
       7FSSBHF TO CFNFG D BRY
       3 : :6 4 49         .9 .E:2 @ @ :           . 05
       5 916 4 @ .         .0@6  23    ,
       :49      6 B



       F -EV DF
       6D B7   F HI H ID H C: 7C B7 A ID I 7 DK    C             7   7C: D DI       A7I : H C HH 7 IC H CDI C I B
        D 7K H CI C:H ID I      C  7       7    D /1                  B7 A AA     : I : DB I 7 D CI D H         :
       7 DK 0   H C HH 0CI 7I :   D CI H H A I : I              7      AA   :    I : DB D /1 H7K C H 7 D CI 6D
        7C F HI 7 B7 B B D D      B7 AH

           FHHSXRWV-NRYJVW JRWVKNUVW HS
       2    7 7583 36 .-6 :-A718           7 8- /4 4 60583           -8 -/ 5 8 12 8       ,     736          58

           ISRRF- NRL LPSGFP HS
       2    7 7583 36 .-6 :-A718           7 8- /4 4 60583           -8 -/ 5 8 12 8       ,     736          58




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                                   #:2020




     EXHIBIT 24
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                                   #:2021




           REMITTANCE INSTRUCTIONS
 Beneficiary Account Name:             MONARCH HOLDINGS INC.

 Beneficiary Address:                  33 MISTRAL
                                       ALISO VIEJO, CA
                                       USA 92656

 Beneficiary Account Number:              REDACTED



 Beneficiary Bank Name:                US BANK

 Beneficiary Bank Address:             800 NICOLLET MALL
                                       MINNEAPOLIS, MN
                                       USA 55402

 Routing Number:                       REDACTED



 SWIFT Code:                              REDACTED



 Amount:                               US $475,000.00

 Important: In the additional information filed of your transfer request, please enter the following
 information only. This will ensure that your transfer is correctly allocated and will ensure that
 delays are avoided.

                    Payment Reference: 2020-SH-471243-INV
 Please remember, we are here to help. If there is anything that you are unsure about, please
 contact your representative immediately.
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                                   #:2022




     EXHIBIT 25
                                                   Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 139 of 212 Page ID
                                                                                      #:2023




                        .. First   Easter t1
                           Investm e nts Lirn it Gd
          --..::
                                                                                                                                                                       TRADE CONFIRMATION

                                                                                                                                                            Transaction Date

   Ming Global Limited                                                                                                            Trade Date:
                                                                                                                                   30 Jul 2020
                                                                                                                                                                      Settlement Date:
                                                                                                                                                                       N/A
This is to confirm that we have bought and/or sold the following:
  Transaction           Type           Trade Time           Exchange                        Security                              Qty      Price (US$}             Buy                        Sell
   SELL                   LT          AFTER HOURS            NASDAQ    RPRX - Royalty Pharma - CUSIP: REDACTED                  250,000          $ 42.51                                  $ 10,627,500.00
                                                                                                                            - - - -- -- - - - - - - - -- - - - -- - - - - - -

                                                                                                                                 Gross Amount                                            $ 10,627,500.00
   Notices For This Order:                                                                                                      r --
   ■ Unless you have already instructed us differently, we will hold proceeds on account pending further Instructions.           Commission                                                          $ 0.00
   ■ Exchange Process Fee: This fee offsets processing costs incurred by First Eastern Investments Limited for the exchange
   of Securities Including those relating to assessments on broker-dealers by an exchange or other SRO for equity, option, or     Exch. Process Fee                                                  $ 0.00
   other covered security sell transactions.
                                                                                                                                 Total Amount                                            $ 10,627,500.00
   ■ First Eastern Investments Limited acted as your agent.
                                                                                                                                 Amount Due From/(To) Client                 ($ 10,627,500.00}
==================================================-------------------------------------------
                                                   Instructions To Fund Your Account
   Please note that the receiving account is that of our international stock transfer and escrow agent who are a trusted, Independent, 3rd party transfer and escrow service, that provides
   protection for both Buyer and Seller.
   As a reminder, please take note of the following:
    • When remitting funds by way of Telegraphic Transfer, please secure a receipt from the issuing bank and furnish us with a copy via e-mail.
    • Should your bank require "Further Reference" data, please Input the required information In this field so as to expedite the processing of your fund transfer. Placing any
      other information may cause delays In the process.
   Finally, we will at no time time during our relationship, ask you to wire/transfer funds directly to First Eastern Investments Limited.



   Registered Office                                        Telephone                                Emall Address                                         Website
   28 Hennessy Rd,                                          +852 3002 4430                           info@investmentsfirst.com                             www.investmentsfirst.com
   Wan Chai, Hong Kong
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                                   #:2024




     EXHIBIT 26
       Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 141 of 212 Page ID
                                          #:2025

Wealth Management Q(Jice
28 Hennessy Road,
Wan Chai, Hong Kong
                                                                                                    First    Eastern
                                                                                                    Inves t ments Lim i t ed
S.A.R. China


On The Web: www.investmentsfirst.com
Email lnqujrie5• infofa i111·estme11tsfirst.com




Our Reference: RCP-SHAHEG-13
                                                                                                Account Representative: Peter Lynd
Ming Global Limited
1206 Eastern Commercial Centre,
397 Hennessey Road .
Wan Chai, Hong Kong                                                                                           11111111111111111111111111


                                                     TRANSACTION RECEIPT
TRANSACTION OVERVIEW:

           Transaction Reference:                                      2020-SH-471243-INV

           Transaction Type:                                           Purchase

           Securities / Quantity/ PPS($)                               NASDAQ: RPRX WARRANTS/ 300,000 / $19.00

           Commission Rate:                                            N/A

           Total Transaction Value:                                    $5,700,000.00


RECEIPT INFORMATION:

           Amount Credited To Account:                                 $242,945.40

           Date Credited:                                              July 17, 2020



ACCOUNT CREDIT CONFIRMATION:

                                                                                                      ..,__,./wt er n
                                                                                                             Limited

                                                                                                         (~O
            Ifyou have any questions or believe that the above information is incorrect please consult your
                                        Account Representative immediately.


           · Tfui.nk you for your business. We look forward to working with you and helping you to achieve
                                               your investment objectives.



First Eastern Inveshnents-A Trading Name of First Eastern ltd.                                                Company license & Registration

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Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 142 of 212 Page ID
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     EXHIBIT 27
            Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 143 of 212 Page
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         Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 144 of 212 Page
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Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 145 of 212 Page ID
                                   #:2029




     EXHIBIT 28
Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 146 of 212 Page ID
                                   #:2030                                                                                                 4607909
                                                                                          S&DC-S/N
                          Secretary of State
                          Statement and Designation by
                          Foreign Corporation                                                                                          FILEDG
   IMPORTANT- Read lnstru•~ona before completing this fonn.                                                                     Secretary of State
                                                                                                                                State of California
   Musi be submitted with a currant Certlllaallt of Cood standing Issued by the
   government agency where Iha corpon,llon was fonned. See Instructions.
   l'lllng l'N      -    $100.00 (for a foreign lloclc corporation) or
                                                                                                                                    JUN 18 2020 ~
                         $30.00 (for a !(,reign nonprotll corporation)
   Copy l'N9 -           First page $1.00; each attachment page $0.50;
                         Certification Fee - $5.00
   Note: Corporations may have lo pay minimum $800 tax ID the California
   Franchise Tax Board each year. For mere lnlonndon, go ID www.llb.ca.gov.                                              This Space For Olllce Uee Only

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            far general corporate name n,quilements ao,d lflbitlk.,..)                                                the Cetlific:ale of Good Standing provided.)


    Monarch Holdings Inc. Which Will Do Business In California
   As Monarch Intemation Inc.                  ·                                                                                     Nevada


   3.      Business Addresses (Enter the oomplete buslneas addresses. Items 3a and 3b cannot be a P.O. Box or •in care of' an individual or entity.)

   a. Initial StNet Addreu of Pltnclpal Executive Office - Da    not....., a P.O. Bo        City (no abbrevlatlona)                       Slala     Zip Code

      1625 N. El Camino Real, Unit B                                                        San aemente                                    CA      92672
   b. Street -          or Po1ncipal Offlce In Colllomla, If any-Do .... -     • P.O. -     City (no abbrevlatlonl)                       Stale     Zlp<:ooe

      1625 N. El Camino Real, Unit B                                                        San aemente                                    CA      92672
   c. Mallng Addreu of Po1ncipal Exealllve Offlce, l f - - l l o m 3 a                      Ctty (no abbrevlatlonl)                        Stale    Zip Code




   4.      Service of Process (Mual provide -                 lndMdual OR Co!J,oralion.)
           INOMDUAL-Complele ltema 4a and 4b only. -                    include_,... tun   name and C.lllomla -         addll!la.
   a. Calllomla Agenl'o Am Name (If agent II -        • "",.. allu11)                       MlddloName                     Loot Name                              Suffix

   Veronica                                                                                                                So
   b. S11Nt Addreu (ti' agent II not a c:orpm ■tlon) • Da not ...... • P.O. Bu              Ctty (no ablnvlatlons)                        Stale     Zip,,_

    1625 N. El camlno Real, Unit B                                                          San aemente                     .              CA      92672
           CORPORATION -Complete Item 4c. Only Include the name of the registered agent Corporation.

  Ic. C o - - " " ' Curpurale Agenl'a Name ( I f - la. w.,..alkA1) Do not oamplela llem 411 er 4b




    5.     Read and Sign Below (See lnstruc~ons. Office or IJlle not n,qulll!d.)



              vjl.,~(..-..· ~o
    I am a corporate officer and am authorized to sign on behalf of the foreign corporation.

                                                                                                  Veronica So
      Signature                                                                                     Type or Print Name

  s&DC-SIN (REV 08/2019)                                                                                                                    2019 caotomia Secretary ol S1ate
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Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 147 of 212 Page ID
                                   #:2031
                                                                                               4607909
                              sEcRETARY OF STATE




                          CERTIFICATE OF EXISTENCE
                        WITH STATUS IN GOOD STANDING

        I, Barbara K. Cegavske, the duly qualified and elected Nevada Secretary of State, do hereby certify that
        I am, by the laws of said State, the custodian of the records relating to filings by corporations, non-profit
        corporations, corporations sole, limited-liability companies, limited partnerships, limited-liability
        partnerships and business trusts pursuant to Title 7 of the Nevada Revised Statutes which are either
        presently in a status of good standing or were in good standing for a time period subsequent of 1976 and
        am the proper officer to execute this certificate.

        I further certify that the records of the Nevada Secretary of State, at the date of this certificate,
        evidence, MONARCH HOLDINGS INC., as a DOMESTIC CORPORATION (78) duly organized
        under the laws of Nevada and existing under and by virtue of the laws of the State of Nevada
        since 03/25/2019, and is in good standing in this state.




                                                           IN WITNESS WHEREOF, I have hereunto set my
                                                           hand and affixed the Great Seal of State, at my
                                                           office on 06/12/2020.


                                                                  ~K-~
                                                                    BARBARA K. CEGA VSKE
     Certificate Number: B20200612855754                               Secretary of State
     You may verify this certificate
     online at http://www.nvsos.gov
Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 148 of 212 Page ID
                                   #:2032




     EXHIBIT 29
Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 149 of 212 Page ID
                                   #:2033
                 California Secretary of State
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                 Electronic Filing                                                    Secretary of State
                                                                                      State of California


 Corporation - Statement of Information
                             Entity Name:          MONARCH HOLDINGS INC. WHICH
                                                   WILL DO BUSINESS IN CALIFORNIA
                                                   AS MONARCH INTERNATION INC.
                      Entity (File) Number:        C4607909
                                      File Date:   08/05/2020
                                   Entity Type:    Corporation
                                   Jurisdiction:   NEVADA
                               Document ID:        GH54480

 Detailed Filing Information

 1. Entity Name:                                        MONARCH HOLDINGS INC. WHICH
                                                        WILL DO BUSINESS IN CALIFORNIA
                                                        AS MONARCH INTERNATION INC.
 2. Business Addresses:
     a. Street Address of Principal
        Office in California:                           1625 N. El Camino Real, Unit B
                                                        San Clemente, California 92672
                                                        United States of America

     b. Mailing Address:                                1625 N. El Camino Real, Unit B
                                                        San Clemente, California 92672
                                                        United States of America


     c. Street Address of Principal
        Executive Office:                               1625 N. El Camino Real, Unit B
                                                        San Clemente, California 92672
                                                                                                     Document ID: GH54480

                                                        United States of America
 3. Officers:

     a. Chief Executive Officer:                        Veronica So
                                                        1625 N. El Camino Real, Unit B
                                                        San Clemente, California 92672
                                                        United States of America
     b. Secretary:                                      Veronica So
                                                        1625 N. El Camino Real, Unit B
                                                        San Clemente, California 92672
                                                        United States of America
           Use bizfile.sos.ca.gov for online filings, searches, business records, and resources.
Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 150 of 212 Page ID
                                   #:2034
                  California Secretary of State
                  Electronic Filing


 Officers (cont'd):
     c. Chief Financial Officer:                          Veronica So
                                                          1625 N. El Camino Real, Unit B
                                                          San Clemente, California 92672
                                                          United States of America

 4. Director:                                             Not Applicable



     Number of Vacancies on the Board of
     Directors:                                           Not Applicable

 5. Agent for Service of Process:                         Veronica So
                                                          1625 N. El Camino Real, Unit B
                                                          San Clemente, California 92672
                                                          United States of America
 6. Type of Business:                                     Investment




     By signing this document, I certify that the information is true and correct and that I am authorized by
     California law to sign.




     Electronic Signature:   Veronica So

                                                                                                                Document ID: GH54480

             Use bizfile.sos.ca.gov for online filings, searches, business records, and resources.
Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 151 of 212 Page ID
                                   #:2035




     EXHIBIT 30
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                       1625 N El Camino Real - San Clemente CA - MapQuest
                       View detailed information and reviews for 1625 N El Camino Real in San Clemente, California
                       and get driving directions with road conditions and live traffic ...
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                       www.redfin.com >San-Clemente> unit-25 >home ,.

                       1520 N El Camino Real #25, San Clemente, CA 926721 MLS .. .
                       1520 N El Camino Real #25, San Clemente, CA 92672 · $799000 · MLS# OC20107023 ... deck for
                       relaxation, entertaining and basking in the Southern California sunshine .... 416 Avenida Santa
                       Barbara Unit B, San Clemente, CA 92672.
                       $799,000.00- In stock
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                       www.redfin.com >San-Clemente> unit-14 >home ,.

                       1520 N El Camino Real #14, San Clemente, CA 926721 MLS ...
                       Aug 20, 2020- B. SOLD AUG 28, 2020. $922,500. 1520 N B Camino Real #20 San Clemente, CA
                       92672. 2 ... 416 Avenida Santa Barbara Unit B San Clemente, CA 92672 ... B Camino Real
                       Apartment 14, San Clemente, California 92672.
                       $739,000.00
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                       www.apartments.com >... , California> San Clemente .,.

                       2707 S El Camino Real Unit 8, San Clemente, CA 92672 ...
                       San Clemente is the perfect beachside residential area on the California coast. Midway between
                       Los Angeles and San Diego, San Clemente has the best of both ...
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                       www.apartments.com >California >San Clemente ,.

                       3205 S El Camino Real Unit 8, San Clemente, CA 92672 ...
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                       the perfect beachside residential area on the California coast.
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                     www.trulia.com >CA> San Clemente> 92672 ,,.       #:2037
                       2501 S El Camino Real #310 San Clemente, CA 92672 - Trulia
                       2501 S B Camino Real #310, San Clemente, CA 92672 is a 1564 sqft, 3 bed, 2 bath ... One of
                       only 18 3-bedroom units in the 60-unit Ocean Fairways building, this is a ... Great vibe and this is
                       what califomia is about!! ... Town is more mon n pop than most and has a kicked back vibe ....
                       210 Avenida Victoria #B ... $1,625/mo.


                       www.realtor.com >... >San Clemente> El Camino Real ,,.

                       808 N El Camino Real# B, San Clemente, CA 92672- realtor ...
                       View 14 photos for 808 N El Camino Real# B, San Clemente, CA 92672 a 1 bed, 1 bath, 650 Sq.
                       Ft. condos built in .
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                       www.realtor.com >... >San Clemente> Avenida Califla ,,.

                       210 Avenida Califla Apt B, San Clemente, CA 92672 - realtor .. .
                       View 29 photos for 210 Avenida Califla Apt B, San Clemente, CA 92672 a 6 bed, 4 bath, ... the
                       bottom 2bdr/1 ba unit has a peek view of the ocean but views of San Clemente State Park .... 9,
                       San Clemente High School, 9-12, 2.4 mi ... other San Clemente property records, California
                       public records, and other vital real estate .. .


                       www.zillow.com >... >San Clemente> 92672 >92672 ,,.

                       3405 S El Camino Real APT B, San Clemente, CA 92672 ...
                       Newly remodeled, this property is very close to one of the most famous surf spot in all of
                       California, San Onofre/Trestles Beach. In fact it is within walking distance ...
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                       www.loopnet.com >... >California >San Clemente ,,.

                       1445 N El Camino Real, San Clemente, CA 92672 - Loop Net
                       Jul 6, 2020- 1445 N El Camino Real, San Clemente, CA 92672 . ... It is also in one of the
                       California designated Opportunity Zones that may be eligible for ... The subject property is a two-
                       story Seven (7) Unit Apartment building consisting of ...
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                       Related searches

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                                    rent                                                    Clemente

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                                    For rent San Clemente
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                                    Studio Apartments for rent near
                                    San Clemente, CA




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                       Help      Send feedback        Privacy      Terms




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1623 N El Camino Real - Google Maps                                      Page 1 of 1
 Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 154 of 212 Page ID
                                    #:2038



  Google Maps         1623 N El Camino Real




                                                             Image capture: Jun 2016    © 2020 Google

                                                             San Clemente, California

                                                                  Google

                                                            Street View




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Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 155 of 212 Page ID
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     EXHIBIT 31
Monarch Holdings Inc.                                                    Page 1 of 3
 Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 156 of 212 Page ID
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                                   CONTACT


    OUR ADDRESS

          33 Mistral
           Aliso Viejo,
           CA 92656
           USA

           info@monarchholdingsinc.com (mailto:info@monarchholdingsinc.comm)


    CONTACT FORM


    Name *
        Name

    Email *
        Email

    Comment




https://monarchholdingsinc.com/contact.html                                  9/21/2020
Monarch Holdings Inc.                                                    Page 2 of 3
 Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 157 of 212 Page ID
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      Message




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Monarch Holdings Inc.                                                    Page 3 of 3
 Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 158 of 212 Page ID
                                    #:2042




  Contact Info

   33 Mistral

      Aliso Viejo,
      CA 92656
      USA


  ✉ info@monarchholdingsinc.com (mailto:info@example.com)

  Quick links

  Home (index.html)

  Services (services.html)

  Shareholders (Shareholders.html)

  FAQs (faqs.html)

  Contact Us (contact.html)

  Subscribe us

  Subscribe to our newsletter to get daily updates



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    Subscribe                                                  




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                                     MONARCH HOLDINGS INC .


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Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 159 of 212 Page ID
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     EXHIBIT 32
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                      www.redfin.com , CA, 33-Mistral-92656, home •

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                      2 beds, 1260 sq . ft. condo located at 33 MISTRAL, Aliso Viejo, CA 92656 sold for $467500 on
                      Dec 9, 2005. ML$# S417473. PRICE TO SELL!! WILL NOT LAST ...
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                                              ~ Homewood Suites by
                                              T   Hi lton Aliso Viejo ...                                    AlisoViejoO
                                                                                                        Middle School    Y

                                                                                                                                 _ Map dala ©2020


                         33 Mistral
                        Aliso Viejo, CA 92656                                                                                    DIRECTIONS




                      www.realtor.com , ... , Aliso Viejo , Mistral

                      33 Mistral, Aliso Viejo, CA 92656 - realtor.com®
                      Feb 15, 2020 - View 1 photos for 33 Mistral, Aliso Viejo, CA 92656 a 2 bed, 3 bath, 1291 Sq. Ft.
                      condo/townhome/row home/co-op built in 1994 that sold on ...


                      www.trulia.com >CA> Aliso Viejo> 92656 •

                      33 Mistral, Aliso Viejo, CA - 2 Bed, 2 Bath Condo I Trulia
                      33 Mistral, Aliso Viejo, CA 92656 is a 1291 sqft, 2 bed, 2 bath home sold in 2005. See the
                      estimate, review home details, and search for homes nearby.


                      monarchholdingsinc.com ,,.

                      Monarch Holdings Inc.
                      We're here to help. Contact Info. 33 Mistral. Aliso Viejo, CA 92656. USA.


                      www.peoplesearchnow.com , address, 33-mistraLaliso-...

                      33 Mistral, Aliso Viejo, CA - People Search Now
                      35 Results - Discover detailed information about the property at 33 Mistral, Aliso Viejo, CA. Start
                      your search today at peoplesearchnow.com .


                      www.zillow.com , ... , Aliso Viejo , 92656 , 92656 ,,.

                      27 Mistral, Aliso Viejo, CA 92656 I Zillow
                      27 Mistral, Aliso Viejo, CA is a condo home that contains 1,291 sq ft and was built in 1994. It
                      contains 2 bedrooms and 2.5 bathrooms. This home last sold for ...


                      www.zillow.com , ... , Aliso Viejo , 92656 , 92656 •

                      31 Mistral, Aliso Viejo, CA 92656 I Zillow

https://www.google.com/search?ei=NBdpX-6ZONK2kwXPrL-oCQ&q=33+mistral+aliso+viejo+ca&oq=33+mistral+aliso&gs_lcp=CgZwc3ktYWIQARgB ...                 1/2
9/21/2020Case    8:20-cv-01852-JVS-KES Document   57-1
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                      www.realtytrac.com >... >Aliso Viejo> 92656 •

                      House Prices at Mistral, Aliso Viejo, CA, 92656 I RealtyTrac
                      Search for Mistral house prices in Aliso Viejo, CA, get detailed real estate information on
                      comparable home values, nearby schools, building permits and more.


                      ~ Images for 33 mistral aliso viejo ca

                        southwind aliso       pmz      indigo pl    mission viejo      laguna hills     windridge aliso       V




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                                                                                                                    Report images

                                                      ➔                 View all




                      www.beenverified.com >... >CA >Aliso Viejo •

                      Mistral, Aliso Viejo, CA 92656 - Who lives on this street ...
                      Find out who owns property on Mistral in Aliso Viejo, California. ... 33 Mistral Aliso Viejo, CA
                      92656. Year Built: 1994; Property Tax: $4.3K per year; Market Value: ...




                                                        1 2 3 4 5 6 7 8 9 10                     Next


                        Orange County, California - Based on your past activity - Use precise location - Learn more

                      Help     Send feedback        Privacy    Terms




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                                                                                                     Image capture: Oct 2011   © 2020 Google

 Aliso Viejo, California

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 Street View

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   We fo und 9 results                                                                               List View

    MONARCH PLAN ADVISORS                              MONARCH WEALTH STRA TEGI E3.1ONARCH ADVISOR                                              MONARCH WEALTH
    (MONARCH PLAN ADVISORS...)                                                   STRATEGIES, LLC
                                                       (MONARCH WEALTH STRATEGIES...)                                                           MANAGEMENT GROUP, LLC
    CRD#: 286612/SEC#: 801-111651                      CRD#: 136029/SEC#: 801-118775                (MONARCH ADVISOR STRATEGIES, LLC)          (MONARCH WEALTH MANAGEMENT GROUP,
                                                                                                    CRD#: 283984                               LLC)
                                                                                                                                               CRD#: 171904



    Santa Barbara, CA
                           0
                           +2                          222 E. Carrillo Street Suite 208             DANA POINT, CA                             101 N. Vulcan Ave.
                                                       Santa Barbara, CA 93101 +3
                                                                                 0                                                             Encinitas, CA 92024
                                                                                                                                                                      0
                                                                                                                                                                      +2




    0IA   Investment Adviser Firm
                                                       0IA   Investment Adviser Firm
                                                                                                    0IA   Investment Adviser Firm
                                                                                                                                               0 IA   Investment Adviser Firm



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                                                                                                                                              
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                   MORE DETAILS. >                                   MORE DETAILS >                               MORE DETAILS >                              MORE DETAILS. >


    BOUSTEAD SECURITIES, LLC                           KING, JANICE M.                              THE WEALTH COLLABORATIVE, SAGEPOINT FINANCIAL, INC.
    (MONARCH BAY ASSOCIATES, LLC...)                   (MONARCH FINANCIAL MANAGEMENT...) INC.                                                  (MONARCH WEALTH & RETIREMENT
    CRD#: 141391/SEC#: 8-67384                         CRD#: 135456                      (MONARCH WEALTH ADVISORY GROUP,                       STRATEGIES...)
                                                                                         INC...)                                               CRD#: 133763/SEC#: 801-64721,8-66771
                                                                                         CRD#: 142618/SEC#: 801-68456


    6 VENTURE SUITE 395                                IRVINE, CA                                   30699 RUSSELL RANCH ROAD SUITE 185         2014 HUNTINGTON ST
    IRVINE, CA 92618 +1
                           0                                                                        WESTLAKE VILLAGE, CA 91362                 HUNTINGTON BEACH, CA 92648
                                                                                                                                                                                  0+816




    0B    Brokerage Firm Regulated by FINRA
                                                       0IA   Investment Adviser Firm
                                                                                                    0IA   Investment Adviser Firm
                                                                                                                                               0 B    Brokerage Firm Regulated by FINRA


                                                                                                                                               0 IA   Investment Adviser Firm


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          Disclosures                     Yes                                                                                                     Di sclosures                  Yes
                                                             Experience visit SEC site                    Experience visit SEC site

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    WESTERN WEAL TH
    MANAGEMENT LLC
    (MONARCH ADVISORY GROUP...)
    CRD#: 283545/SEC#: 801-107762




    San Diego, CA
                    0+89




    0IA   Investment Adviser Firm



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          Experience visit SEC site

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           0B    Broker




https://brokercheck.finra.org/search/genericsearch/firmgrid                                                                                                                 9/21/2020
BrokerCheck - Firm Search Results                                        Page 2 of 3
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       0IA Investment Adviser

       An investment adviser is paid for providing advice about securtties to clients. In addition, some investment advisers manage investment portfo lios
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      SAGEPOINT FINANCIAL, INC.                               ti2 iV
      {MONARCH WEALTH & RETIREMENT
      STRATEGIES ...)                                          tiziV
      CRD#: 133763/SEC#: 801-64721,8-
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      66771
                                                              1vibni



                           s
        6121 LAKESIDE DR. SUITE 128
        RENO, NV 89511




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             Investment Adviser Firm



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                 An investment adviser is paid for providing advice about securities to clients. In addit ion, some investment advisers manage
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     CRD#: 6124006
                                                                                                                        ~        Disclosures   0                                No


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                                                        RANCHO CUCAMONGA. CA 91737
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                                                                                                                                 Years of Experience                             7




     VERON ICA DEL SOCORRO VASQUEZ-RIVERA (VERONICA RIVERA...J
     CRD#: 4624625
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                                                        GLENDALE. CA 91203
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     EXHIBIT 35
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                                   #:2061 DATA
                                PERSONAL
                                         HONG KONG POLICE FORCE
                                           STATEMENT/REPORT
     Report No.         WCHRN 20033066                                                       WCH                       Station.
     Name of informant/ Witness        SANYAL Anasuya                                       C.C.C.No. /
                                               Type of identification document     REDACTED
           REDACTED
     Age               Sex    Female                      and number

     Address      Room 01, 25/F, The Centriwn, 60 Wyndham Street, Central


     Tel. No.          REDACTED              Occupation     Associate Director                D.0.8.      REDACTED

    Nationality and dialect
    Taken by      DPC 21626
                              --------------------------
                                                                          in      English                          language
    at   1115 hourson 2020-09-15                                       at (Place) Room 312 of Wan Chai Police Station
    Interpreter    /
                  -----------------------------
    States : -
      I am willing to make a statement to the Police. The statement I am about to make is true to the best of my
    knowledge and belief and I make it knowing that if I willfully state anything which I know to be false or do not
    believe to be true, I may be liable to prosecution for a criminal offence.



                                                                :::..,~
                                                                 Interpreted by                /
                                                                                             7·


             I am the above stated person, married and educated up to university degree
    level. I can read, write and speak in English. I am willing to give a statement to
    police regarding a case of 'Request Police Investigation'.

    2.        I work as an Associate Director at Control Risks, a consulting firm that
    investigates financial fraud, since 2015. Control Risks has an office in Hong Kong
    since the 1990s and is a global firm with headquarters in London, UK. Our
    company address is Room O1, 25/F, The Centrium, 60 Wyndham Street, Central.
    Our client a male named "Zach Hegde" of Ming Global Limited (address: Room
    1206, Eastern Commercial Centre, 297 Hennessy Road, Wan Chai) contacted us on
    7 September 2020 after trying to get his money back from First Eastern
    Investments, a HK based firm(address: 21/F, 28 Hennessy Road, Wan Chai).
                                                                                                    REDACTED
    3.       Our client is Zach Hegde, a male Australian citizen born in       . In June
                                                            REDACTED
    2020 he received calls on his Australia mobile                       for investment
    opportunities with a Hong Kong firm, First Eastern Investments, which was not the
    real First Eastern Investments. We did not get any information of suspect phone
    number in this stage. Zach spoke to several individuals who said they represented
Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 178 of 212 Page ID
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        First Eastern. The suspect names were Alexander Mann, Scott Bailey, Peter Lynd
        and Graham Cowell. Zach started to invest in June 2020. Zach started to suspect
        fraud in July 2020 when Peter Lynd would not return his calls or messages. Further
        communications with the suspects were also strange-they would not provide a
        direct phone number and there were many delays/excuses when Zach tried to get
        his money back. Control Risks contacted the First Eastern Investments who had no
        knowledge of or connection to these individuals or this situation.

        4.        To date (September 2020), our client has made multiple transactions
        from Ming Global Limited's Hong Kong based HSBC account to two different
        American banks. The account number of my client is          REDACTED     .The
        transactions as following.

                                                                                        •
        Between 18 June and 17 Aµgust 2020, the client made 1~ transactions totaling
        USD 7,884,018.71 to a Bank of America account in CA, USA. The account
        number is         REDACTED




        Between 3 June and 21 August 2020, the client made 13 transactions totaling USD
        5,445,163.05 to US Bank account in MN, USA. The ·account number is
                                REDACTED




        The total loss of the client is USD 13.3 million.

        5.         Our Company only got above information of this case and we make this
        report to HK police for record purposes. We will make the report to the US &
        Australian Police for investigation of this case.

           This statement.consisting of 2 pages in the English language, each signed by me, has been read
        by me, and I have been told that I may correct, alter or add anything I wish.


  This form may be used to record reports:-
  (a)   taken while Report Book is not available,
  (b)   of persons wiable to come to station, and
  (c)   of incidents occurring outside station area.
                                                            Interpreted
                                                            by:
 Pol.154
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     EXHIBIT 36
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                                                                                                                  PHONE. +852 3102 68915
                                        1206, EASTERN COMMERCIAL CENTRE,   COMPANY NUMBER : 11151434
  MING j GL O BAL                       397 HENNESSY ROAD                  HI( BUSINESS REG. NUMBER :58864640     Fu :    •852 3020 3399
                                                                                                                                                       ~
  supply chain solutions s i nce 2010   WAN CHAI HONG KONG                 DUNS & BRAOSTREEl NUMBER:68·002·6825   EMAIL : ADMINOMING·GL0BALC0M
                                                                                                                  WEB:   WWW MING-GL OBAL .COM
                                                                                                                                                       l!..~.:.
                                                                                                                                                 Dttlde with Confidence




                                                            Letter Of Authority




   To Whomsoever It May Concern.




   We at Ming Global Limited Hong Kong strongly suspect that money has being fraudulently obtained from
   us through misrepresentation in the Hong Kong and US Equities and Securities Market.


   We have appointed Control Risks as our professional advisor and representative in the matter and
   advise them file a police complaint on our behalf to investigate this matter further.


   We request that HK Police please provide all possible assistance to Anasuya Sanyal from Control risk
   and/or their representative help in this case


   Thank you.




  Your sincerely,




  Donna Marie
  Ming Global Limited
  +852 8197 3159
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     EXHIBIT 37
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From: Simon Newton <simon.newton@investmentsfirst.com>
Date: Tuesday, 29 September 2020 at 4:04 pm
To: Zach Hegde <zach@ming-global.com>
Cc: Donna Marie <donna@ming-global.com>, Angela Fung <accounts@investmentsfirst.com>
Subject: Re: First Eastern Investments


Zach,

I would have to agree with you in this instance. I am aware it doesn’t bode well for myself however I am
determined to fix this situation.

Yes, $100,000 will be sufficient however it’s your call. The reason we are funding the personal account is to
demonstrate to the bank that although we did execute an ACAT from your personal account to your corporate
account, we are still actively using both. Although $100,000 is absolutely fine, if you could stretch a bit more, it
certainly won’t be harmful.

If we can err on the side of caution, I anticipate the turnaround will be no more than 5 days. Once the audit has
been called off, Maybank will take over the responsibility from BofA and start the repatriation process.

If you can make the transfer today, in my experience BofA will call off the audit tonight.

BofA will then be in a position to execute a switch which essentially means forwarding the funds to the New
York Maybank branch. The switch tends to take 48 hours. Once cleared with Maybank they will forward to
their HQ in Kuala Lumpur, Malaysia and from Kuala Lumpur to your HSBC account in Hong Kong. Zach 5
days, maximum 7 days to be safe.

Please find attached the remittance instructions for the transaction. When making a transfer, kindly use the
reference so we can locate the transaction.

It normally takes 24-48 hours to clear in the account. Angela, kindly update Mr. Hedge as soon as his fund clear
please.

Regards,

Simon Newton
Head of Compliance

+852 3002 4430

simon.newton@investmentsfirst.com

28 Hennessy Rd, Wan Chai, Hong Kong

www.investmentsfirst.com


                                                         1
       Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 183 of 212 Page ID
                                          #:2067

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any responsibility for the accuracy or completeness of this message as it has been sent over a public network. If you believe that this message has been
intercepted or amended, please inform us immediately.




On 2020-09-29 13:24, Zach Hegde wrote:

Thanks Simon,


I wish your team had the "common sense" to do the compliance properly in the first instance and we would not
have been in this situation right?



Could you please send the remittance. Pls keep Donna in CC- you said 100K is enough for this right? And
what is the time line for this to be cleared?



What is the time line for the funds to be returned?



Zach




From: Simon Newton <simon.newton@investmentsfirst.com>
Date: Tuesday, 29 September 2020 at 3:20 pm
To: Zach Hegde <zach@ming-global.com>
Cc: Donna Marie <donna@ming-global.com>
Subject: Re: First Eastern Investments



Zach,

                                                                              2
     Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 184 of 212 Page ID
                                                     #:2068
Please understand while there is an external audit being processed on both accounts, we can not discuss this
matter without it being on record so I'm awfully sorry to say I can not call you.

I assure you, although it seems this way, we are taking every precaution to protect you and provide the best
service we can. Once this is resolved, it will be understood.

As much as I would love to talk with you, I simply can not. I assure you this is for the best. I can not risk
delaying any further.

Take this as my word, if you execute this one trade though your personal account, the bank will recall the audit.
I have been involved with audits with Bank of America thousands of times and every time it has resolved itself
simply by following common sense, however the problem with common sense nowadays is that it's not that
common.

Regards,

Simon Newton
Head of Compliance

+852 3002 4430

simon.newton@investmentsfirst.com

28 Hennessy Rd, Wan Chai, Hong Kong

www.investmentsfirst.com


                      First   Easter
                      Inves tments Lim ited

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intercepted or amended, please inform us immediately.




On 2020-09-29 13:04, Zach Hegde wrote:

Simon-



Could you please call me in relation to this?



I really need to understand the intricacies of this- seems like a continuous flow of funds in 1 direction and
nothing coming back.


                                                                              3
     Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 185 of 212 Page ID
                                        #:2069
Awaiting your call



Zach




From: Simon Newton <simon.newton@investmentsfirst.com>
Date: Tuesday, 29 September 2020 at 3:02 pm
To: Zach Hegde <zach@ming-global.com>
Cc: Donna Marie <donna@ming-global.com>
Subject: Re: First Eastern Investments



Mr. Hegde,

Yes you are absolutely correct in relation to the personal account (Sharath Kumar Hegde).

If we execute ONE trade ONLY, through your personal account, it will give me some leeway to liaise with the
bank to release the funds immediately and drop the audit as this will eradicate the inactivity.

I think it's for the best to follow this advice Zach, as it could take weeks and we all really want to draw a line
under this now for the sake of everyone involved, including you and your investors.

My advice would be to execute a trade between $100,000 - $500,000 which would put you into the bracket of a
seasoned trader.

If you decide to follow this advice, we would use JP Morgan Chase who has an excellent investment banking
relationship with Maybank.

Maybank will then be in a position to take over the responsibilities for the repatriation to your Ming Global
bank account.

If you decide not to do this, then we will simply have to wait for the audit reports which I'm confident will come
back positive but time is of the essence.

Kindly advise?

Regards,

Simon Newton
Head of Compliance

+852 3002 4430

simon.newton@investmentsfirst.com

28 Hennessy Rd, Wan Chai, Hong Kong
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intercepted or amended, please inform us immediately.




On 2020-09-29 12:29, Zach Hegde wrote:

Hi Simon,



Of course I am very disappointed- every time it comes to the end of receiving the money there is another story
and all this due to issues caused by First Eastern Investment and the staff.



Scott was advising me that the primary account (Sharath Hegde) was no issue and if we did some small
transaction that would re-calibrate that account and help us out of this mess quickly.



Is this possible?



Donna is still trying to reach Angela about the discrepancy.



As for your email below, why can't I speak with someone who has some knowledge and who can answer me
clearly as your reply are a bit vague.



Simon, as you can understand I am bit frustrated here and reaching out to receptionist who has no idea how
your office works is a bit frustrating. So pardon my impatience as he cannot connect me to anyone in the
business since start-



Can I please get a response urgently to my above query?



Zach
                                                                              5
     Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 187 of 212 Page ID
                                        #:2071




From: Simon Newton <simon.newton@investmentsfirst.com>
Date: Monday, 28 September 2020 at 3:31 pm
To: Zach Hegde <zach@ming-global.com>
Cc: Donna Marie <donna@ming-global.com>
Subject: Re: First Eastern Investments



Dear Mr. Hegde,

I do understand your disappointment, we were all bitterly disappointed as well with the decision.

1. The unusual activity relates to the changing of account type and name, as well as the lack of activity on the
individual account.

2. The bank who have appointed the audit is 'The Bank of America Corporation' and within their investment
banking and corporate finance department. We are still a
waiting for the auditing company details. Once we know, we will provide all details.

3. There has been no breach of regulation from our perspective, however the point of the audit is to correctly
determine that. First Eastern Investments Ltd have not breached any regulation during your time trading with us
and we are confident that the audit will reveal this.

4. The audit can take anywhere between 2-8 weeks. Depending on the level of checks, we are hoping both
account reports will be finalised sooner rather than later.

5. I have removed Scott as your account representative because I feel this is above his experience. He was upset
with this decision but ultimately it was my call. We are forbidden to initiate any trades so his skill set is not
relevant for the time being. Your contact will now be myself until we have the audit reports. I assure you this is
normal, when compliance comes into practice.

Mr. Hegde, I understand you have many questions and quite rightly so however, we are doing everything we
possibly can. I ask you to refrain from speaking to my staff inappropriately and let us do our job.

If there are issues with your account statements then kindly forward the details to Angela and we can resolve
the issue immediately. Kindly note I have been informed that there are no mistakes on the account statements so
please provide the details so we can rectify them.

I hope this answers your questions and please don't hesitate to reply if there are any more queries.

Regards,

Simon Newton
Head of Compliance

+852 3002 4430
                                                         6
    Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 188 of 212 Page ID
                                       #:2072
simon.newton@investmentsfirst.com

28 Hennessy Rd, Wan Chai, Hong Kong

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any responsibility for the accuracy or completeness of this message as it has been sent over a public network. If you believe that this message has been
intercepted or amended, please inform us immediately.




On 2020-09-28 09:23, Zach Hegde wrote:

Hi Simon,



I just had the opportunity to read the email and I am very disappointed with it.



I have a few questions and if you don't mind please replying back on this urgently?




What is this "unusual activity'?



Which Bank and who are these Regulators that are being appointed and by whom?



Breach of what regulations? as all this is being conducted by your First Eastern Investment Company-



What regulations has First Eastern Investment Breached with our investments?



How long for his reports as we have had many excuses and reasons since the start?

                                                                              7
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                                        #:2073


Why have you advised Scott bailey to step down? Who is my contact now- every company as an account
manager to manage this , and I find it very weird and non-professional for any institution like that First Eastern
does not have an account manager to speak when the stakes are so high?

What's going on here?



Simon,

I need to speak with your urgently or with Scott Bailey- This is making me very nervous as we are having one
issue after another with This large amounts of money which surely you know will have repercussions in every
arena- I need to find a compromise and settle this matter urgently. There are also multiple issues with the
accounts sheet in relation to the two accounts with large discrepancy.



Also please note Simon- According to Scott it was your compliance team that made severe mistakes with Ming
Global accounts in rush to receive the money and did not do your compliance and check documents correctly
and now we are paying the price of this??? This is not fair and reasonable way to conduct business



Who can I speak with urgently in First Eastern to escalate this matter as clearly we are getting nowhere with
this?



Zach




From: Simon Newton <simon.newton@investmentsfirst.com>
Date: Friday, 25 September 2020 at 2:19 pm
To: Zach Hegde <zach@ming-global.com>
Subject: First Eastern Investments



Dear Mr. Hegde,

                                                         8
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                                          #:2074
We have been informed that both your individual and corporate trading accounts with First Eastern
Investments Ltd have been selected for external audits due to 'unusual activity' based on information
provided by yourself.

We were notified on the 24/09/20 and have since been informed that the bank regulators will appoint an
auditor who's responsible for determining that all trading and banking records are complete, accurate and
are not in breach of any regulations. The auditor will be absent of bias and will give full reports to all
parties involved.

Once we are in possession of the auditing reports on both accounts, we will forward you copies
immediately.

Assuming the reports are positive, the transfer agent can start the funds repatriation process without any
encumbrances.

If the reports are negative and the auditor feels there has been activity executed below regulation
standards or they acknowledge any irregularities, then we will listen to their advice and take action.

I have informed Scott Bailey to step down as your advisor for the time being as no trading is permitted
during this audit so kindly direct all communication to myself. Please note I will not take phone calls
during this audit.

As both of your trading accounts have been registered this year, you will be priority so rest assure that we
will be on top of this for you.

Please do not hesitate to make contact via email if you have any queries.

Regards,

Simon Newton
Head of Compliance

+852 3002 4430

simon.newton@investmentsfirst.com

28 Hennessy Rd, Wan Chai, Hong Kong

www.investmentsfirst.com



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                      Investments Limited

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                                   #:2075




     EXHIBIT 38
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                                   #:2076




           REMITTANCE INSTRUCTIONS
 Beneficiary Account Name:             IRVINE MANAGEMENT TRANSFER AND
                                       HOLDING CORP

 Beneficiary Address:                  170 FOREST AVENUE
                                       GLEN COVE, NY
                                       USA 11542-3808
                                        REDACTED
 Beneficiary Account Number:

 Beneficiary Bank Name:                JP MORGAN CHASE

 Beneficiary Bank Address:             85 FOREST AVENUE
                                       LOCUST VALLEY, NY
                                       USA 11560
                                        REDACTED
 SWIFT Code:

 Routing Number:                        REDACTED



 Amount:

 Important: In the additional information filed of your transfer request, please enter the following
 information only. This will ensure that your transfer is correctly allocated and will ensure that
 delays are avoided.
                                                              REDACTED
                    Payment Reference:
 Please remember, we are here to help. If there is anything that you are unsure about, please
 contact your representative immediately.
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                                   #:2077




     EXHIBIT 39
10/5/2020Case   8:20-cv-01852-JVS-KES 170
                                       Document         57-1Cove,Filed
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                         Glen Cove, NY 11542



                      www.zillow.com , ... , Glen Cove , 11542 , 11542 ...

                      170 Forest Ave, Glen Cove, NY 11 542 I Zillow
                      The property 170 Forest Ave, Glen Cove, NY 11542 is currently not for sale on Zillow. View
                      details, sales history and Zestimate data for this property on Zillow.


                      www.loopnet.com , Listing , 170-Forest-Avenue-Glen... ..,

                      170 Forest Ave, Glen Cove, NY 11 542 - Property Record ...
                      View information about 170 Forest Ave, Glen Cove, NY 11542. See if the property is available for
                      sale or lease. View photos, public assessor data, maps and ...


                      www.loopnet.com , Listing , 170-Forest-Ave-Glen-Co... ..,

                      170 Forest Ave, Glen Cove, NY 11542 I LoopNet.com
                      Aug 18, 2020- 170 Forest Ave, Glen Cove, NY 11542. This space was available for Lease on
                      LoopNet.com. 7000 square foot retail strip center. Brand new ...


                      www.trulia.com , NY, Glen Cove, 11542 ..,

                      170 Forest Ave Glen Cove, NY 11542 - Trulia
                      170 Forest Ave, Glen Cove, NY 11542 is a 4244 sqft, Studio home sold in 2012. See the estimate,
                      review home details, and search for homes nearby.


                      www.forestavegrill.com ...

                      Forest Ave Grill: HOME
                      170 Forest Avenue. Glen Cove, New York 11542. Tel: ... dish is made from scratch with the.
                      freshest ingredients that today's market has to offer. Forest Ave Grill ...


                      www.propertyshark.com , ... , 11542, Forest Ave ...

                      170 Forest Ave, Glen Cove, NY 11 542 - Owner & Property .. .
                      View Property & Ownership Information, property sales history, liens, taxes, zoning ... for 170
                      Forest Ave, Glen Cove, NY 11542 - All property data in one place!


                      www.mapquest.com , q-s-laundromat-1501529 ...

                      Q & S Laundromat 170 Forest Ave Glen Cove, NY - MapQuest
                      Get directions, reviews and information for Q & S Laundromat in Glen Cove, NY.... 170 Forest
                      Ave, Glen Cove, NY 11542. (516) 676-2956. Claim this business.

https://www.google.com/search?q=170+Forest+Ave.%2C+Glen+Cove%2C+New+ York+ 11542&rlz=1 C 1GCEA_ enUS843US843&oq= 170+Forest+Ave....        1/2
10/5/2020Case   8:20-cv-01852-JVS-KES 170           Document             57-1Cove,Filed
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                     www.mapquest.com >new-york >forest-ave-grill-3760 ......

                      Forest Ave Grill 170 Forest Ave Glen Cove, NY Restaurants ...
                      Forest Ave Grill. 170 Forest Ave, Glen Cove, NV 11542. (516) 277-2360.


                      www.officespace.com >New York> Glen Cove ...

                      170 Forest Ave, Glen Cove, NY 11 542 - OfficeSpace.com
                      2 Retail spaces for lease or rent at 170 Forest Ave, Glen Cove, NV 11542. View photos and
                      contact a broker.


                      www.realtytrac.com >... >Glen Cove> 11542

                      170 Forest Ave, Glen Cove, NY 11542 - 48728666 I RealtyTrac
                      Discover 170 Forest Ave, Glen Cove, NV 11542 - miscellaneous with 11318 sq. ft .. Get the latest
                      property info at RealtyTrac - 48728666.



                      Related searches


                                  Hazuki glen cove                                      American cafe 11 542


                                  Glen cove Forest Grill                                Forest Pizza menu


                                  Forest Ave Grill New reviews
                                  2019




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        Glen Cove, New York




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https://www.google.com/maps/place/170+Forest+Ave,+Glen+Cove, +NY+11542/@40.8746196,-73.6201889,3a,90y,24.66h ,88.26Udata=!3m7!1 e1 !3m5...       1/1
Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 197 of 212 Page ID
                                   #:2081




     EXHIBIT 40
10/5/2020Case   8:20-cv-01852-JVS-KES Document 57-1EntityFiled  07/19/21 Page 198 of 212 Page ID
                                                          Information
                                              #:2082




 NYS Department of State

 Division of Corporations


 Entity Information

 The information contained in this database is current through October 2, 2020.

              Selected Entity Name: IRVINE MANAGEMENT TRANSFERS AND HOLDINGS CORP
                                         Selected Entity Status Information
             Current Entity Name: IRVINE MANAGEMENT TRANSFERS AND HOLDINGS CORP
                    DOS ID#:          5635198
            Initial DOS Filing Date: OCTOBER 08, 2019
                     County:         NASSAU
                  Jurisdiction:      NEWYORK
                  Entity Type:       DOMESTIC BUSINESS CORPORATION
             Current Entity Status: ACTIVE

                                     Selected Entity Address Information
            DOS Process (Address to which DOS will mail process if accepted on behalf of the entity)
            ALYSSA D'URSO
            9A FROST POND RD
            GLEN COVE, NEW YORK, 11542
                                              Registered Agent
            NONE


                                   This office does not record information regarding the
                                      names and addresses of officers, shareholders or
                                    directors of nonprofessional corporations except the
                                    chief executive officer, if provided, which would be
                                 listed above. Professional corporations must include the
                                 name(s) and address(es) of the initial officers, directors,
                                         and shareholders in the initial certificate of
                                 incorporation, however this information is not recorded
                                        and only available by viewing the certificate.

                                                     *Stock Information
https://appext20.dos.ny.gov/corp_public/CORPSEARCH.ENTITY_INFORMATION?p_token=8A4C9D77329F230C02B9858FD7346EBBBF3D002CA4 ...   1/2
10/5/2020Case   8:20-cv-01852-JVS-KES Document 57-1EntityFiled   07/19/21 Page 199 of 212 Page ID
                                                           Information
                                                   #:2083
                                 # of Shares Type of Stock $ Value per Share
                                 200         No Par Value

                           *Stock information is applicable to domestic business corporations.

                                                        Name History

            Filing Date Name Type                                       Entity Name
          OCT 08, 2019 Actual              IRVINE MANAGEMENT TRANSFERS AND HOLDINGS CORP

   A Fictitious name must be used when the Actual name of a foreign entity is unavailable for use in New York
    State. The entity must use the fictitious name when conducting its activities or business in New York State.

                     NOTE: New York State does not issue organizational identification numbers.

                                                 Search Results New Search

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Case 8:20-cv-01852-JVS-KES Document 57-1 Filed 07/19/21 Page 200 of 212 Page ID
                                   #:2084




     EXHIBIT 41
10/5/2020Case   8:20-cv-01852-JVS-KES 9ADocument
                                        Frost Pond Rd.,57-1    Filed
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                         9 Frost Pond Rd
                         Glen Cove, NY 11542                                                                                                            DIRECTIONS




                      www.zillow.com , ... , Glen Cove , 11542 , 11542 ..,

                      9 Frost Pond Rd, Glen Cove, NY 11542 I Zillow
                      The property 9 Frost Pond Rd, Glen Cove, NV 11542 is currently not for sale on Zillow. View
                      details, sales history and Zestimate data for this property on Zillow.


                      www.realtor.com , ... , Glen Cove, Frost-Pond Rd ...

                      9 Frost Pond Rd, Glen Cove, NY 11542 - realtor.com®
                      View 9 photos for 9 Frost Pond Rd, Glen Cove, NV 11542 a 3 bed, 2 bath, 71 04 Sq. Ft.
                      duplex/triplex built in 1933 that sold on 05/17/2013.


                      www.redfin.com , NY, 9-Frost-Pond-Rd-11542, home ..,

                      9 Frost Pond Rd, Glen Cove, NY 11542 I Redfin
                      4 baths, 1834 sq. ft. multi-family (2-4 unit) located at 9 Frost Pond Rd, Glen Cove, NY 11542.
                      View sales history, tax history, home value estimates, and overhead ...


                      www.trulia.com , NY, Glen Cove, 11542 ..,

                      9 Frost Pond Rd Glen Cove, NY 11542 - Trulia
                      9 Frost Pond Rd, Glen Cove, NV 11542 is a 1834 sqft, 2 bath home. See the estimate, review
                      home details, and search for homes nearby.


                      www.spokeo.com , ... , Glen Cove, Frost Pond Rd ..,

                      Who Lives on Frost Pond Rd, Glen Cove, NY 11542 I Spokeo
                      Find out who lives on Frost Pond Rd, Glen Cove, NY 11542. Uncover property values, resident
                      history, neighborhood safety score, and more! 108 records found ...


                      www.apartments.com , Houses , New York, Glen Cove ..,

                      66 Frost Pond Rd, Glen Cove, NY 11542 - House for Rent in ...
                      About 66 Frost Pond Rd Glen Cove, NV 11542. North Shore school district-Upscale whole house
                      rental.Spotless split triplex with private yard. Freshly ...
                      $3,950.00


                      www.compass.com , Glen Cove, 11542, Gold Coast ..,

                      66 Frost Pond Road, Glen Cove, NY 11542 I Compass

https://www.google.com/search?q=9A+Frost+Pond+Rd.%2C+Glen+Cove%2C+New+ York+11542&rlz=1 C 1GCEA_ enUS843US843&oq=9A+F rost+Po ...                                        1/2
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                                        Frost Pond Rd.,57-1    Filed
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                      www.coldwellbankerhomes.com >ny >pid_35382427 ...

                      111 Frost Pond Rd, Glen Cove, NY 11542 - MLS 3209711
                      For Sale - 111 Frost Pond Rd, Glen Cove, NY - $499000. View details, map and photos of this
                      single family property with 3 bedrooms and 1 total baths.
                      $499,000.00


                      looplink.covingtonky.gov >property> 7-frost-pond-rd-g ...

                      7 Frost Pond Rd, Glen Cove, NY 11542 - Property Record ...
                      View information about 7 Frost Pond Rd, Glen Cove, NY 11542. See if the property is available
                      for sale or lease. View photos, public assessor data, maps and ...


                      www.apartmentfinder.com > ••• > Glen Cove Houses ...

                      39 Frost Pond Rd - Glen Cove, NY I Apartment Finder
                      ... foot prints ....ready for you and yours .... (Listing 3075310 Confirmed 9/15/2019). 39 Frost
                      Pond Rd is located in Glen Cove, New York in the 11542 zip code.




                                                          1 2 3 4 5 6 7 8 9                      Next


                        Orange County, California - Based on your past activity - Use precise location - Learn more

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     Go gle Maps                       Frost Pond Rd




                                                                                                          Image capture: Jul 2012   © 2020 Google

                                                                                            Glen Cove, New York

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                                            #:2089



 IRVINE MANAGEMENT TRANSFERS




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                                  CORPORATE LOGIN

 Transaction Code:



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https://www.irvinemgmt.com/                                                         10/5/2020
Home - Irvine Management Transfers and Holdings Corp                     Page 2 of 2
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                                            #:2090


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 CONTACT
 Investor Relations / Fund Enquiries:
 corporate@irvinemgmt.com

 All Other Enquiries:
 enquiries@irvinemgmt.com



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